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                     Exhibit C




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             Robins Kaplan LLP
             Roman M. Silberfeld, Bar No. (62783)
         2   RSilberfeld@, RobinsKgplan.com
             Bemice Conn, Bar No. (161594)
             BConngRobinsKaplan.com
             Michael A. Geibelson, Bar No. (179970)
         4   MGeibelsongRobinsKaplan.com
             Lucas A. Messenger, Bar No. (217645)
             LMessen.ger@RobinsKaplan.com
             2049 Century Park East, Suite 3400
             Los Angeles, CA 90067
             Telephone: 310-552-013 0
         7   Facsimile: 310-229-5 800

           Attorneys for Plaintiffs County of Alameda, City of
           Costa Mesa, City of Anaheim, City of Santa Ana,
           City of San Clemente, City of Encinitas, City of La
           Habra, City of La Mesa, City of Oxnard, City of
        10 Placentia, and The People of the State of California

        11   [Additional Counsel Listed on Signature Page]

        12 (NO FEE — Cal. Gov. Code § 6103)

        13
                                  SUPERIOR COURT OF THE STATE OF CALIFORIVIA
        14
                                                             COUNTY OF ORANGE
       15

        16
          COUNTY OF ALAMEDA; CITY OF COSTA                                             Case No.
       17 MESA; CITY OF ANAHEIM; CITY OF SANTA
          ANA; CITY OF SAN CLEMENTE; CITY OF                                           PLAINTIFFS' FIRST AlVIENDED
       18 ENCINITAS; CITY OF LA HABRA; CITY OF                                         COMPLAINT FOR:
          LA MESA; CITY OF OXNARD; CITY OF
       19 PLACENTIA; and THE PEOPLE OF THE                                             1. PUBLIC NUISANCE;
          STATE OF CALIFORNIA, by and tllrough                                         2. FRAUD;
       20 Alameda County Counsel Donna Ziegler, Costa                                  3. NEGLIGENCE;
          Mesa City Attorney Kimberly Hall Barlow, and
                                                                                       4. UNJUST ENRICHIVIENT;
       21 Anaheim City Attorney Robert Fabela, Santa Ana
          City Attorney Sonia R. Carvalho, San Clemente                                5. CIVIL CONSPIRACY;
       22 City Attorney Scott C. Smith, Encinitas City                                 6. FALSE ADVERTISING; and
          Attorney Leslie Devaney, La Habra City Attorney                              7. NEGLIGENT FAILURE TO
       23 Richard D. Jones, La Mesa City Attorney Glenn                                WARN
          Sabine, Oxnard City Attorney Stephen Fischer,
       24 Placentia City Attorney Christian Bettenhausen,
       25 I Plaintiffs,

       26    V.

       27 RICIIARD S. SACKLER, an individual and as
          trustee for TRUST FOR THE BENEFIT OF
       28 MEMBERS OF THE RAYMOND SACKLER
             61577634.1
                                                                                                            FIRST AMENDED COMPLAINT




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             FAMILY; JONATHAN D. SACKLER, an
             individual and as trustee for TRUST FOR THE
         2   BENEFIT OF MEMBERS OF THE RAYMOND
             SACKLER FAMILY; MORTIMER D.A.
         3   SACKLER, an individual; KATHE A.
             SACKLER, an individual; ILENE SACKLER
         4   LEFCOURT, an individual; BEVERLY
             SACKLER, an individual and as trustee for
             TRUST FOR THE BENEFIT OF MEMBERS OF
             THE RAYMOND SACKLER FAMILY;
             THERESA SACKLER, an individual; DAVID A.
             SACKLER, an individual; CEPHALON, INC.;
             TEVA PHARMACEUTICAL INDUSTRIES,
             LTD.; TEVA PHARMACEUTICALS USA,
             INC.; JANSSEN PHARMACEUTICALS, INC.;
             JOHNSON & JOHNSON; ORTHO-MCNEIL-
             JANSSEN PHARMACEUTICALS, INC.;
             JANSSEN PHARMACEUTICA, INC.; ENDO
        10   INTERNATIONAL PLC; ENDO HEALTH
             SOLUTIONS INC.; ENDO
        11   PHARMACEUTICALS INC.; PAR
             PHARIVIACEUTICAL, INC.; PAR
        12   PHARMACEUTICAL COMPANIES, INC.;
             ALLERGAN FINANCE LLC; WATSON
        13   LABORATORIES, INC.; ACTAVIS PHARMA,
             INC.; ACTAVIS LLC; ALLERGAN PLC;
        14   ALLERGAN, INC.; ALLERGAN USA, INC.;
             MALLINCKRODT, PLC; MALLINCKRODT,
        15   LLC; SPECGX LLC; MYLAN INC.; MYLAN
             PHARMACEUTICALS, INC.; MYLAN
        16   INSTITUTIONAL INC.; MYLAN
             TECHNOLOGIES, INC.; CARDINAL HEALTH,
        17   INC.; CARDINAL HEALTH 110, LLC;
             AMERISOURCEBERGEN CORPORATION;
        18   MCKESSON CORPORATION; CVS HEALTH
             CORPORATION; CVS PHARMACY, INC.;
        19   WALGREEN CO.; KAISER FOUNDATION
             HOSPITALS; THRIFTY PAYLESS INC.; H.D.
        20   SMITH WHOLESALE DRUG CO.; and
             DOES 1-100, inclusive,
        21
                              Defendants.
        22

        23
        24
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            1 I I.     INTRODUCTION

            2          1.      An epidemic of prescription opioid abuse is devastating the United States.

            3   Plaintiffs County of Alameda, City of Costa Mesa, City of Anaheim, City of Santa Ana, City of

            4   San Clemente, City of Encinitas, City of La Habra, City of La Mesa, City of Oxnard, and City of

            5   Placentia have all been particularly hard hit, causing them to suffer substantial loss of resources,

            6   economic damages, and damages to the health and welfare of their citizens.

            7          2.      Alameda County and the cities of Costa Mesa, Anaheim, Santa Ana, San

            8   Clemente, Encinitas, La Habra, La Mesa, Oxnard, and Placentia, by and through their attorneys

            9   hereto and their respective County Counsel and City Attorneys, hereby bring this action on their

           10   own behalf for injuries suffered and on behalf of the People of the State of California (the
~
           11   "People," and together with the above-referenced California county and cities, the "Plaintiffs")
a3
 za        12   to protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a
 ~Ha
 a~o
 P-+ ~ a   13   public nuisance.
~1zz
 ~o~       14          3.      Opioid analgesics are widely diverted and improperly used, and the widespread
  H
           15   abuse of opioids has resulted in a national epidemic of opioid addiction and overdose deaths. l
 O
P4         16   The opioid epidemic is "directly related to the increasingly widespread misuse of powerful

           17   opioid pain medications."2

           18          4.      This epidemic has been building for years. The conditions for its creation and

           19   acceleration were intentionally brought about by Defendants, who have made billions of dollars

           20   off the epidemic.

           21          5.      The effects of the opioid epidemic and resulting health care crisis have been

           22   exacerbated by Defendants' efforts to conceal or minimize the risks of opioid abuse, while at the

           23   same time circumventing or ignoring any safeguards against opioid abuse.

           24          6.      Plaintiffs have seen increased costs of, among other things: (a) medical and

           25   therapeutic care, and other treatment costs for patients suffering from opioid addiction, overdose,

           26
                1 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain Misconceptions
           27   and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).
                2 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J.
           28   Med. 1480 (2016).
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         1    or death; (b) counseling, treatment and rehabilitation services; (c) treatment of infants born with

         2    opioid-related medical conditions; (d) welfare and foster care for children whose parents suffer

         3    from opioid-related disability or incapacitation, including costs of related legal proceedings; (e)

         4    public safety connected to the opioid epidemic within Plaintiffs' boundaries, including police,

         5    emergency response services, and detention centers; (f) increased burden on Plaintiffs' code

         6    enforcement programs; (g) re-education of doctors and patients about the appropriate use of

         7    opioids; and (h) extensive clean-up of public parks, spaces, and facilities. At the same time,

         8    Plaintiffs have seen a reduction to tax revenues caused by the epidemic created by the

         9    Defendants. Almost every resident in Plaintiffs' communities has been affected. The resulting

        10    damage to Plaintiffs and their residents was directly and foreseeably caused by Defendants'

        11    actions.

        12             7.    These increased costs could have been—and should have been prevented by the

        13    opioid industry. Defendants controlled the manufacture, marketing, and distribution of

        14    prescription opioids. As such Defendants, and not Plaintiffs, were in the best position to protect

        15    Plaintiffs and their residents from the risk of harm stemming from misuse of these products.

        16    Defendants owed Plaintiffs a duty of care to act reasonably in light of that potential harm. In

        17    addition to these common law duties, the opioid industry is required by California law to develop

        18    and maintain a system to track suspicious orders of prescription opioids and report them under

        19    16 CCR § 1782 and California Business & Professions Code §§ 4164 and 4169.1.

        20             8.    Instead of acting with reasonable care and in compliance with their legal duties,

        21 I Defendants intentionally flooded the market with opioids and pocketed billions of dollars in the

        22    process.

        23             9.    At the same time, Defendants flooded the market with false statements designed

        24 I to persuade both doctors and patients that prescription opioids posed a low risk of addiction.

        25    Those claims were false.3

        26             10.   Defendants' actions have not only resulted in significant costs to Plaintiffs, but

        27
              3 See Vivek H. Murthy, Letter from the Surgeon General (August 2016), available at
        28    http://turnthetideix.org/ (last accessed December 18, 2017).
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         1   also have created a palpable climate of fear, distress, dysfunction, and chaos among their

        2    residents where opioid diversion, abuse, and addiction are prevalent and where diverted opioids

         3 I tend to be used frequently.

        4             11.   Plaintiffs therefore seek the means to abate the epidemic created by Defendants'

         5 I wrongful and/or unlawful conduct.

         6 I H. THE PARTIES

         7            A.    The Plaintiffs

         8            12.   The County of Alameda, California and the People of the State of California, by

         9   and through their attorneys hereto and Alameda's County Counsel, hereby bring this action on

        10   Alarneda County's behalf for injuries suffered and on behalf of the People of the State of

        11   California to protect the public from false and misleading advertising, fraudulent acts, negligent

        12   acts, and a public nuisance. Alameda County has standing to recover damages incurred because

        13   of Defendants' actions and omissions. Alameda County also has standing to bring actions,

        14   including, inter alia, public nuisance claims asserted under California law.

        15            13.   The City of Costa Mesa, California and the People of the State of California, by

        16   and through their attorneys hereto and Costa Mesa's City Attorney, hereby bring this action on

        17   Costa Mesa's behalf for injuries suffered and on behalf of the People of the State of California to

        18   protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

        19   public nuisance. Costa Mesa has standing to recover damages incurred because of Defendants'

       20    actions and omissions. Costa Mesa also has standing to bring actions, including, inter alia,

       21    public nuisance claims asserted under California law.

       22             14.   The City of Anaheim, California and the People of the State of California, by and

       23    through their attorneys hereto and Anaheim's City Attorney, hereby bring this action on

       24    Anaheim' behalf for injuries suffered and on behalf of the People of the State of California to

       25    protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

       26    public nuisance. Anaheim has standing to recover damages incurred because of Defendants'

       27    actions and omissions. Anaheim also has standing to bring actions, including, inter alia, public

       28    nuisance claims asserted under California law.
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         1            15.   The City of Santa Ana, California and the People of the State of California, by

        2    and through their attorneys hereto and Santa Ana's City Attorney, hereby bring this action on

         3   Santa Ana's behalf for injuries suffered and on behalf of the People of the State of California to

         4   protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

         5 I public nuisance. Santa Ana has standing to recover damages incurred because of Defendants'

         6 I actions and omissions. Santa Ana also has standing to bring actions, including, inter alia, public

         7 I nuisance claims asserted under California law.

         8            16.    The City of San Clemente, California and the People of the State of California, by

         9 I and through their attorneys hereto and San Clemente's City Attorney, hereby bring this action on

        10   San Clemente's behalf for injuries suffered and on behalf of the People of the State of California

        11   to protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

        12   public nuisance. San Clemente has standing to recover damages incurred because of Defendants'

        13   actions and omissions. San Clemente also has standing to bring actions, including, inter alia,

        14   public nuisance claims asserted under California law.

        15            17.    The City of Encinitas, California and the People of the State of California, by and

        16   through their attorneys hereto and Encinitas' City Attorney, hereby bring this action on

        17   Encinitas' behalf for injuries suffered and on behalf of the People of the State of California to

        18   protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

        19   public nuisance. Encinitas has standing to recover damages incurred because of Defendants'

        20   actions and omissions. Encinitas also has standing to bring actions, including, inter alia, public

        21   nuisance claims asserted under California law.

        22            18.    The City of La Habra, California and the People of the State of California, by and

        23   through their attorneys hereto and La Habra's City Attorney, hereby bring this action on La

        24   Habra's behalf for injuries suffered and on behalf of the People of the State of California to

        25   protect the public from false and misleading advertising; fraudulent acts, negligent acts, and a

        26   public nuisance. La Habra has standing to recover damages incurred because of Defendants'

        27   actions and omissions. La Habra also has standing to bring actions, including, inter alia, public

        28   nuisance claims asserted under California law.
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         1            19.    The City of La Mesa, California and the People of the State of California, by and

         2    through their attorneys hereto and La Mesa's City Attorney, hereby bring this action on La

         3    Mesa's behalf for injuries suffered and on behalf of the People of the State of California to

         4    protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

         5    public nuisance. La Mesa has standing to recover damages incurred because of Defendants'

         6    actions and omissions. La Mesa also has standing to bring actions, including, inteN ali.'a, public

         7    nuisance claims asserted under California law.

         8            20.    The City of Oxnard, California and the People of the State of California, by and

         9 I through their attorneys hereto and Oxnard's City Attorney, hereby bring this action on Oxnard's

        10    behalf for injuries suffered and on behalf of the People of the State of California to protect the

        11    public from false and misleading advertising, fraudulent acts, negligent acts, and a public

        12    nuisance. Oxnard has standing to recover damages incurred because of Defendants' actions and

        13    omissions. Oxnard also has standing to bring actions, including, inter alia, public nuisance

        14    claims asserted under California law.

        15            21.    The City of Placentia, California and the People of the State of California, by and

        16 I through their attorneys hereto and Placentia's City Attorney, hereby bring this action on

        17    Placentia's behalf for injuries suffered and on behalf of the People of the State of California to

        18    protect the public from false and misleading advertising, fraudulent acts, negligent acts, and a

        19    public nuisance. Placentia has standing to recover damages incurred because of Defendants'

        20    actions and omissions. Placentia also has standing to bring actions, including, inter alia, public

        21    nuisance claims asserted under California law.

        22            B.     The 1VIanufacturer Defendants

        23            22.    The Manufacturer Defendants are defined below. At all relevant times, the

        24 I Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of
        25    commerce; labeled, described, marketed, advertised, promoted, and purported to wai-n or

        26    purported to inform prescribers and users regarding the benefits and risks associated with the use

        27    of prescription opioid drugs. Also at all relevant times, the Manufacturer Defendants have

        28   manufactured and sold prescription opioids without fulfilling their legal duty to prevent
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                                                       21                                            Exhibit C
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         1   diversion and report suspicious orders.

         2                           The Purdue Non-Parties and Sackler Defendants

         3            23.   Non-party Purdue Pharma L.P. is a limited partnership organized under the laws

         4 I of Delaware, and on September 15, 2019, Purdue Pharma L.P. filed a voluntary petition under

         5 i I Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the

         6I I Southern District of New York—In re Purdue Pharma, L.P., Case No. 19-23649.

         7            24.   Non-party Purdue Pharma Inc. is a New York corporation with its principal place

         8   of business in Stamford, Connecticut, and is the general partner of Purdue Pharma L.P. Along

         9   with Purdue Pharina L.P., Purdue Pharma Inc. filed a voluntary petition on September 15, 2019,

        10   under Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy Court

        11   for the Southern District of New York—In re Purdue Pharma Inc., Case No. 19-23648.

        12            25.   Non-party The Purdue Frederick Company, Inc. is a Delaware corporation with

        13   its principal place of business in Stamford, Connecticut.

        14            26.   Non-party Purdue Holdings L.P. is a Delaware limited partnership and wholly

        15   owns the limited partnership interest in Purdue Pharma L.P.

        16            27.   Non-party P.F. Laboratories, Inc. ("PF Labs") is a New Jersey corporation with

        17 I its principal place of business in Stamford, Connecticut (Purdue Pharma L.P., Purdue Pharma

        18   Inc., Purdue Holdings L.P., The Purdue Frederick Company, Inc., and PF Labs are referred to

        19   collectively herein as "Purdue")

        20            28.   Purdue lnanufactures, promotes, sells, and distributes opioids such as OxyContin,

        21   MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER,4 and Targiniq ER in the United States,

        22   including California. OxyContin is Purdue's best-selling opioid. Since 2009, Purdue's annual

        23   sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its

        24   2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for

        25   analgesic drugs (painkillers).

        26
        27   4 Long-acting or extended release ("ER" or "ERILA") opioids are designed to be taken once or
             twice daily. Short-acting opioids, also known as immediate release ("IR") opioids, last for
        28   approximately 4-6 hours.
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         1            29.   In May 2007, Purdue entered into a stipulated final judgment with the State of

         2   California, acting by and through the California Attorney General, based principally on Purdue's

         3   direct promotion of OxyContin through May 8, 2007, which is the effective date of the stipulated

         4   final judgment (the "2007 Purdue Judgment"). The 2007 Purdue Judgment ordered that Purdue

         5   "shall not make any written or oral claim that is false, misleading, or deceptive" in the promotion

         6   or marketing of OxyContin. The 2007 Purdue Judgment further required that Purdue provide fair

         7   balance regarding risks and benefits in all promotion of OxyContin, including about the risks of

         8   taking higher doses for longer periods and the risks of addiction, overdose, and death.

         9            30.   The 2007 Purdue Judgment further required that Purdue establish and follow an

        10   abuse and diversion detection program to identify high-prescribing doctors who show signs of

        11   inappropriate prescribing, stop promoting drugs to them, and report them to the authorities:

        12            31.   Upon identification of potential abuse or diversion," Purdue was required by the

        13   2007 Purdue Final Judgment to conduct an inquiry and take appropriate action, "which may

        14   include ceasing to promote Purdue products to the particular Health Care Professional, providing

        15   further education to the Health Care Professional about appropriate use of opioids, or providing

        16   notice of such potential abuse or diversion to appropriate medical, regulatory or law enforcement

        17   authorities.

        18            32.   Through this Complaint, the People do not seek to enforce any provision of the

        19   2007 Purdue Judgment. The People also are not seeking any relief against Purdue entities under

        20   any state consumer protection law (as that term is defined by section (I)(1)(M) and footnote 1 of

        21   2007 Purdue Judgment) or based on any conduct by Purdue relating to its promotional and

        22   marketing practices regarding OxyContin at any time up to and including May 8, 2007. The

        23   People, however, do assert claims arising under California law independent of the 2007 Purdue

        24   Judgment, and seek civil penalties and injunctive relief as afforded by those laws.

        25            33.   At all relevant times, Purdue has been controlled by members of the Sackler

        26   family who have been and continue to be the ultimate intended beneficiaries of virtually all of

        27   Purdue's profit distributions. Together, members of the Sackler family always held the

        28   controlling majority of the board of Purdue Pharma, Inc. (the "Purdue Board"), which functioned
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         1 I as the nexus of decision-lnaking for all Purdue entities and gave them full power over both

         2   Purdue Pharma Inc. and Purdue Pharma L.P. They directed deceptive sales and inarketing

         3   practices at California from deep within Purdue, sending hundreds of orders to executives and

         4    line employees. From the money that Purdue collected selling opioids, they paid themselves and

         5   their family billions of dollars. The individual Defendants named in this action are the remaining

         6    living Sackler family members who served on the Purdue Board.

         7            34.    Defendant Richard S. Sackler is a natural person residing in Travis County,

         8   Texas. He is the son of Purdue founder Raymond Sackler, and from 1990 through 2018, served

         9   as a member of the board of directors of the Purdue Board. Richard S. Sackler was also Purdue's

        10   head of research and development from at least 1990 through 1999, and its president from 1999

        11   through 2003. Richard S. Sackler is also a trustee of The Trust for the Benefit of Members of the

        12   Raymond Sackler Family (the "Raymond Sackler Trust"), which is the 50% direct or indirect

        13   beneficial owner of Purdue and Purdue related entities and the recipient of 50% of the profits

        14   from the sale of opioids by Purdue and Purdue-related entities.

        15            35.    Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

        16 I Connecticut. He is the son of Purdue founder Raylnond Sackler, and was a member of the board

        17   of directors of Purdue and Purdue-related entities from 1990 through 2018. Jonathan D. Sackler

        18   is also a trustee of the Raymond Sackler Trust.

        19            36.    Defendant Mortimer D.A. Sackler is a natural person residing in New York

        20 I County, New York. He is the son of Purdue founder Mortimer Sackler. Mortimer D.A. Sackler

        21   and was a member of the board of directors of Purdue and Purdue-related entities from 1993

        22   through 2018.

        23            37.    Defendant Kathe A. Sackler is a natural person residing in Fairfield County,

        24 I Connecticut. She is the daughter of Purdue founder Mortimer Sackler, and was a member of the

        25   board of directors of'Purdue and Purdue-related entities from 1990 through 2018.

        26            38.    Defendant Ilene Sackler Lefcourt is a natural person residing in New York

        27   County, New York. She is the daughter of Purdue founder Mortimer Sackler and was a member

        28   of the board of directors of Purdue and Purdue-related entities from 1990 through 2018.
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          1            39.   Defendant Beverly Sackler is a natural person residing in Fairfield County,

          2   Connecticut. She is the widow of Purdue founder Raymond Sackler, and has served as a member

          3   of the board of directors of Purdue and Purdue-related entities from approximately 1995 through

          4   2017. Beverly Sackler is also a trustee of the Raymond Sackler Trust.

          5            40.   Defendant Theresa Sackler is a natural person residing in New York County, New

          6   York. She is the widow of Purdue founder Mortiiner Sackler, and was a member of the board of

          7   directors of Purdue and Purdue-related entities from 1993 through 2018.

          8            41.   Defendant David A. Sackler is a natural person residing in New York County,

          9   New York. He is the son of Richard Sackler (and the grandson of Raymond Sackler), and served

         10   as a member of the board of directors of Purdue and Purdue-related entities from 2012 through
 ~
         11   2018. Together, Defendants Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler,

 za      12   Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler

 ~WW     13   and the Trust for the Benefit of the Members of the Raymond Sackler Family will hereinafter be

 U1~~    14   collectively referred to as the "Sacklers" or the "Sackler Defendants."
 ~E_F_
 z°
         15            42.   Non-party Rhodes Pharmaceuticals L.P. ("Rhodes") is a Delaware limited
 O~
 P4      16   partnership with its principal place of business in Coventry, Rhode Island. Along with Purdue

         17   Pharma L.P. and Purdue Pharma Inc., Rhodes Pharmaceuticals L.P. filed a voluntary petition on

         18   September 16, 2019, under Chapter 11 of the United States Bankruptcy Code in the United

         19   States Bankruptcy Court for the Southern District of New York—In re Rhodes PhaYmaceuticals

         20   L.P.., Case No. 19-23667. In or around November 2007, in the immediate aftermath of the 2007

         21   Purdue Judgment, the Sackler Defendants established Rhodes, which markets a generic version

         22   of OxyContin. According to a fonner senior manager at Purdue, "Rhodes was set up as a

         23   `landing pad' for the Sackler family in 2007 to prepare for the possibility that they would need to

         24   start afresh following the crisis engulfing OxyContin."5 The Sackler Defendants' involvement in

         25   Rhodes and Rhodes' relationship to Purdue was not publicly known until the September 9, 2018,

         26   publication of an article in the Financial Times. According to the article, "Rhodes has not been

         27
              5 David Crow, How Purdue's `one-two' punch fuelled the marketfor opioids, Financial Times
         28   (Sept. 9, 2018), https://www.ft.coin/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
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         1     publicly connected to the Sackler family before, and their ownership of the company may

         2     weaken one of their longstanding defences: that they cannot be held responsible for the opioid

         3     crisis because Purdue accounts for a small fraction of the overall prescriptions."6 Staff from

         4     Rhodes and Purdue use the same employee handbook and "little distinction is made internally

         5 I between the two companies." Rhodes is included in the defined term "Purdue," which is defined

         6 I in paragraph 27 above.

         7             43.     On information and belief, the Sackler Defendants also used a number of known

         8 I and unknown entities as vehicles to transfer funds from Purdue directly or indirectly to

         9     themselves, including PLP Associates Holdings L.P., Rosebay Medical Company L.P., and

        10     Beacon Company.

        11             44.     On information and belief, at all relevant times, and at least through the end of

        12 1 2018, the Sackler Defendants:

        13                     a.      Oversaw and controlled Purdue's sales representatives and monitored their

        14             emails while receiving extensive, detailed reports, including regarding the number of

        15             sales representatives and the total number of prescribers visited each quarter. Richard S.

        16             Sackler testified Purdue primarily promoted its opioids through its sales representatives

        17             and regular visits from representatives were the key to get doctors to continue to

        18             prescribe the drugs. The Purdue Board knew which drugs the sales representatives were

        19             to promote, the number of visits representatives made to doctors, how much each visit

        20             cost the company, and the quarterly plans for sales visits. The Purdue Board approved

        21             specific hiring plans for their sales representatives, hiring directors, and regional

        22             managers, and created sales territories for representatives to target doctors.

        23                    b.       Oversaw and controlled Purdue's deceptive sales campaign and directed

        24             Purdue to hire hundreds more sales representatives to visit doctors thousands more times.

        25             They insisted that sales representatives repeatedly visit the most prolific prescribers.

        26             They directed representatives to encourage doctors to prescribe more of the highest doses

        27
        28   I 6 Id.
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             1            of opioids. They studied unlawful tactics to keep patients on opioids longer and then

            2             ordered staff to use them. They asked for detailed reports about doctors suspected of

             3            misconduct, how much money Purdue made from them, and how few of them Purdue

             4            had reported to the authorities.

             5                   C.       Oversaw and controlled the specific tactics used by Purdue sales

             6            representatives to sell opioids.

             7                   d.       Oversaw and controlled the promotional claims that Purdue

             8            representatives used during sales visits. The directors and CEO reviewed reports that

             9            Purdue sales representatives were deceptively promoting opioids as an appropriate

            10            treatment for minor pain and engaging in other unlawful marketing techniques.
 ~
            11                    e.      Oversaw and controlled Purdue's strategy of making false claims that its

            12            opioids had less risk of abuse.
 F_7d o
 P-4 U, ¢   13                    f.      Oversaw and controlled Purdue's strategy to have sales representatives tell
 Q W W



    0
 Cl)~~      14            doctors and pharmacists that they could prescribe opioids to "trusted" patients without
    F
 r-i F
            15            risk of addiction.
 O
 ~          16                   g.       Oversaw and controlled Purdue's training of sales representatives to target

            17            vulnerable populations and encourage doctors to put them on opioids, without disclosing

            18            the risks. Purdue deceptively promoted opioids for elderly patients, veterans, patients

            19            who had never taken opioids, and patients with osteoarthritis.

            20                   h.       Oversaw and controlled Purdue's research, and received detailed and

            21            specific reports concerning Purdue opioids being used for "opioid-naive" patients and

            22            patients with osteoarthritis.

            23                    i.      Oversaw and controlled Purdue's strategy of making deceptive claims

            24            about research by its own employees, designed to "highlight" the risks of non-opioid

            25            drugs like Tylenol and ibuprofen. In connection with this strategy, Purdue paid for

            26            deceptive propaganda by groups designed to appear independent from Purdue, promoting

            27            the message that NSAIDs and Tylenol have "life-threatening" side effects, but opioids

            28            are "the gold standard of pain medications."
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         1                   j.      Oversaw and controlled Purdue's strategy of paying high-prescribing

         2            doctors to promote its opioids. The Purdue Board was aware of the amount paid to

         3            specific high prescribers and the return on investment it received from these payments.

         4            The Purdue Board knew Purdue allowed a gift spending limit of $750 per doctor per year

         5            and was told paying doctors was a high-risk activity that could result in improper off-

         6            label use or other promotional activity for opioids.

         7                   k.      Were directly informed of "Reports of Concern" filed by Purdue sales

         8            representatives regarding high-prescribing doctors, as well as "field inquiries" in

         9            response to the reports.

        10                   1.      Oversaw and controlled Purdue's focus on encouraging patients to use

        11            higher and higher doses of opioids. The Purdue Board oversaw measures to counteract

        12            public health initiatives encouraging doctors to consult with pain specialists before

        13            prescribing high opioid doses.

        14                   M.      Oversaw and controlled Purdue's plan to keep patients hooked on opioids

        15            for longer periods of time through higher doses. The Purdue Board received thorough

        16            reports of how many patieiits remained on Purdue opioids for extended lengths of time.

        17            Internal documents indicated patients on higher doses used the product for longer

        18            amounts of time, creating greater chances of addiction and abuse. The Purdue Board was

        19            presented with a plan to create workshops and give specific direction to representatives

        20            about this link and knew increasing opioid use was a focus point of the company.

        21                   n.      Oversaw and controlled Purdue's use of "savings cards" to get patients on

        22            Purdue opioids for longer periods of time. The Purdue Board knew exactly how many

        23            thousands of cards were used each quarter and the Return on Investment. The goal of the

        24            program was for patients "to remain on therapy longer."

        25                   o.      Oversaw and controlled Purdue's strategy to target prescribers without

        26            special knowledge of opioids. Purdue proceeded with this strategy despite the DEA

        27            expressing concern Purdue was marketing its opioids to doctors who were not

        28            appropriately trained in pain management. Purdue's leadership also oversaw a strategy of
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         1             targeting elderly patients and used images of older patients to target healthcare

         2             professionals who practiced in long-term care. The directors and CEO knew or should

         3             have known this strategy was deceptive and increased the risk of addiction and overdose.

         4                     p.       Oversaw and controlled Purdue's strategy to steer patients away from

         5             safer alternatives with the false claim that its opioids improve patients' "quality of life."

         6                     q.       Were aware of a plan to steer patients away from safer pain-management

         7             medicines, which involved efforts to emphasize the danger of acetaminophen-based pain

         8             medication to the liver. These efforts included deceptive websites the New York

         9             Attorney General specifically held to be misleading.

        10                     r.       Oversaw and controlled Purdue's efforts to generate deceptive marketing

        11             materials designed to obscure the risk of addiction and even the fact that Purdue was

        12             behind the campaign.

        13                     S.       Oversaw and controlled Purdue's strategy to convince doctors that their

        14             patients suffered from "pseudoaddiction" when their patients showed signs of addiction

        15             to Purdue's opioids, and urging doctors to respond to pseudoaddiction by increasing the

        16             opioid dose.

        17                     t.       Oversaw and controlled Purdue's response to thousands of harm reports

        18             from patients.

        19                     U.       Oversaw and controlled distributions of billions of dollars of Purdue's

        20             profits to themselves and other members of the Sackler family.

        21             45.     Each of the Sackler Defendants knew and intended that the sales representatives

        22    would not tell doctors and patients the truth about Purdue's opioids. Indeed, they knew and

        23    intended these unfair and deceptive tactics achieved their purpose by concealing the truth.

        24             46.     Each of the Sackler Defendants knew and intended that prescribers, pharmacists,

        25 I and patients in California would rely on Purdue's deceptive sales campaign to prescribe,

        26    dispense, and take Purdue opioids. Securing that reliance was the purpose of the sales campaign.

        27             47.     Each of the Sackler Defendants knew and intended that Purdue staff reporting to

        28   them would pay top prescribers tens of thousands of dollars to encourage other doctors to write
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         1   dangerous prescriptions in California.

         2            48.    Each of the Sackler Defendants knew and intended that Purdue staff reporting to

         3   them would reinforce these misleading acts through thousands of additional acts in California,

         4   including by sending deceptive publications to California doctors and deceptively promoting

         5   Purdue opioids at medical schools and physicians' offices across California.

         6            49.    Each of the Sackler Defendants knowingly and intentionally took money from

         7   Purdue's deceptive business in California.

         8            50.    Each of the Sackler Defendants knowingly and intentionally sought to conceal his

         9   or her misconduct.

        10            51.    The Sackler Defendants are included in the defined term "Purdue," which is

        11   defined in paragraph 27 above.

        12                                                  Teva

        13            52.    Defendant Teva Pharmaceutical Industries, Ltd. ("Teva Ltd.") is an Israeli

        14   corporation with its principal place of business in Petah Tikva, Israel. Shares of Teva Ltd. are

        15   traded on the New York Stock Exchange (symbol: TEVA). In its most recent Form 10-K filed

        16   with the SEC, Teva Ltd. stated that it does business in the United States through its North

        17   America Segment, which accounted for approximately 50% of the company's $18.9 billion in

        18   net revenue during the year ended December 31, 2018. Teva Ltd. regularly conducts business in

        19   California.

        20            53.    Defendant Teva Pharmaceuticals USA, Inc. ("Teva USA") is a wholly owned

        21   subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of business in

        22 I Pennsylvania.

        23            54.    Defendant Cephalon, Inc. ("Cephalon") is a Delaware corporation with its

        24   principal place of business in Frazer, Pennsylvania, and it was acquired by Teva Ltd. in October

        25   2011. Cephalon manufactures, promotes, sells and distributes opioids such as Actiq and Fentora

        26   in the United States, including Califomia. Significantly, the FDA only approved Actiq and

        27   Fentora for the management of breakthrough cancer pain in patients who are tolerant to around-

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         1   the-clock opioid therapy for their underlying persistent cancer pain. In 2008, Cephalon pleaded

         2   guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

         3   promotion of Actiq and two other drugs and agreed to pay $425 million.

         4            55.    Teva Ltd., Teva USA, and Cephalon work together closely to market and sell

         5   Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

         6   Cephalon in the United States through Teva USA and has done so since its October 2011

         7   acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

         8   to the public. Teva USA sells all former Cephalon-branded products through its "specialty

         9   medicines" division. The FDA approved prescribing information and medication guide, which is

        10   distributed with Cephalon opioids marketed and sold in California, discloses that the guide was

        11   submitted by Teva USA, and directs physicians to contact Teva USA to report adverse events.

        12   Teva Ltd. has directed Cephalon to disclose that it is a wholly-owned subsidiary of Teva Ltd. on

        13   prescription savings cards distributed in California, indicating Teva Ltd. would be responsible

        14   for covering certain co-pay costs.

        15            56.    All of Cephalon's promotional websites, including those for Actiq and Fentora,

        16   prominently display Teva Ltd.'s logo. Teva Ltd.'s financial reports list Cephalon's and Teva

        17   USA's sales as its own, and its year-end report for 2012 the year immediately following the

        18   Cephalon acquisition—attributed a 22% increase in its specialty medicine sales to "the inclusion

        19   of a full year of Cephalon's specialty sales." Through interrelated operations like these, Teva

        20   Ltd. operates in California and the rest of the United States through its subsidiaries Cephalon and

        21   Teva USA. The United States is the largest of Teva Ltd.'s global markets, representing 53% of

        22   its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Teva

        23   Ltd. would conduct those companies' business in the United States itself. Upon information and

        24   belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

        25   inure to the benefit of Teva Ltd. as controlling shateholder. Teva Branded Pharmaceutical

        26   Products R&D, Teva Neuroscience, Teva Parenteral Medicines, Teva Pharmaceuticals USA, and

        27   Teva Sales and Marketing are registered to do business in Califomia with the California

        28   S ecretary of State.
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         1            57.   Defendant Actavis Pharma, Inc. (f/k/a Watson Pharma, Inc.) is a Delaware

         2   corporation with its principal place of business in New Jersey. Actavis manufactures, promotes,

         3   sells, and distributes opioids, including the branded drug Kadian, a generic version of Kadian,

         4   and generic versions of Duragesic and Opana, in the United States, including California. Actavis

         5   acquired the rights to Kadian from King Pharmaceuticals, Inc., on December 30, 2008 and began

         6   marketing Kadian in 2009.

         7            58.   Defendant Actavis LLC (f/k/a Actavis, Inc.) is a Delaware limited liability

         8   company with its principal placed of business in New Jersey.

         9            59.   Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

        10   place of business in Corona, California. Watson Laboratories, Inc. and Actavis Pharma, Inc. are

        11   registered to do business in California with the California Secretary of State. Between 2000 and

        12   2015, Watson Laboratories, Inc. held the ANDAs for Norco and was the manufacturer of the

        13   drug. Watson Laboratories, Inc. also was the ANDA holder of various generic opioids.

        14            60.   In August 2016, Teva Ltd. purchased Allergan plc's worldwide generic opioid

        15   business, and in the process, acquired Actavis Pharma, Inc., Actavis LLC, and Watson

        16   Laboratories, Inc. from Allergan plc. Thus, since August 2016, Teva Ltd. has owned the generic

        17   opioids business that was formerly owned and operated by the Allergan/Actavis entities. Teva

        18   Ltd. uses each of these Defendants—Actavis LLC, Actavis Pharma, Inc., and Watson

        19   Laboratories, Inc.—to market and sell its drugs in the United States (together, Teva Ltd., Teva

        20   USA, Cephalon, Watson Laboratories, Inc., Actavis Pharma, Inc., and Actavis LLC are referred

        21   to as "Teva," except that references to Teva do not encompass Actavis Pharma, Inc., Actavis

        22   LLC, and Watson Laboratories, Inc. prior to their purchase by Teva Ltd. in August 2016).

        23                                                 Janssen

        24            61.   Defendant Johnson & Johnson ("J&J"), a New Jersey corporation with its

        25   principal place of business in New Brunswick, New Jersey.
        26            62.   Defendant Janssen Pharmaceuticals, Inc. ("Janssen Pharmaceuticals") is a

        27   Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and it is a

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         11  I wholly owned subsidiary of J&J. Jansen Pharmaceuticals was formerly known as Ortho-McNeil-

         2 I Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

         3    Upon information and belief, J&J is the only company that owns more than 10% of Janssen

         4    Phannaceuticals' stock, and corresponds with the FDA regarding Janssen's products. Upon

         5    infonnation and belief, J&J controls the sale and development of Janssen Pharmaceutical's

         6 I products and Janssen's profits inure to J&J's benefit.

         7             63.    Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. ("Ortho-McNeil"), now

         8 I known as Janssen Pharmaceuticals, is a Pennsylvania corporation with its principal place of

         9    business in Titusville, New Jersey.

        10             64.    Defendant Janssen Pharmaceutica, Inc. ("Janssen Pharmaceutica"), now known as

        11    Janssen Pharmaceuticals, is a Pennsylvania corporation with its principal place of business in

        12    Titusville, New Jersey (together, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

        13    Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and J&J are referred to as "Janssen").

        14             65.    Janssen manufactures, promotes, sells, and distributes drugs in the United States,

        15    including California, including the opioid Duragesic (fentanyl). Before 2009, Duragesic

        16    accounted for at least $1 billion in annual sales. Until January 2015, Janssen developed,

        17    marketed, and sold the opioids Nucynta and Nucynta ER. Together, Nucynta and Nucynta ER

        18    accounted for $172 million in sales in 2014.

        19                                                   Endo

        20             66.    Defendant Endo International plc ("Endo International") is an Irish public limited

        21    company, with global headquarters in Dublin, Ireland and U.S. headquarters in Malvern,

        22    Pennsylvania. Endo International operates in the United States as Endo Pharmaceuticals.

        23             67.    Defendant Endo Health Solution Inc. ("EHS") is a Delaware corporation with its

        24    principal place of business in Malvern, Pennsylvania.

        25             68.    Defendant Endo Pharmaceuticals, Inc. ("EPI") is a wholly owned subsidiary of

        26    EHS and is a Delaware corporation with its principal place of business in Malvern,

        27    Pennsylvania.

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         1            69.    Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

         2   place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly

         3 I owned subsidiary of Par Phannaceutical Companies, Inc.

         4            70.    Defendant Par Pharmaceutical Companies, Inc., formerly known as Par

         5   Pharmaceutical Holdings, Inc., is a Delaware corporation with its principal place of business

         6   located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. and Par Phannaceutical

         7   Companies, Inc. are referred to collectively "Par Pharmaceutical." Par Pharmaceutical was

         8   acquired by Endo International plc in September 2015 and is an operating cornpany of Endo

         9   International (together, Endo International, EHS, EPI, and Par Pharmaceutical are referred to

        10   collectively as "Endo").

        11            71.    Endo develops, markets, and sells prescription drugs, including the opioids

        12   Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States, including California. In

        13   2012, opioids made up roughly $403 million of Endo's overall revenues of $3 billion. Opana ER

        14   yielded $1.15 billion in revenue from 2010 and 2013, and accounted for 10% of Endo's total

        15   revenue in 2012. Endo also manufactures and sells generic opioids such as oxycodone,

        16   oxymorphone, hydromorphone, and hydrocodone products in the United States, including

        17   California, by itself and through its subsidiary, Qualitest Pharmaceuticals, Inc. Endo Medical

        18   (SA) International Trade Co., is registered to do business in California with the California

        19   S ecretary of State.

        20                                                 Allergan

        21            72.    Defendant Allergan plc, formerly known as Actavis plc, is a public limited

        22   company incorporated in Ireland with its principal place of business in Dublin, Ireland. In

        23   November 2012, Actavis, Inc. and Watson Pharmaceuticals, Inc. merged, and the combined

        24   company changed its name first to Actavis, Inc. as of January 2013, and then later Actavis plc in

        25   October 2013. Actavis plc acqilired Allergan, Inc. in March 2015, and the combined company

        26   changed its name to Allergan plc in June 2015. Actavis plc had the same corporate headquarters

        27   both before and after the merger; Actavis plc had the same website as Actavis, Inc.; and Actavis

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         1   plc maintained all of Actavis Inc.'s officers in the same positions. See City of Chicago v. Purdue

         2   Pharma L.P., et al., No. 14-4361, 2015 WL 2208423, at *7, 2015 U.S. Dist. LEXIS 60587, at

         3   *23-24 (N.D. Ill. May 8, 2015). Shares of Allergan plc are traded on the New York Stock

         4   Exchange (symbol: AGN). In its most recent Form 10-K filed with the SEC, Allergan plc stated

         5   that it does business in the U.S. through its US Specialized Therapeutics aiid US General

         6   Medicine segments, which generated nearly 80 percent of the company's $15.8 billion in net

         7   revenue during the year ended December 31, 2018. Allergan plc regularly conducts business in

         8   California.

         9             73.   Defendant Allergan, Inc. is a Delaware corporation with its principal place of

        10   business in Irvine, California and is a wholly owned subsidiary of Allergan plc. Allergan, Inc.

        11   currently holds the ANDAs for Norco and is currently listed as the labeler for Norco by the U.S.

        12   Food & Drug Administration.

        13             74.   Defendant Allergan USA, Inc. is a Delaware corporation with its principal place

        14   of business in Madison, New Jersey and is a wholly owned subsidiary of Allergan plc. Allergan

        15   USA, Inc. and Allergan, Inc. are registered to do business in California with the California

        16   Secretary of State.

        17             75.   Defendant Allergan Finance, LLC (f/k/a Actavis, Inc. f/k/a Watson

        18 I Pharmaceuticals, Inc.) is a Nevada limited liability company that exists for the purpose of

        19   holding shares of other companies that manufacture and distribute prescription pharmaceuticals.

        20   Its sole member is Allergan W.C. Holding Inc. f/k/a Actavis W.C. Holding Inc., a Delaware

        21   corporation with its principal place of business in Madison, New Jersey. In 2008, Actavis, Inc.

        22   (n/k/a Allergan Finance, LLC), acquired the opioid Kadian through its subsidiary, Actavis

        23   Elizabeth LLC, which had been the contract manufacturer of Kadian since 2005. Since 2008,

        24   Kadian's label has identified the following entities as the manufacturer or distributor of Kadian:

        25   Actavis Elizabeth LLC, Actavis Kadian LLC, Actavis Pharma, Inc., and Allergan USA, Inc.

        26   Currently, Allergan USA, Inc. is contracted with UPS SCS, Inc. to distribute Kadian on its

        27   behalf.

        28             76.   Prior to their sale to Teva Ltd. in August 2016 described in paragraphs 57-60
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         1   above, Defendants Actavis Phanna, Inc., Actavis LLC, and Watson Laboratories, Inc. were

         2   owned by Allergan plc (together, and in the period prior to the merger with Allergan, Inc. in

         3   March 2015, Actavis plc, Actavis, Inc., Actavis LLC, Actavis Pharma, Inc., Watson

         4   Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc. are referred to herein

         5   as "Actavis").

         6            77.     During the period prior to their sale to Teva Ltd., Defendants Actavis Pharma,

         7 I Inc., Actavis LLC, and Watson Laboratories, Inc. were part of the same corporate family as

         8   Allergan Finance LLC, and sold and marketed opioids as part of a coordinated strategy to sell

         9   and market the branded and generic opioids of Allergen Finance, LLC, Actavis Pharma, Inc.,

        10   and Actavis LLC (together, Allergan plc, Allergan, Inc., Allergan USA, Inc., Allergan Finance,

        11   LLC, Actavis Phai-ma, Inc., Actavis LLC, and Watson Laboratories, Inc. are referred to

        12   collectively as "Allergan," except that references to Allergan do not encompass Actavis Pharma,

        13   Inc., Actavis LLC, and Watson Laboratories, Inc. after their sale to Teva Ltd. in August 2016).

        14            78.     Allergan manufactures, promotes, sells, and distributes opioids, including the

        15   branded drug Norco in the United States, including California.

        16                                               Mallinckrodt

        17            79.     Defendant Mallinckrodt, plc is an Irish public limited company headquartered in

        18   Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

        19   Mallinckrodt, plc operates within the United States as Mallinckrodt Pharmaceuticals. Shares of

        20   Mallinckrodt plc are traded on the New York Stock Exchange (symbol: MNK). In its most recent

        21   Form 10-K filed with the United States Securities and Exchange Commission ("SEC"),

        22   Mallinckrodt plc stated that its products compete primarily in the U.S. market, which accounted

        23   for almost 90% of the company's $3.2 billion in net sales during the fiscal year ended December

        24   28, 2018.

        25            80.     Defendant Mallinckrodt, LLC is a limited liability company organized and

        26   existing under the laws of the State of Delaware. Mallinckrodt, LLC is a wholly owned

        27   subsidiary of Mallinckrodt, plc.

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         1            81.   Defendant SpecGx LLC is a Delaware limited liability company with its

         2   headquarters in Clayton, Missouri, and it is a wholly-owned subsidiary of Mallinckrodt plc.

         3   (together, Mallinckrodt, plc, Mallinckrodt, LLC, and SpecGx LLC are referred to as

         4   "Mallinckrodt").

         5            82.   Mallinckrodt manufactures, markets, and sells drugs in the United States

         6   including generic oxycodone, of which it is one of the largest manufacturers. In July 2017,

         7   Mallinckrodt agreed to pay $35 million to settle allegations brought by the Department of Justice

         8   that it failed to detect and notify the DEA of suspicious orders of controlled substances.

         9   Mallinckrodt U.S. Holdings, Mallinckrodt ARD Inc., Mallinckrodt Enterprise Holdings, and

        10   Mallinckrodt Hospital Products are registered to do business in California with the California

        11   Secretary of State.

        12                                                 Mylan

        13            83.   Defendant Mylan Inc. (f/k/a Mylan Laboratories Inc.) is a Pennsylvania
        14   corporation with its principal place of business in Canonsburg, Pennsylvania and is indirectly,
        15   wholly owned by Mylan N.V., a publicly-held company.
        16            84.   Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its
        17   principal place of business in Canonsburg, Pennsylvania. Mylan Pharmaceuticals, Inc. is a
        18   wholly-owned subsidiary of Mylan Inc.
        19            85.   Defendant Mylan Institutional Inc. is an Illinois corporation with its principal

        20   place of business in Canonsburg, Pennsylvania, and it is a wholly-owned subsidiary of Mylan

        21   Inc.
        22            86.   Defendant Mylan Technologies, Inc. (f/k/a Bertek, Inc.) is a West Virginia
        23   corporation headquartered in St. Albans, Vermont and is a wholly-owned subsidiary of Mylan
        24   Inc. (together, Mylan Inc., Mylan Pharmaceuticals, Inc., Mylan Institutional Inc., and Mylan
        25   Technologies, Inc. are referred to as "Mylan"). At all times relevant to this Complaint, Mylan
        26   manufactured, promoted, sold, and distributed generic opioid pharmaceutical products to the
        27   United States and California.
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         1            87.   Collectively, the Sackler Defendants, Teva, Janssen, Endo, Allergan,

         2   Mallinckrodt, and Mylan are the "Manufacturer Defendants."

         3            C.    The Distributor Defendants

         4            88.   Defendant Cardinal Health, Inc. is a publicly traded company incorporated under

         5   the laws of Ohio and with a principal place of business in Ohio. Cardinal distributes prescription

         6   opioids to providers and retailers, including in California. Cardinal has engaged in consensual

         7   coinmercial dealings with Plaintiffs and their residents, and has purposefully availed itself of the

         8   advantages of conducting business with and within Plaintiffs' borders. Cardinal is in the chain of

         9   distribution of prescription opioids.

        10            89.   Defendant Cardinal Health 110, LLC is a Delaware limited liability company

        11   with its principal place of business in Dublin, Ohio (together, Cardinal Health, Inc. and Cardinal

        12   Health 110, LLC are referred to herein as "Cardinal"). Along with Cardinal Health 100, Cardinal

        13   Health 127, and Cardinal Health 201, Cardinal Health 110, LLC is registered to do business in

        14   California with the California Secretary of State

        15            90.   Defendant AmerisourceBergen Corporation ("AmerisourceBergen") is a publicly

        16   traded company incorporated under the laws of Delaware and with a principal place of business

        17   in Pennsylvania. AmerisourceBergen distributes prescription opioids to providers and retailers,

        18   including in California. AmerisourceBergen has engaged in consensual commercial dealings

        19   with Plaintiffs and their residents, and has purposefully availed itself of the advantages of

        20   conducting business with and within Plaintiffs' borders. AmerisourceBergen is in the chain of

        21   distribution of prescription opioids. AmerisourceBergen Associate Assistance Fund,

        22   AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation, and

        23   AmerisourceBergen Services Corporation are registered to do business in California with the

        24   California Secretary of State.

        25            91.   Defendant McKesson Corporation ("McKesson") is a publicly traded company

        26   incorporated under the laws of Delaware and with a principal place of business in San Francisco,

        27   California. McKesson distributes prescription opioids to providers and retailers, including in

        28   California. McKesson has engaged in consensual commercial dealings with Plaintiffs and their
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         1   residents, and has purposefully availed itself of the advantages of conducting business with and

         2   within Plaintiffs' borders. McKesson is in the chain of distribution of prescription opioids.

         3   McKesson Corporation is registered to do business in California with the California Secretary of

         4 I State.

         5             92.   Collectively, AmerisourceBergen, Cardinal, and McKesson dominate 85% of the

         6   market share for the distribution of prescription opioids. The "Big 3" are Fortune 500

         7   corporations listed on the New York Stock Exchange and their principal business consists of the

         8   nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm'n v. Cardinal

         9   Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal, McKesson, and

        10   AmerisourceBergen predecessors). Each has been investigated and/or fined by the DEA for the

        11   failure to report suspicious orders. Plaintiffs have no reason to believe each has engaged in

        12   unlawful conduct which resulted in the distribution, dispensing, and diversion of prescription

        13   opioids into their communities. Plaintiffs name each of the "Big 3" herein as defendants and

        14   places the industry on notice that Plaintiffs are acting to abate the public nuisance plaguing their

        15   communities. Distributor Defendants have had substantial contacts and business relationships

        16   with the People. Distributor Defendants have purposefully availed themselves of business

        17   opportunities within Plaintiffs' communities.

        18             93.   Defendant CVS Health Corporation (f/k/a CVS Caremark Corporation) is a

        19   Delaware corporation, and has its principal place of business located in Woonsocket, Rhode

        20   Island.

        21             94.   Defendant CVS Pharmacy, Inc. is a Rhode Island corporation, and has its

        22   principal place of business located in Woonsocket, Rhode Island. CVS Health Corporation is the

        23   direct parent corporation of CVS Pharmacy, Inc. (together, CVS Pharmacy, Inc. and CVS

        24   Phannacy, Inc. are referred to herein as "CVS").

        25             95.   Defendant Walgreeii Co. is an Illinois corporation, and its principal place of

        26   business is located in Deerfield, Illinois.

        27             96.   Defendant H.D. Smith Wholesale Drug Co. ("H.D. Smith") is a Delaware

        28   corporation, and its principal place of business is located in Springfield, Illinois. In 2018, H.D.
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         1    Smith Holding Company was purchased by AmerisourceBergen.

         2            97.    Defendant Thrifty Payless Inc. dba Rite Aid ("Thrifty") is a California

         3    corporation, and its principal place of business is located in Camp Hill, Pennsylvania. Thrifty is a

         4    subsidiary of Rite Aid Corporation.

         5            98.    Defendant Kaiser Foundation Hospitals is a California nonprofit, public-benefit

         6    corporation with a principal place of business in Oakland, California.

         7            99.    Collectively, AmerisourceBergen, Cardinal, McKesson, CVS, Walgreen Co.,

         8    H.D. Smith, Thrifty, and Kaiser Foundation Hospitals are the "Distributor Defendants."

         9            D.     The Doe Defendants

        10            100. Plaintiffs are ignorant of the true names or capacities, whether individual,

        11    corporate or otherwise, of the Defendants sued herein under the fictitious names DOES 1

        12    through 100 inclusive, and they are therefore sued herein pursuant to Code of Civil Procedure §

        13    474. Plaintiffs will amend this Complaint to show their true names and capacities if and when

        14    they are ascertained. Plaintiffs are informed and believe, and on such information and belief

        15    allege, that each of the Defendants named as a DOE is responsible in some manner for the events

        16    and occurrences alleged in this Complaint and is liable for the relief sought herein.

        17            E.     Defendants' Agents, Successors, and Parent-Subsidiary Relationships

        18            101. Each action described herein is part of, and in furtherance of, the unlawful

        19    conduct alleged herein, and was authorized, ordered, and agreed to by each Defendant's officers,

        20    agents, employees, or other representatives who were actively engaged in the management of

        21    said Defendant's affairs within the course and scope of their duties and employment and with

        22    said Defendant's actual, apparent, and ostensible authority.

        23            102. With respect to each parent company Defendant identified above, each parent-

        24 I owner:

        25                    •   Knew of and/or participated in the fraudulent and/or otherwise illegal conduct

        26                        of its subsidiaries;

        2'7                   •   Exercised complete domination over the acquired-subsidiary company, and

        28                        such domination and control over finances, policy, and business practices was
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         1                       used to cominit the unlawful acts complained of herein, which resulted in

         2                       Plaintiffs' injury;

         3                   •   Expressly or impliedly assumed the predecessor's liabilities for the unlawful

         4                       acts complained of herein, which resulted in Plaintiffs' injury;

         5                   •   Essentially merged itself in substance, if not in form, with the acquired

         6                       subsidiary company; and/or is a mere continuation of the acquired-subsidiary

         7                       company.

         8   III. JURISDICTION AND VENUE

         9            103.   This Court has jurisdiction over this action. Defendants are engaging in false and

             misleading advertising, fraudulent acts, negligent acts, and creating or assisting in the creation of

             a public nuisance within Plaintiffs' communities, and the People through their attorneys have the

        12   right and authority to prosecute this case on behalf of the People.

        13            104.   Venue is proper in this Court because Defendants transact business in California,

        14   and Defendant Allergan, Inc.'s principal place of business is in Irvine, California, which is

        15   located within Orange County.

        16   IV.      GENERAL FACTUAL ALLEGATIONS

        17            A.     An Overview of the Opioid Epidemic

        18            105.   The term "opioid" includes all drugs derived from the opium poppy. The United

        19   States Food and Drug Administration describes opioids as follows: "Prescription opioids are

        20   powerful pain-reducing medications that include prescription oxycodone, hydrocodone, and

        21   morphine, among others, and have both benefits as well as potentially serious risks. These

        22   medications can help manage pain when prescribed for the right condition and when used

        23   properly. But when misused or abused, opioids can cause serious harm, including addiction,

        24   overdose, and death."7

        25            106.   Prescription opioids with the highest potential for addiction are listed under

        26
        27   7See U.S. FDA, Opioid Medications, available at
             https://www.fda.~ov/Drugs~rugSafety/InformationbyDrugClass/ucm337066.htm (last accessed
        28   December 19, 2017).
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         1 I Schedule II of the Controlled Substances Act. This includes non-synthetic opiuln derivatives

         2   (such as codeine and morphine, also known generally as "opiates"), partially synthetic

         3   derivatives (such as hydrocodone and oxycodone), and fully synthetic derivatives (such as

         4   fentanyl and methadone).

         5            107.    Historically, opioids were considered too addictive and debilitating for the

         6   treatment of chronic pain such as back pain, migraines, and arthritis. According to Dr. Caleb

         7   Alexander, director of Johns Hopkins University's Center for Drug Safety and Effectiveness,

         8   "[opioids] have very, very high inherent risks ... and there's no such thing as a fully safe

         9   opioid."8

        10            108.    Opioids also tend to induce tolerance, whereby a person who uses opioids

        11   repeatedly over time no longer responds to the drug as strongly as before, thus requiring a higher

        12   dose to achieve the same effect. This tolerance contributes to the high risk of overdose during a

        13   relapse.

        14            109.    Before the 1990s, generally accepted standards of inedical practice dictated that

        15   opioids should only be used short-tenn for acute pain, pain relating to recovery from surgery, or

        16   for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

        17   patients' ability to overcome pain and function, as well as evidence of greater pain complaints as

        18   patients developed tolerance to opioids over time, and the serious risk of addiction and other side

        19   effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

        20   generally did not prescribe opioids for chronic pain.

        21            110.    The market for chronic pain patients, however, was much larger, and to take

        22   advantage of it, Defendants had to change doctors' general reluctance to prescribe opioids for

        23   chronic pain.9

        24            111.    As described herein, Defendants engaged in conduct that directly caused doctors

        25
             8 Matthew Perrone et al., Drugmakers push profitable, but unproven, opioid solution, Center for
        26   Public Integrity, available at https://www.publicinte g_
                                                                   i-ity.org/2016/12/15/20544/drugmakers-
             push-profitable-unproven-opioid-solution (last accessed December 20, 2017).
        27   e Harriet Ryan et al., `You want a description of hell?' OxyContin's 12-hour problem, L.A.
             Times (May 5, 2016), available at http://www.latimes.com/projects/oxycontin-partl/ (last
        28   accessed December 20, 2017).
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              to prescribe skyrocketing amounts of opioids to patients. Defendants also intentionally neglected

         ~a   their obligations to prevent diversion of the highly addictive substance.

         3             112. As a result of Defendants' wrongful conduct, the number of opioid prescriptions

         1!   increased sharply, reaching nearly 250,000,000 prescriptions in 2013, which was almost enough

              for every person in the United States to have a bottle of pills. This represents an increase of

              300% since 1999. In California, opioid prescribing rates peaked in 2013 when 54.9 opioid

              prescriptions were dispensed per 100 persons.

                       113. Many Arnericans, including Californians and Plaintiffs' residents, are now

              addicted to prescription opioids. In 2016, drug overdoses killed over 60,000 people in the United

        10    States, an increase of more than 22 percent over the previous year. The New York Times

        11    reported in September 2017, that the opioid epidemic is now killing babies and toddlers because

        12    deadly opioids are "everywhere" and are easily mistaken as candy.10 The opioid epidemic has

        13    been declared a public health emergency by the President of the United States. The wave of

        14    opioid addiction was created by the increase in prescriptions.

        15             114.   One in four Americans receiving long-term opioid therapy struggles with opioid

        16    addiction. Nearly 2 million Americans have a prescription opioid use disorder. According to the

        17    NIH's National Institute on Drug Abuse, approximately 21 to 29 percent of patients prescribed

        18    opioids for chronic pain misuse them. Between 8 and 10 percent develop an opioid use disorder.

        19    Four to 6 percent of people who misuse prescription opioids transition to heroin abuse, and about

        20    80 percent of people who use heroin first misused prescription opioids.

        21             115.   Drug overdose deaths among all Americans increased more than 200 percent

        22 I between 1999 and 2015.

        23             116.   Deaths from prescription opioids have quadrupled in the past 20 years. In

        24    California, there were 4,654 total opioid overdose deaths in 2016.11

        25
              lo Julie Turkewitz, "The Pills are Everywhere: " How the Opioid Crisis Claims Its Youngest
        26    Victims, N.Y. Times (Sept. 20, 2017), available at
              https://www.nytimes.coin/2017/09/20/us/opioid-deaths-children.htinl (last accessed January 4,
        27    2018).
              11 See Center for Disease Control (CDC)/NCHS, National Vital Statistics System, Mortality,
        28    available at littps://www.cdc.gov/drugoverdose/data/statedeaths.html (last accessed August 13,
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         1              117. At the same time, treatment admissions for abuse of opioids and emergency room

         2   visits for non-medical opioid use have dramatically increased. The increases in opioid deaths and

         3   treatments are directly tied to the prescribing practices created by Defendants. According to the

         4   CDC12, opioid deaths and treatment admissions are tied to opioid sales:

                    B Rates ®f ®pioid Sales, ®® ®eaths, and Treatment, 1999®2010
         5

         6

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        11      d
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        18          0
                         1999                               -          ----   ----   ----   ----   ----   -- -
                                                                Year
        19   CDC. MMWR 2011


        20
                        118. People who are addicted to prescription opioid painkillers are forty times more
        21
             likely to be addicted to heroin, which is pharmacologically similar to prescription opioids.
        22
             Available data indicates that the nonmedical use of prescription opioids is a strong risk factor for
        23
             heroin use. According to the CDC, heroin drug overdose deaths have more than tripled in the
        24
        25
        26   2018).
             lz U.S. Dep't of Health & Human Servs., Addressing Prescription DrugAbuse in the United
        27   States, available at
             https://www.cdc.~ov/drugoverdose/pdf/hhs prescription drug abuse report 09.2013.pdf (last
        28   accessed December 29, 2017).
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              past four years. In California, 355 overdose deaths in 2016 involved heroin. l3

         Ia            119. Prescription opioid abuse "is a serious national crisis that affects public health as

              well as social and economic welfare." The economic burden of prescription opioid misuse alone

         4    on the public is $78.5 billion a year, including the costs of healthcare, lost productivity, addiction

              treatment, and criminal justice expenditures. l4

                       B.     The Manufacturer Defendants Spread False or Misleading Information About
                              the Safety of Opioids
         7

                       120. Each Manufacturer Defendant developed a well-funded marketing scheme based

              on deception to persuade doctors and patients that opioids can and should be used to treat

        10    chronic pain without risk of abuse or addiction, resulting in opioid prescriptions to a far larger
        11    group of patients who are much more likely to become addicted. In connection with this scheme,
        12    each Manufacturer Defendant spent, and continues to spend, millions of dollars on promotional
        13    activities and materials that falsely deny or minimize the risks of opioids.
        14             121.   The Manufacturer Defendants employed the same marketing plans and strategies,
        15    and deployed the same messages in and around California, including in Plaintiffs' communities,

        16    as they did nationwide. Across the pharmaceutical industry, corporate headquarters are

        17    responsible for filnding and overseeing "core message" development on a national basis. This
        18    comprehensive approach ensures that the Manufacturer Defendants' messages are accurately and
        19    consistently delivered across marketing channels—including detailing visits, speaker events, and
        20    advertising—and in each sales territory. The Manufacturer Defendants consider this high level of
        21    coordination and uniformity crucial to successfully marketing their prescription drugs.

        22             122.   To increase the impact of their deceptive marketing schemes, on information and
        23    belief, the Manufacturer Defendants coordinated and created unified marketing plans to ensure
        24    that their messages were consistent with one another and effective across all their marketing
        25

        26    13 See National Institute of Drug Abuse, California Opioid Summary, available at
              https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/califoi-nia-opioid-
        27    suminar ,(last accessed August 13, 2018).
                 Opioid Crisis, NIH, National Institute on Drug Abuse, available at
        28    https://www.druaabuse.gov/drugs-abuse/opioids/opioid-crisis (last accessed December 19, 2017).
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         1 I efforts.

         2              123. The deceptive marketing schemes included, among others: (a) false or misleading

         3   direct, branded advertisements; (b) false or misleading direct-to-physician marketing, also

         4   known as "detailing;" (c) false or misleading materials, speaker programs, webinars, and

         5   brochures; and (d) false or misleading unbranded advertisements or statements by purportedly

         6   neutral third parties that were really designed and distributed by the Manufacturer Defendants.

         7   All of these schemes were geared towards convincing both doctors and patients that opioid use

         8   to treat chronic pain carried a low, or no, risk of addiction.

         9              124. Contrary to the language on their drugs' labels regarding the serious risks

        10 I associated with their use, the Manufacturer Defendants made false and misleading claims that:

        11   (a) downplayed the serious risk of addiction; (b) created and promoted the concept of

        12   "pseudoaddiction" when signs of actual addiction began appearing, and advocated that the signs

        13    of addiction should be treated with more opioids; (c) exaggerated the effectiveness of screening

        14   tools to prevent addiction; (d) claimed that opioid dependence and withdrawal are easily

        15   managed; (e) denied the risks of higher dosages; and (f) exaggerated the effectiveness of "abuse-

        16    deterrent" opioid formulations to prevent abuse and addiction. The Manufacturer Defendants

        17   also falsely touted the benefits of long-term opioid use, including the supposed ability of opioids

        18   to iinprove function and quality of life, even though there was no scientifically reliable evidence

        19   to support the Manufacturer Defendants' claims.

        20              125. These statements were not only unsupported by or contrary to the scientific

        21    evidence, but they also were contrary to pronouncements by and guidance froin the FDA and

        22    CDC based on that exact same evidence. Indeed, as discussed herein, the 2016 CDC Guideline

        23    makes it patently clear that the Manufacturer Defendants' schemes were and continue to be

        24    deceptive.

        25              126. The Manufacturer Defendants began their marketing schemes decades ago and

        26 I continue them today.
        27              127. The Manufacturer Defendants' efforts have been wildly successful. Opioids are

        28 II now the most prescribed class of drugs. Globally, opioid sales generated $1.1 billion in revenue
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             1   for drug colnpanies in 2010 alone, and sales in the United States have exceeded $8 billion in

             2   revenue annually since 2009.15 In an open letter to the nation's physicians in August 2016, the

             3   U.S. Surgeon General expressly connected this "urgent health crisis" to "heavy marketing of

             4   opioids to doctors. ..[m]any of [whom] were even taught — incorrectly — that opioids are not

             5   addictive when prescribed for legitimate pain."16

             6            128.   On information and belief, as a part of their deceptive marketing schemes, the

             7   Manufacturer Defendants identified and targeted susceptible prescribers and vulnerable patient

             8   populations in the United States, including California.

             9            129.   For example, on information and belief, the Manufacturer Defendants focused

            10   their deceptive marketing schemes on primary care doctors, who were more likely to treat
 ~
            11   chronic pain patients and prescribe them drugs, but who were less likely to be well-schooled in
 ~7 3
 Za         12   treating pain and the risks and benefits of opioids, including abuse and addiction, and therefore
 ~Ha
 ~7Q o
 P-4 cn ¢   13   more likely to accept the Manufacturer Defendants' misrepresentations.
 ~WW
            14            130.   On information and belief, the Manufacturer Defendants also targeted vulnerable
 ~H H
            15   patient populations like the elderly and veterans, who tend to suffer from chronic pain.
 O~
 P4         16            131.   The Manufacturer Defendants targeted these vulnerable patients even though the

            17   risks of long-term opioid use were significantly greater for them. For example, the 2016 CDC

            18   Guideline observed that existing evidence showed that elderly patients taking opioids suffer from

            19   elevated fall and fracture risks, greater risk of hospitalization, and increased vulnerability to

            20   adverse drug effects and interactions. The Guideline therefore concluded that there are special

            21   risks of long-term opioid use for elderly patients and recommended that doctors use "additional

            22   caution and increased monitoring" to minimize the risks of opioid use in elderly patients. The

            23   same is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for

            24   post-traumatic stress disorder, which interact dangerously with opioids.

            25
            26
            27   15 See Katherine Eban, Oxycontin: Purdue Pharma's Painful Medicine, Fortune, (Nov. 9, 2011);
                 David Crow, Drugmakers Hooked on IObn Opioid Habit, Fin. Times (August 10, 2016).
            28   16 Murthy, supra note 3.
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         1                   1. The Manufacturer Defendants Engaged in False and Misleadin2
                                Direct MarketinE of Opioids
         2

         3            132. Each Manufacturer Defendant conducted, and continues to conduct, direct

         4   marketing consisting of advertising campaigns touting the purported benefits of their branded

         5   drugs. For example, upon information and belief; the Manufacturer Defendants spent more than

         6   $14 million on medical journal advertising of opioids in 2011, nearly triple what they spent in

         7   2001.

         8            133. A number of the Manufacturer Defendants' branded ads deceptively portrayed the

         9   benefits of opioids for chronic pain. For example:

        10                   a.     Endo, on information and belief, has distributed and made available on its

        11            website opana.com a pamphlet promoting Opana ER with photographs depicting patients

        12            with physically demanding jobs like construction worker and chef, misleadingly

        13            implying that the drug would provide long-term pain-relief and functional improvement.

        14                   b.     On information and belief, Purdue also ran a series of ads, called "Pain

        15            vignettes," for OxyContin in 2012 in medical journals. These ads featured chronic pain

        16            patients and recommended OxyContin for each. One ad described a"54-year-old writer

        17            with osteoarthritis of the hands" and implied that OxyContin would help the writer.work

        18            more effectively.

        19            134. Although Endo and Purdue agreed in late 2015 and 2016 to cease making these

        20   misleading representations in New York, they continued to disseminate them elsewhere

        21   throughout the United States, including California.

        22            135. The direct advertising disseminated by the Manufacturer Defendants failed to

        23   disclose studies that were not favorable to their products, or that they lacked clinical evidence to

        24   support many of their claims.

        25                   2. The                                                                     er
                                                                                                        bout
        26
        27            136. Each Manufacturer promoted the use of opioids for chronic pain through

        28   "detailers"—sophisticated and specially trained sales representatives who visited individual

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         1   doctors and medical staff in their offices—and small group speaker programs.

         2            137. The Manufacturer Defendants invested heavily in promoting the use of opioids

         3   for chronic pain through detailers and small group speaker programs.

         4            138. The Manufacturer Defendants devoted massive resources to direct sales contacts

         5   with doctors via detailers. Upon information and belief, the Manufacturer Defendants spend in

         6   excess of $168 million in 2014 alone on detailing branded opioids to doctors, more than twice

         7   what they spent on detailing in 2000. From mid-2013 through 2015, Purdue, Janssen, and Endo

         8   detailed at least 6,238, 584, and 195 prescribers in California respectively. By itself, Purdue was

         9   responsible for lnore than 1 out of every 3 reported opioid-related detailing visits in California

        10   by Defendants.

        11            139. On inforrnation and belief, these detailers have spread and continue to spread

        12   misinformation regarding the risks and benefits of opioids to hundreds of thousands of doctors,

        13   including thousands of doctors in California, in the following manner:

        14                   a.      Describe the risk of addiction as low or fail to disclose the risk of

        15            addiction;

        16                   b.      Describe their opioid products as "steady state" — falsely implying that

        17            these products are less likely to produce the high and lows that fuel addiction — or as less

        18            likely to be abused or result in addiction;

        19                   C.      Tout the effectiveness of screening or monitoring patients as a strategy for

        20            managing opioid abuse and addiction;

        21                   d.      State that there is no maximum dose and that doctors can safely increase

        22            doses without disclosing the significant risks to patients at higher doses;

        23                   e.      Discuss "pseudoaddiction;"

        24                   f.      State that patients would not experience withdrawal if they stopped using

        25            their opioid products; and

        26                   g.      State that abuse-deterrent formulations are tamper- or crush-resistant and

        27            harder to abuse or misuse.

        28            140. Because these detailers must adhere to scripts and talking points drafted by the
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         1   Manufacturer Defendants, it can be reasonably inferred that most, if not all, of the Manufacturer

         2   Defendants' detailers made and continue to make these misrepresentations to the thousands of

         3   California doctors they have visited and continue to visit. The Manufacturer Defendants have not

         4   corrected this inisinformation.

         5            141.   The Manufacturer Defendants' detailing to doctors was highly effective in

         6   generating the national proliferation of prescription opioids. On information and belief, the

         7   Manufacturer Defendants used sophisticated data mining and intelligence to track and

         8   understand the rates of initial prescribing and renewal by individual doctors, allowing specific

         9   and individual targeting, customizing, and monitoring of their marketing efforts.

        10            142.   The Manufacturer Defendants also identified doctors to serve on their speakers'

        11   bureaus in exchange for payment and other remuneration, as well as attend programs with

        12   speakers and meals paid for by the Manufacturer Defendants. These speakers gave the false

        13   impression that they were providing unbiased and medically accurate presentations when they

        14   were in fact presenting a script prepared by the Manufacturer Defendants. On information and

        15   belief, these presentations conveyed misleading information, omitted material information, and

        16   failed to correct the Manufacturer Defendants' prior misrepresentations about the risks and

        17   benefits of opioids, including addiction risks.

        18            143.   Each Manufacturer Defendant devoted and continues to devote massive resources

        19 I to direct sales contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing

        20    branded opioids to doctors. This amount is twice as much as Defendants spent on detailing in

        21   2000. The amount includes $108 million spent by Purdue, $34 million by Janssen, $10 million

        22    by Endo, and $2 million by Actavis.

        23            144.   Marketing impacts prescribing habits, with face-to-face detailing having the

        24   greatest influence. On information and belief, more frequent prescribers are generally more

        25    likely to have received a detailing visit, and 'in some instances, more infrequent prescribers of

        26   opioids received a detailing visit from a Manufacturer Defendant's detailer and then prescribed

        27   only that Manufacturer Defendant's opioid products.

        28            145.   The FDA has cited at least one Manufacturer Defendant for deceptive promotions
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         1   used by its detailers and in its direct-to-physician marketing. In 2010, the FDA notified Actavis

         2   that certain brochures distributed by Actavis were "false or misleading because they omit and

         3   minimize the serious risks associated with [Kadian], broaden and fail to present the limitations to

         4   the approved indication of the drug, and present unsubstantiated superiority and effectiveness

         5   claims." The FDA also found that "[t]hese violations are a concern from a public health

         6   perspective because they suggest that the product is safer and more effective than has been

         7   demonstrated."17

         8                   3. The Manufacturer Defendants Deceptively Marketed Opioid
                                through Seeminglv Indenendent Third Parties that Dissemin
         9

        10            146.   The Manufacturer Defendants also deceptively marketed opioids in California

        11   through unbranded advertising—i.e., advertising that promotes opioid use generally but does not

        12   name a specific opioid. This type of advertising was ostensibly created and disseminated by

        13   independent third parties. But by funding, directing, reviewing, editing, and distributing

        14   unbranded advertising, the Manufacturer Defendants coordinated and controlled the deceptive

        15   messages disseminated by these third parties and acted in concert with them to falsely and

        16   misleadingly promote opioids for the treatment of chronic pain as non-addictive.

        17            147.   The extent of the financial ties between the opioid industry and third-party

        18   advocacy groups is stunning. A recent report released by the United State Senate Homeland

        19   Security and Governmental Affairs Committee reveals nearly $9 million in payments from

        20   companies, including Purdue and Janssen, to 14 outside groups between 2012 and 2017.18

        21   According to the report, "[t]he fact that ... manufacturers provided millions of dollars to the

        22   groups described below suggests, at the very least, a direct link between corporate donations and

        23   the advancement of opioids-friendly messaging." The report concluded that "many of the groups

        24
             17 Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc'ns, U.S. Food &
        25   Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), available at
             http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf (last accessed
        26   December 29, 2017).
             18 See Scott Neuman & Alison Kodjak, Drugmakers Spend Millions Promoting Opioids To
        27   Patient Groups, Senate Report Says, NPR.org (Feb. 13, 2018), available at
             https://www.npr. org/sections/thetwo-way/2018/02/ 13 /5 85290752/drugmakers-spent-inil lions-
        28   promoting-opioids-to-patient-gioups-senate-report-saXs (last accessed February 23, 2018).
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         1 I described in this report may have played a significant role in creating the necessary conditions

         2   for the U.S. opioids epidemic."

         3            148.   The Manufacturer Defendants utilized third-party, unbranded advertising to

         4   market opioids to avoid regulatory scrutiny because such advertising is not submitted to and

         5   typically is not reviewed by the FDA. The Manufacturer Defendants also used third-party,

         6   unbranded advertising to give the false appearance that the deceptive messages came from an

         7   independent and therefor objective source. Like tobacco companies did before them, the

         8   Manufacturer Defendants used third parties that they funded, directed, and controlled to carry

         9   out and conceal their scheme to deceive doctors and patients about the risks and benefits of long-

        10   term opioid use for chronic pain.

        11            149.   The Manufacturer Defendants' deceptive, third-party, unbranded advertising

        12   often contradicted what they said in their branded materials reviewed by the FDA. For example,

        13   Endo's unbranded advertising stated that "People who take opioids as prescribed usually do not

        14   become addicted." This directly contradicted its concurrent, branded advertising for Orpana ER,

        15   which warned that "use of opioid analgesic products carries the risk of addiction even under

        16   appropriate medical use."

        17            150.   In addition to using third parties to disguise the source of their misinformation

        18   campaign, the Manufacturer Defendants also retained the services of a small group of

        19   physicians—known as "key opinion leaders" or "KOLs"—to convince both doctors and patients

        20   that opioid use to treat chronic pain carried a low, or no, risk of addiction. On information and

        21   belief, the Manufacturer Defendants' KOLS were selected, funded, and elevated by the

        22   Manufacturer Defendants because their public positions supported the use of opioids to treat

        23   chronic pain.

        24            151.   Manufacturer Defendants paid these KOLs to serve as consultants or on their

        25   advisory boards and to give talks or present continuing medical education programs (CMEs), and

        26   their support helped these KOLs becolne respected industry experts. As they rose to prominence,

        27   these KOLs touted the benefits of opioids to treat chronic pain without significant risk of

        28   addiction, repaying Defendants by advancing their marketing goals. These KOLs' professional
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                  reputations became dependent on continuing to promote a pro-opioid message.

             ~a            152.   Pro-opioid doctors like the KOLs are one of the most important avenues that the

                  Manufacturer Defendants use to spread their false and misleading statements about the risks and

             4    benefits of long-tenn opioid use. The Manufacturer Defendants know that doctors rely heavily

             5    and more uncritically on their peers for guidance, and KOLs provide the false appearance of

             6    unbiased and reliable support for treatment of chronic pain through chronic opioid therapy

             7    without significant risk of addiction.

                           153.   For example, the New York Attorney General ("NY AG") found in its settlement

             we   with Purdue that through March 2015, the Purdue website In the Face of Pain failed to disclose

            10    that doctors who provided testimonials on the site were paid by Purdue,19 and concluded that
 ~
            11    Purdue's failure to disclose these financial connections potentially misled consumers regarding
 a3
 Z~         12    the objectivity of the testimonials.
 ~Na
 P-j U) W   13             154.   The Manufacturer Defendants' KOLs have written, consulted on, edited, and lent

   0        14    their names to books and articles, and given speeches and CMEs supportive of chronic opioid
   H
 aa~        15    therapy while minimizing risks of addiction. Manufacturer Defendants also created opportunities
 O
 P4         16    for their KOLs to participate in research studies Manufacturer Defendants suggested or chose

            17    and then cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants

            18    did not support, acknowledge, or disseminate publications of doctors unsupportive or critical of

            19    chronic opioid therapy that acknowledged risks of addiction.

            20             155.   The Manufacturer Defendants' KOLs also served on committees that developed

            21    treatment guidelines that strongly encourage the use of opioids to treat chronic pain and on the

            22    boards of pro-opioid advocacy groups and professional societies that develop, select, and present

            23    CMEs. These guidelines and CMEs were not supported by the scientific evidence at the time

            24    they were created, and they are not supported by the scientific evidence today. Defendants were

            25

            26    19 See New York State Office of the Attorney General, A.G. Schneiderman Announces Settlement
                  with Purdue Pharma That Ensures Responsible and Transparent Marketing Of Prescription
            27    Opioid Drugs By The Manufacturer (August 20, 2015), available at https://ag.ny_gov/press-
            28    transparent (last accessed December 20, 2017).
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         1   able to direct and exert control over each of these activities through their KOLs. Notably, the

         2   2016 CDC Guideline recognizes that treatment guidelines can "change prescribing practices."

         3            156.   Pro-opioid KOLs have admitted to making false claims about the effectiveness of

         4   opioids. For example, Dr. Russell Portenoy received research support, consulting fees, and other

         5   coinpensation from Teva, Endo, Janssen, and Purdue, among others. Dr. Portenoy subsequently

         6   admitted that he "gave innumerable lectures ... about addictions that weren't true." His lectures

         7   as a pro-opioid KOL falsely claimed that fewer than 1 percent of patients would become

         8   addicted to opioids, but Dr. Portenoy later admitted that the primary goal was to "destigmatize"

         9   opioid. Dr. Portenoy conceded that "[d]ata about the effectiveness of opioids does not exist."

        10   According to Dr. Portenoy, "Did I teach about pain management, specifically about opioid

        11   therapy, in a way that reflects misinformation? Well, ... I guess I did." Dr. Portenoy admitted

        12   that "[i]t was clearly the wrong thing to do."20

        13            157.   Dr. Portenoy also made frequent media appearances promoting opioids and

        14   spreading misrepresentation, such as his claim "the likelihood that the treatment of pain using an

        15   opioid drug which is prescribed by a doctor will lead to addiction is extremely low." He even

        16   appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

        17   chronic pain. On this widely-watched program broadcast across the country, Dr. Portenoy

        18   claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

        19   histoiy, a personal histoiy, of substance abuse, and does not have a history in the family of

        20   substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

        21   assured that the person is not going to become addicted."21

        22            158.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

        23   of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

        24   Webster was President of the American Academy of Pain Medicine ("AAPM") in 2013. (He also

        25

        26   20 Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J. (Dec.
             17, 2012), available at
        27   https://www.wsj.com/articles/SB10001424127887324478304578173342657044604 (last
             accessed December 20, 2017).
        28   zl Good Morning America (ABC television broadcast Aug. 30, 2010).
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         1   is a Senior Editor of Pain Medicine, which is the same journal that published the Endo special

         2   advertising supplements touting Opana ER.) Dr. Webster was the author of numerous CMEs

         3   sponsored by Teva, Endo and Purdue, which advocated the use of chronic opioid therapy. At the

         4   same time, Dr. Webster was receiving significant funding from the Manufacturer Defendants,

         5 I including nearly $2 million from Teva.

         6            159. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, which is a

         7   five-question, one-minute screening tool relying on patient self-reports that purportedly allows

         8   doctors to manage the risk that their patients will become addicted to or abuse opioids. The

         9   claimed ability to pre-sort patients likely to become addicted is an important tool in giving

        10   doctors confidence to prescribe opioids long-term, and, for this reason, references to screening

        11   appear in various industry supported guidelines. Versions of Dr. Webster's Opioid Risk Tool

        12   appear on, or are linked to, websites run by Endo, Janssen and Purdue. Unaware of the flawed

        13   science and industry bias underlying this tool, certain states and public entities have incorporated

        14   the Opioid Risk Tool into their own guidelines, indicating their reliance on the Manufacturer

        15   Defendants and those under their influence and control.

        16            160.   In 2011, Dr. Webster presented a webinar program sponsored by Purdue entitled

        17   "Managing Patient's Opioid Use: Balancing the Need and the Risk." Dr. Webster recommended

        18   use of risk screening tools, urine testing, and patient agreements as a way to prevent "overuse of

        19   prescriptions" and "overdose deaths." This webinar was available to and was intended to reach

        20   doctors in Plaintiffs' communities and doctors treating their residents.22

        21            161.   Dr. Webster also was a leading proponent of the concept of "pseudoaddiction,"

        22   which is the notion that addictive behaviors should be seen as indications of undertreated pain

        23   and not a warning. In Dr. Webster's description, the only way to differentiate the two was to

        24   increase a patient' dose of opioids. As he and co-author Beth Dove wrote in their 2007 book

        25   Avoiding Opioid Abuse While Managing Pain—a book that remains available online—when

        26
             22 See Emerging Solutions in Pain, Managing Patient's Opioid Use: Balancing the Need and the
        27   Risk, available at http://www.emer g_n6solutionsinpain.com/ce-
                                                 i
             education/obioidmanaL-einent?ot)tion=com continued&view=frontmatter&Itemid=303&course=2
        28   09 (last visited Aug. 22, 2017).
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         1   faced with signs of aberrant behavior, increasing the dose "in most cases ... should be the

         2   clinician's first response."23 Upon information and belief, Endo distributed this book to doctors.

         3   Years later, Dr. Webster reversed himself, acknowledging that "[pseudoaddiction] obviously

         4   became too much of an excuse to give patients more medication."24

         5             162. On information and belief, the Manufacturer Defendants also entered into

         6   arrangements with seemingly unbiased and independent patient and professional organizations to

         7   promote opioids for the treatment of chronic pain. Under the direction and control of the

         8   Manufacturer Defendants, these "Front Groups"—which include, but are not limited to, the

         9   American Pain Foundation ("APF")25 and the American Academy of Pain Medicine—generated

        10   treatment guidelines, unbranded materials, and programs that favored chronic opioid therapy.

        11   The evidence did not support these guidelines, materials, and programs at the time they were

        12    created, and the scientific evidence does not support them today. Indeed, they stand in marked

        13    contrast to the 2016 CDC Guideline.

        14             163.   The Manufacturer Defendants worked together through Front Groups to spread

        15   their deceptive messages about the risks and benefits of long-term opioid therapy. Indeed, the

        16    Manufacturer Defendants spent millions on the Front Groups to generate false opioid-friendly

        17    messaging.26 The amount of industry funding, and its sources, is obscured by a lack of

        18    transparency on behalf of both the opioid industry and the Front Groups.

        19             164.   On information and belief, these Front Groups also assisted the Manufacturer

        20    Defendants by responding to negative articles, advocating against regulatory or legislative

        21    changes that would limit opioid prescribing in accordance with the scientific evidence, and

        22    conducting outreach to vulnerable patient populations targeted by the Manufacturer Defendants.

        23             165.   These Front Groups depended on the Manufacturer Defendants for funding and,

        24 I in some cases, for their very survival. On information and belief, the Manufacturer Defendants
        25

        26   23 Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
             24 John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, (Feb. 18,
        27   2012).
             25 Dr. Portenoy was a member of the board of the APF.
        28   26 S'ee Neuman & Kodjack, supra note 18.
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             1   exercised control over programs and lnaterials created by these groups by collaborating on,

             2   editing, and approving their content, and by funding their dissemination. In doing so, the

             3   Manufacturer Defendants made sure that the Front Groups would only generate messages the

             4   Manufacturer Defendants wanted to distribute. Despite this, the Front Groups held themselves

             5   out as independent experts serving the needs of their members, whether patients suffering from

             6   pain or doctors treating those patients.

             7            166.   In particular, Teva, Endo, Janssen, and Purdue utilized many Front Groups,

             8   including many of the same ones. Several of the most prominent Front Groups are described in

             9   greater detail below, but there are many others, including the American Pain Society, American

            10   Geriatrics Society, the Federation of State Medical Boards, American Chronic Pain Association,
 ~
            11   the Center for Practical Bioethics, the U.S. Pain Foundation, and the Pain & Policy Studies
 z~j        12   Group. 27
 ~]Qo
 P-4 cn ¢   13            167.   Organizations, including the U.S. Senate Finance Committee, began to investigate
 ~WW


   0        14   the American Pain Foundation ("APF") in 2012 to determine the links, financial and otherwise,
   H
 ~ H
            15   between APF and the opioid industry.28 The investigation revealed that APF received 90 percent
 O~
 P4         16   of its funding from the drug and medical-device industry, and "its guides for patients, journalists

            17   and policymakers had played down the risks associated with opioid painkillers while

            18   exaggerating the benefits from the drugs." Within days, APF dissolved "due to irreparable

            19   economic circumstances."

            20            168.   Another one of the Front Groups for the Manufacturer Defendants was the

            21   American Academy of Pain Medicine ("AAPM"). With the assistance, prompting, involvement,

            22   and funding of the Manufacturer Defendants, the AAPM issued purported treatment guidelines

            23   and sponsored and hosted medical education programs essential to the Manufacturer Defendants'

            24
            25   27 See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas
                 E. Price, U.S. Dep't of Health and Human Servs., (May 5, 2015).
            26   28 Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies Ties to Pain
                 Groups, Wash. Post (May 8, 2012), available at
            27                                                                          1-111V GJ1.1j'
                                                                                                    -.Q.I.GJ-U1 Ur,-
                                                                                        (last accessed December
            28   19, 2017).
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         1   deceptive marketing of chronic opioid therapy.

         2                169. AAPM received substantial funding from opioid manufacturers. For example,

         3   AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

         4   of other funding) to participate. The benefits included allowing members to present educational

         5   programs at off-site dinner symposia in connection with AAPM's marquee event its annual

         6   meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

         7   event as an "exclusive venue" for offering education programs to doctors. Membership in the

         8   corporate relations council also allows drug company executives and marketing staff to meet

         9   with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

        10   Teva were members of the council and presented deceptive programs to doctors who attended

        11   these annual events.

        12                170.   On information and belief, AAPM is viewed internally by Endo as "industry

        13   friendly," with Endo advisors and speakers among its active members. Endo attended AAPM

        14   conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

        15   AAPM heavily emphasized sessions on opioids-37 out of roughly 40 at one conference alone.

        16   AAPM's presidents have included top industry-supported KOLs like Lynn Webster and Perry

        17   Fine of the University of Utah. Dr. Webster was even elected as AAPM's president while under

        18   DEA investigation.

        19            171.       The Manufacturer Defendants were able to influence AAPM through both their

        20   significant and regular funding and the leadership of pro-opioid KOLs within the organization.

        21            172.       In 1996, AAPM and APS jointly issued a consensus statement entitled "The Use

        22   of Opioids for the Treatment of Chronic Pain," which endorsed opioids to treat chronic pain

        23   while claiming that the risk of a patient's addiction to opioids was low. Dr. Haddox, who co-

        24   authored the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was

        25   the sole consultant. The consensus statement remained on AAPM's website unti12011, and upon

        26   information and belief, was taken down from AAPM's website only after a doctor complained.29

        27
             29 The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
        28   American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6
             61577634.1                                       -42-
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                       173. AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

         2    and continued to recommend the use of opioids to treat chronic pain while minimizing the risk of

              addiction.30 Treatment guidelines like these have been relied upon by doctors, especially the

         rd   general practitioners and family doctors targeted by the Manufacturer Defendants, to prescribe

              opioids to treat chronic pain. Treatment guidelines not only directly inform doctors' prescribing

         6    practices, but they also are cited throughout the scientific literature and referenced by third-party

         7    payors in detennining whether they should cover treatments for specific indications.

         8    Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed

         9    treatment guidelines with doctors during individual sales visits.

        10             174. At least 14 of the 21 panel members who drafted the AAPM/APS Guidelines,

        11    including KOLs Dr. Portenoy and Dr. Perry Fine, received support from Janssen, Teva, Endo,

        12    and Purdue. The 2009 AAPM/APS Guidelines promote opioids as "safe and effective" for

        13    treating chronic pain, despite acknowledging limited evidence, and conclude that the risk of

        14    addiction is manageable for patients regardless of past abuse histories.31 One panel member, Dr.

        15    Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

        16    Michigan Headache & Neurological Institute, resigned from the panel because of his concerns

        17    that the 2009 AAPM/APS Guidelines were influenced by contributions from drug companies,

        18    including Manufacturer Defendants, to the sponsoring organizations and committee members.

        19    The 2009 AAPM/APS Guidelines have been a particularly effective channel of deception and

        20    have influenced not only treating physicians, but also the body of scientific evidence on opioids.

        21    The 2009 AAPM/APS Guidelines have been cited hundreds of times in academic literature, were

        22    disseminated in Plaintiffs' communities during the relevant time period, are still available online,

        23    and were often reprinted in the Journal of Pain, which is the official journal of the American Pain

        24    Society. The Manufacturer Defendants widely referenced and promoted the 2009 AAPM/APS

        25    Guidelines without disclosing the lack of evidence to support their conclusions or the

        26
              Q997).
        27       Roger Chou et al., Clinical Guidelines foN the Use of Chronic Opioid Therapy in Chronic Non-
              Cancer Pain, 10 J. Pain 113 (2009).
        28    31
                 Id
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         1    Manufacturer Defendants' financial support to members of the panel.

         2                175. On information and belief, the Manufacturer Defendants combined their efforts

         3    through the Pain Care Forum ("PCF"), which began in 2004 as an APF project. PCF is

         4    comprised of representatives from opioid manufacturers (including Endo, Janssen, and Purdue)

         5    and various Front Groups, almost all of which received substantial funding from the

         6    Manufacturer Defendants. Among other projects, PCF worked to ensure that an FDA-mandated

         7    education project on opioids was not unacceptably negative and did not require mandatory

         8    participation by prescribers. PCF also worked to address a lack of coordination among its

         9   members and develop cohesive industry messaging.

        10            176.      On information and belief, through Front Groups and KOLs, the Manufacturer

        11   Defendants wrote or influenced prescribing guidelines that reflected the messaging the

        12   Manufacturer Defendants wanted to promote rather than scientific evidence regarding dangers of

        13   addiction.

        14            177.      Through these means, and likely others still concealed, the Manufacturer

        15 I Defendants collaborated to spread deceptive messages about the risks and benefits of long-term

        16   opioid use.

        17            C.        The Manufacturer Defendants' Statements about the Safety of Opioids Were
                                Patently False
        18

        19            178.      To convince doctors and patients that opioids carry a low risk of addiction,
        20   Manufacturer Defendants deceptively trivialized and failed to disclose the risks of long-term
        21   opioid use, particularly the risk of addiction, through a series of misrepresentations that the FDA
        22   and CDC conclusively debunked.
        23            179.      These misrepresentations reinforced each other and created the dangerously
        24   misleading impressions, among others, that: (a) starting patients on opioids was low-risk because
        25   most patients would not become addicted, and because those who were at greatest risk of
        26   addiction could be readily identified and Inanaged; (b) patients who displayed signs of addiction
        27   probably were not addicted and, in any event, could easily be weaned from the drugs; (c) the use
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         1   of higher opioid doses, which lnany patients need to sustain pain relief as they develop tolerance

         2   to the drugs, do not pose special risks; and (d) abuse-deterrent opioids both prevent abuse and

         3   overdose and are inherently less addictive.

         4            180. Some examples of these false and misleading claims that were made by, are

         5 I continuing to be made by, and/or have not been corrected by Manufacturing Defendants,

         6 I rrlclude:

         7                   a.       Actavis Pharma, Inc.'s predecessor caused a patient education brochure,

         8            Managing Chronic Back Pain, to be distributed beginning in 2003 that admitted that

         9            opioid addiction is possible, but falsely claimed that it is "less likely if you have never

        10            had an addiction problem." Based on Actavis's acquisition of its predecessor's marketing

        11            materials along with the rights to Kadian, it appears that Actavis continued to use this

        12            brochure in 2009 and beyond.

        13                   b.       Teva and Purdue sponsored APF's Treatment Options: A Guide for

        14            People Living with Pain (2007), which suggests that addiction is rare and limited to

        15            extreme cases of unauthorized dose escalations, obtaining duplicative prescriptions, or

        16            theft. This publication remains available today. 32

        17                   C.       Endo sponsored a website, "PainKnowledge," which, upon information

        18            and belief, claimed in 2009 that "[p]eople who take opioids as prescribed usually do not

        19            become addicted." Upon information and belief, another Endo website, PainAction.com,

        20            stated "Did you know? Most chronic pain patients do not become addicted to the opioid

        21            medications that are prescribed for them." Endo also distributed an "Informed Consent"

        22            document on PainAction.com that misleadingly suggested that only people who "have

        23            problems with substance abuse and addiction" are likely to become addicted to opioid

        24            medications.

        25                   d.      ' Upon information and belief, Endo and Teva distributed a pamphlet with

        26            the Endo logo entitled Living with Someone with Chronic Pain, which stated that "[m]ost

        27
             32 Available at https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
        28   accessed December 19, 2017).
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         1            health care providers who treat people with pain agree that most people do not develop

         2            an addiction problem." A similar statement appeared on the Endo website

         3            www.opana.com.

         4                     e.     Janssen reviewed, edited, approved, and distributed a patient education

         5            guide entitled Finding Relief: Pain Management for Older Adults (2009), which

         6            described as "myth" the claim that opioids are addictive, and asserted as fact that

         7            "[m]any studies show that opioids are rarely addictive when used properly for the

         8            management of chronic pain." This guide is still available online.

         9                     f.     Janssen currently runs a website, Prescriberesponsibly.com (last updated

        10            July 2, 2015), which claims that concerns about opioid addiction are "overestimated."33

        11                     g.     Purdue sponsored APF's A Policymaker's Guide to Understanding Pain

        12            & Its Management — which claims that less than 1% of children prescribed opioids will

        13            become addicted and that pain is undertreated due to "misconceptions about opioid

        14            addiction[]." This publication is still available online.34

        15                     h.    Purdue created a website, In The Face of Pain, that promoted pain

        16            treatment by urging patients to "overcome" their "concerns about addiction."

        17            Testimonials on the website that were presented as personal stories were in fact by

        18            Purdue consultants, whom Purdue had paid tens of thousands of dollars to promote its

        19            drugs.

        20                     i.    Purdue distributed a pamphlet for doctors, Providing Relief, Preventing

        21            Abuse: A Reference Guide To Controlled Substance Prescribing Practices, which

        22            advised that addiction "is not caused by drugs." Instead, Purdue assured doctors that

        23            addiction happens when the wrong patients get drugs and abuse them: "it is triggered in a

        24            susceptible individual by exposure to drugs, most commonly through abuse."

        25                     j.    Another Purdue publication, Resource Guide for People with Pain, falsely

        26
             33 Available at, http://www.prescriberesponsibly.com/articles/opioid-pain-mana gement (last
        27   accessed December 19, 2017).
             34 Available at, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last
        28   accessed December 20, 2017).
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                        assured patients and doctors that opioid medications are not addictive: "Many people

         f►a            living with pain and even some healthcare providers believe that opioid medications are

         3              addictive. The truth is that when properly prescribed by a healthcare professional and

         4              taken as directed, these medications give relief — not a`high. "' Purdue falsely denied the

                        risk of addiction, falsely implied that addiction requires patients to get "high," and falsely

                        promised that patients would not become addicted if they took opioids as prescribed.

                               k.      Detailers for the Manufacturer Defendants in California have minimized

                        or omitted and continue to minimize or omit any discussion with doctors or their medical

                        staff in California, including in Plaintiffs' communities, about the risk of addiction;

        10              misrepresented the potential for abuse of opioids with purportedly abuse-deterrent

        11              formulations; and routinely did not correct the misrepresentations noted above.

        12              181.   As another example, Purdue funded a book to target veterans, Exit Wounds,

        13     which was packaged as the story of a wounded veteran but was really part of Purdue's deceptive

        14     marketing campaign. The book repeated Purdue's lie that patients would not become addicted to

        15     opioids:

        16                     The pain-relieving properties of opioids are unsurpassed; they are
                               today considered the `gold standard' of pain medications, and so
        17
                               are often the main medications used in the treatment of chronic
        18                     pain. Yet, despite their great benefits, opioids are underused. For a
                               number of reasons, healthcare providers may be afraid to
        19                     prescribe them, and patients may be afraid to take them. At the
                               core of this wariness is the fear of addiction, so I want to tackle
        20                     this issue head-on ... Long experience with opioids shows that
                               people who are not predisposed to addiction are unlikely to
        21
                               become addicted to opioid pain medications.
        22
                        182.    The Manufacturer Defendants engaged in this campaign of misinformation in an
        23
               intentional effort to deceive doctors and patients and thereby increase the use of their opioid
        24
               products.
        25
                        183.    The Manufacturer Defendants' inisrepresentations have been conclusively
        26
               debunked by the FDA and CDC, and are contrary to longstanding scientific evidence.
        27
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                      184.   As noted in the 2016 CDC Guideline35 endorsed by the FDA, there is "extensive

         2   evidence" of the "possible harms of opioids (including opioid use disorder [an alternative term

         3   for opioid addiction])." The Guideline points out that "[o]pioid pain medication use presents

         4   serious risks, including ... opioid use disorder" and that "continuing opioid therapy for three (3)

             months substantially increases risk for opioid use disorder."

                      185.   The FDA further exposed the falsity of Defendants' claims about the low risk of

             addiction when it announced changes to the labels for extended-release/long-acting opioids in

             2013 and for immediate-release opioids in 2016. In its announcements, the FDA found that

             "most opioid drugs have `high potential for abuse"' and that opioids "are associated with a

        10   substantial f•isk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

        11   overdose, and death." (Emphasis added.)36 According to the FDA, because of the "known

        12   serious risks" associated with long-term opioid use, including "risks of addiction, abuse, and

        13   misuse, even at recommended doses, and because of the greater risks of overdose and death,"

        14   opioids should be used only "in patients for whom alternative treatment options" like non-opioid

        15   drugs have failed. (Emphasis added.) The FDA further acknowledged that the risk is not limited

        16   to patients who seek drugs illicitly; addiction "can occur in patients appropriately prescribed

        17   [opioids]."

        18            186.   The Manufacturer Defendants have been and are aware that their

        19   misrepresentations about opioids are false.

        20            187.   In a 2016 settlement agreement with Endo, the NY AG found that opioid "use

        21
             3s Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United
        22   States, 2016, Morbidity & Mortality Wkly Rep. (Mar. 18, 2016) [hereinafter 2016 CDC
             Guideline], available at https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm (last accessed
        23   December 20, 2017).
             36 Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food &
        24   Drug Admin., U.S. Dep't of Health and Human Servs., to Andrew Koldny, M.d., President,
             Physicians for Responsible Opioid Prescribing (Sept. 10, 2013), available at
        25
             0793&attachmentNumber=l&contentTXpe=pdf (last accessed December 19, 2017); Letter from
        26   Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food & Drug Admin.,
             U.S. Dep't of Health and Human Servs., to Peter R. Mathers & Jennifer A. Davidson, Kleinfeld,
        27   Kaplan & Becker, LLP (Mar. 22, 2016), available at
             https://www.regulations. gov/contentStreamer?documentld=FDA-2014-P-0205-
        28   0006&attachmentNumbet-    -l&contentType=pdf (last accessed December 19, 2017).
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         1   disorders appear to be highly prevalent in chronic pain patients treated with opioids, with up to

         2   40% of chronic pain patients treated in specialty and primary care outpatient centers meeting the

         3   clinical criteria for an opioid use disorder."37 While Endo claimed until at least Apri12012 on its

         4   www.opana.com website that "[m]ost healthcare providers who treat patients with pain agree

         5   that patients treated with prolonged opioid medicines usually do not become addicted," the NY

         6   AG found that Endo had no evidence for that statement. Consistent with this finding, Endo

         7   agreed not to "make statements that ... opioids generally are non-addictive" or "that most

         8   patients who take opioids do not become addicted" in New York. This prohibition did not extend

         9   to California.

        10            188. The Manufacturer Defendants falsely instructed doctors and patients that the signs

        11   of addiction are actually signs of undertreated pain and should be treated by prescribing more

        12   opioids. The Manufacturer Defendants called this phenomenon "pseudoaddiction"—a term

        13   coined by Dr. David Haddox, who went to work for Purdue, and popularized by Drs. Portenoy

        14   and Webster—and falsely claimed that pseudoaddiction is substantiated by scientific evidence.

        15   Some illustrative examples of these deceptive claims that were made by, and are continuing to be

        16   made by Defendants are described below:

        17                    a.     Teva, Endo, and Purdue sponsored Responsible Opioid Prescribing

        18            (2007), which taught that behaviors such as "requesting di-ugs by name," "demanding or

        19            manipulative behavior," seeing more than one doctor to obtain opioids, and hoarding, are

        20            all signs of pseudoaddiction, rather than true addiction. Responsible Opioid Prescribing

        21            remains for sale online.38

        22                    b.     On information and belief, Janssen sponsored, funded, and edited the Let's

        23            TalkPain website, which in 2009 stated: "pseudoaddiction ... refers to patient behaviors

        24            that may occur when pain is under-treated . ... Pseudoaddiction is different from true

        25

        26   37 Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc.
             (Assurance No. 15-228), at 13, available at https://ag.ny.gov/pdfs/Endo_AOD_030116-
        27   Fully Executed.pdf (last accessed December 19, 2017).
             " See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician's Guide (2d ed.
        28   2012).
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         1            addiction because such behaviors can be resolved with effective pain management."

         2                   C.      Endo sponsored a National Initiative on Pain Control ("NIPC") CME

         3            program in 2009 entitled "Chronic Opioid Therapy: Understanding Risk While

         4            Maximizing Analgesia," which, upon information and belief, promoted pseudoaddiction

         5            by teaching that a patient's aberrant behavior was the result of untreated pain. Endo

         6            appears to have substantially controlled NIPC by funding NIPC projects; developing,

         7            specifying, and reviewing content; and distributing NIPC materials.

         8                   d.      Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing

         9            Abuse, which, upon information and belief, described pseudoaddiction as a concept that

        10            "emerged in the literature" to describe the inaccurate interpretation of [drug- seeking

        11            behaviors] in patients who have pain that has not been effectively treated."

        12                    e.     Upon information and belief, Purdue sponsored a CME program.titled

        13            "Path of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse" in

        14            2011. In a role play, a chronic pain patient with a history of drug abuse tells his doctor

        15            that he is taking twice as many hydrocodone pills as directed. The narrator notes that

        16            because of pseudoaddiction, the doctor should not assume the patient is addicted even if

        17            he persistently asks for a specific drug, seems desperate, hoards medicine, or

        18            "overindulges in unapproved escalating doses." The doctor treats this patient by

        19            prescribing a high-dose, long acting opioid.

        20                    f.     Details for Purdue have directed doctors and their medical staffs in

        21            California, including in Plaintiffs' communities, to PartnersAgainstPain.com, which

        22            contained false and misleading materials describing pseudoaddiction.

        23                    g.     Purdue and Teva sponsored APF's Treatment Options: A Guide for

        24            People Living with Pain (2007), which states: "Pseudo-addiction describes patient

        25            behaviors that may occur when pain is undertreated ... Pseudo-addiction can be

        26            distinguished from true addiction in that this behavior ceases when pain is effectively

        27            treated."

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         1                    1. Deceptive Claims of Pseudoaddiction

         2             189. The concept of pseudoaddiction is fictional. The 2016 CDC Guideline rejects

         3 I pseudoaddiction and does not recommend that opioid dosages be increased if a patient is not

         4    experiencing pain relief. Instead, the Guideline explains that "[p]atients who do not experience

         5    clinically meaningful pain relief early in treatment ... are unlikely to experience pain relief with

         6    longer-term use," and that physicians should "reassess[] pain and function within 1 month" in

         7    order to decide whether to "minimize risks of long-term opioid use by discontinuing opioids"

         8    because the patient is "not receiving a clear benefit."

         9             190.   In connection with its 2016 settlement with the NY AG, Endo was forced to

        10    admit that the concept of pseudoaddiction was a sham. Indeed, the NY AG found that "[t]he

        11    pseudoaddiction concept has never been empirically validated and in fact has been abandoned by

        12    some of its proponents" and reported that despite the fact that Endo trained its sales

        13    representative to use the concept of pseudoaddiction, "Endo's Vice President for

        14    Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any

        15    research validating the `pseudoaddiction' concept" and acknowledged the difficulty in

        16    distinguishing "between addiction and `pseudoaddiction."'39 Consistent with the NY AG's

        17    conclusions, Endo agreed not to "use the term `pseudoaddiction' in any training or marketing" in

        18    New York. Endo made no such agreement with respect to California.

        19             191.   The Manufacturer Defendants also falsely instructed doctors and patients that

        20    addiction risk screening tools, patient contracts, urine drug screens, and similar strategies allow

        21    them to reliably identify and safely prescribe opioids to patients predisposed to addiction. These

        22    misrepresentations were especially insidious because the Manufacturer Defendants aimed them

        23    at general practitioners and family doctors who lack the tiine and expertise to closely manage

        24    higher-risk patients on opioids. The Manufacturer Defendants' misrepresentations made these

        25    doctors feel more comfortable prescribing opioids to their patients, and patients more

        26    comfortable starting on opioid therapy for chronic pain. Some illustrative examples of these

        27
        28 II 39 See supra note 37, at 7.

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         1   deceptive claims that were made by, and are continuing to be made by Defendants after March

         2   21, 2011, are described below:

         3                    a.      On information and belief, Endo paid for a 2007 supplement in the

         4            Journal of Family Practice written by a doctor who became a member of Endo's

         5            speakers bureau in 2010. The suppleinent, entitled Pain Management Dilemmas in

         6            Primary Care: Use of Opioids, emphasized the effectiveness of screening tools, claiming

         7            that patients at high risk of addiction could safely receive chronic opioid therapy using a

         8            "maximally structured approach" involving toxicology screens and pill counts.

         9                    b.     On information and belief, Purdue sponsored a November 2011 webinar,

        10            Managing Patient's Opioid Use: Balancing the Need and Risk, which claimed that

        11            screening tools, urine tests, and patient agreements prevent "overuse of prescriptions"

        12            and "overdose deaths."

        13                    C.     On information and belief, as recently as 2015, Purdue has represented in

        14            scientific conferences that "bad apple" patients — and not opioids — are the source of the

        15            addiction crisis and that once those "bad apples" are identified, doctors can safely

        16            prescribe opioids without causing addiction.

        17                   d.      On information and belief, detailers for the Manufacturer Defendants have

        18            touted and continue to tout to doctors in California, including within Plaintiffs' borders,

        19            the reliability and effectiveness of screening or monitoring patients as a tool for

        20            managing opioid abuse and addiction.

        21                   e.      A Purdue presentation for doctors titled Medication Therapy Management

        22            recited what had been the consensus view for decades: "Many medical students are

        23            taught that if opioids are prescribed in high doses or for a prolonged time, the patient will

        24            become an addict." Purdue then assured doctors that this traditional concern about

        25            addiction was wrong — that patients instead suffer from "pseudoaddiction" because

        26            "opioids are frequently prescribed in doses that are inadequate."

        27                   f.      A Purdue pamphlet titled Clinical Issues in Opioid PrescNibing urged

        28            doctors to look for pseudoaddiction: "A term which has been used to describe patient
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         1            behaviors that may occur when pain is undertreated. Patients with unrelieved pain may

         2            become focused on obtaining medications, may `clock watch," and may otherwise seem

         3            inappropriately "drug-seeking.' Even such behaviors as illicit drug use and deception can

         4            occur in the patient's efforts to obtain relief. Pseudoaddiction can be distinguished from

         5            true addiction in that the behaviors resolve wlien the pain is effectively treated."

         6            192.    Once again, the 2016 CDC Guideline confirms that these types of statements

         7   were false, misleading, and unsupported at the time they were made by the Manufacturer

         8   Defendants. The 2016 CDC Guideline notes that there are no studies assessing the effectiveness

         9   of risk mitigation strategies—such as screening tools, patient contracts, urine drug testing, or pill

        10   counts widely believed by doctors to detect and deter abuse—"for improving outcomes related to

        11   overdose, addiction, abuse, or misuse." As a result, the 2016 CDC Guideline recognizes that

        12   available risk screening tools "show insufficient accuracy for classification of patients as at low

        13   or high risk for [opioid] abuse or misuse" and counsels that doctors "should not overestimate the

        14   ability of these tools to rule out risks from long-term opioid therapy." (Emphasis added.)

        15            193.   To underplay the risk and impact of addiction and make doctors feel more

        16   comfortable starting patients on opioids, the Manufacturer Defendants falsely claimed that

        17   opioid dependence can easily be addressed by tapering and that opioid withdrawal is not a

        18   problem, and failed to disclose the increased difficulty of stopping opioids after long-term use.

        19            194.   For example, on information and belief, a 2011 non-credit educational program

        20   sponsored by Endo, entitled Persistent Pain in the Older Adult, claimed that withdrawal

        21   symptoms can be avoided by tapering a patient's opioid dose by 10%-20% for 10 days.

        22            195.   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its

        23   Management, which claimed that "[s]ymptoms of physical dependence can often be ameliorated

        24   by gradually decreasing the dose of inedication during discontinuation" without mentioning any

        25   hardships that inight occur.40 This publication was available on APF's website until the

        26   organization dissolved in May 2012.

        27
             40 Available at, http://s3.documentcloud.org/documents/277603/apf-policymakers- guide.pdf (last
        28   accessed December 19, 2017).
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         1            196.   Detailers for Janssen have told and continue to tell doctors in California,

         2   including in Plaintiffs' communities, that their patients would not experience withdrawal if they

         3   stopped using opioids.

         4                   2. Deceptive Minimization of Opioid Withdrawal
         5            197.   The Manufacturer Defendants also deceptively minimized the significant

         6   symptoms of opioid withdrawal—described in the 2016 CDC Guideline as including drug

         7   craving, anxiety, insomnia, abdominal pain, vomiting, diarrhea, tremor, and rapid heartbeat

         8   and grossly understated the difficulty of tapering, particularly after long-term opioid use.

         9            198.   Contrary to the Manufacturer Defendants' representations, the 2016 CDC

        10   Guideline recognizes that the duration of opioid use and the dosage of opioids prescribed should

        11   be "limit[ed]" to "minimize the need to taper opioids to prevent distressing or unpleasant

        12   withdrawal symptoms," because "physical dependence on opioids is an expected physiologic

        13   response in patients exposed to opioids for more than a few days." (Emphasis added.) The 2016

        14   CDC Guideline states that "more than a few days of exposure to opioids significantly increases

        15   hazards" and "each day of unnecessary opioid use increases likelihood of physical dependence

        16   without adding benefit." The 2016 CDC Guideline further states that "tapering opioids can be

        17   especially challenging after years on high dosages because of physical and psychological

        18   dependence" and highlights the difficulties, including the need to carefully identify "a taper slow

        19   enough to minimize symptoms and signs of opioid withdrawal" and to "pause[] and restart[]"

        20   tapers depending on the patient's response. The CDC also ackliowledges the lack of any "high-

        21   quality studies comparing the effectiveness of different tapering protocols for use when opioid

        22   dosage is reduced or opioids are discontinued."

        23                   3. Deceptive Claims that Opioid Dosa$!es Could Be Increased
                                without Added Risk
        24

        25            199. The Manufacturer Defendants also falsely claimed that doctors and patients could

        26   increase opioid dosages indefinitely without added risk and failed to disclose the greater risks to

        27   patients at higher dosages. The ability to escalate dosages was critical to the Manufacturer

        28   Defendants' efforts to market opioids for long-term use to treat chronic pain because, absent this
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       1   misrepresentation, doctors would have abandoned treatment when patients built up tolerance and

       2   lower dosages did not provide pain relief. Some illustrative examples of these deceptive claims

       3   that were made by, and are continuing to be lnade by Defendants, are described below:

       4                    a.        On information and belief, Actavis's predecessor created a patient

       5            brochure for Kadian in 2007 that stated, "Over time, your body may become tolerant of

       6            your current dose. You may require a dose adjustment to get the right amount of pain

       7            relief. This is not addiction." Upon information and belief, based on Actavis' acquisition

       8            of its predecessor's marketing materials along with the rights to Kadian, Actavis

       9            continued to use these materials in 2009 and beyond.

      10                    b.        Teva and Purdue sponsored APF's Treatment Options: A Guide for

      11            People Living with Pain (2007), which claims that some patients "need" a larger dose of

      12            an opioid, regardless of the dose currently prescribed. The guide stated that opioids have

      13            "no ceiling dose" and are therefore the most appropriate treatment for severe pain. This

      14            guide is still available online.41

      15                    C.        Endo sponsored a website, "PainKnowledge," which, upon information

      16            and belief, claimed in 2009 that opioid dosages may be increased until "you are on the

      17            right dose of inedication for your pain."

      18                    d.        Endo distributed a pamphlet edited by a KOL entitled Understanding Your

      19            Pain: Taking Oral Opioid Analgesics (2004 endo Pharmaceuticals PM-0120), on Endo's

      20            website. In Q&A format, it asked "If I take the opioid now, will it work later when I

      21            really need it?" The response is, "The dose can be increased... You won't `run out' of

      22            pain relief."4z

      23                    e.        Janssen, on information and belief, sponsored a patient education guide

      24            entitled Finding Relief Pain Management for Older Adults (2009), which was distributed

      25            by its sales force. This guide listed dosage limitations as "disadvantages" of other pain

      26
           41 Available at, https://assets.documentcloud.org;/documents/277605/apf-treatmentoptions.pdf
      27
           gast accessed December 19, 2017).
             Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral
      28   Opioid Analgesics (Russell K Portenoy, M.D., ed., 2004).
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       1             medicines but omitted any discussion of risks of increased opioid dosages.

       2                     f.     On information and belief, through March 2015, Purdue's In the Face of

       3             Pain website promoted the notion that if a patient's doctor does not prescribe what, in the
       4             patient's view, is a sufficient dosage of opioids, he or she should find another doctor who

       5             will.

       6                     g.     Purdue sponsored APF's A Policymaker's Guide to Understanding Pain

       7I            & Its Management, which taught that dosage escalations are "sometimes necessary,"

       8             even unlimited ones, but did not disclose the risks from high opioid dosages.43

       9                     h.     In 2007, Purdue sponsored a C1V1E entitled "Overview of Management

      10             Options" that was available for CME credit. The CME was edited by a KOL and taught

      11             that NSAIDs and other drugs, but not opioids, are unsafe at high dosages.

      12                     i.     Seeking to overturn the criminal conviction of a doctor for illegally

      13             prescribing opioids, the Front Group APF and others argued to the United States Fourth

      14             Circuit Court of Appeals that "there is no `ceiling dose"' for opioids.44

      15                     j.     Purdue presented a 2015 paper at the College on the Problems of Drug

      16             Dependence challenging the correlation between opioid dosage and overdoes.

      17                     k.     On information and belief, Purdue's detailers have told doctors in

      18             California, including within Plaintiffs' borders, that they should increase the dose of

      19             OxyContin, rather than the frequency of use, to address early failure.

      20             200. These claims conflict with the scientific evidence, as confirmed by the FDA and

      21 I CDC. As the CDC explained in its 2016 Guideline, the "[b]enefits of high-dose opioids for

      22    chronic pain are not established" while the "risks for serious harms related to opioid therapy

      23    increase at higher opioid dosage." More specifically, the CDC explained that "there is now an

      24    established body of scientific evidence showing that overdose risk is increased at higher opioid

      25    dosages." The CDC also stated that there are "increased risks for opioid use disorder, respiratory

      26
            43 Available at, http://s3.documentcloud.org/documents/277603/apf-policymakers- uide.pdf (last
      27    accessed December 19, 2017).
            44 Brief of the APF et al. in support of Appellant, United States v. Hurowitz, No. 05-4474, at 9
      28    (4th Cir. Sept. 8, 2005).
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       1   depression, and death at higher dosages." This is why the CDC advised doctors to "avoid

       2   increasing dosages" above 90 morphine milligram equivalents per day.

       3            201. The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

       4   2013, the FDA acknowledged "that the available data do suggest a relationship between

       5   increasing opioid dose and risk of certain adverse events." For example, the FDA noted that

       6   studies "appear to credibly suggest a positive association between high-dose opioid use and the

       7   risk of overdose and/or overdose mortality." In fact, a recent study found that 92% of persons

       8   who died from an opioid-related overdose were initially prescribed opioids for chronic pain.

       9            D.     Deceptive Advertising of Abuse Deterrent Opioids

      10            202.   The Manufacturer Defendants' deceptive marketing of the so-called abuse-

      11   deterrent properties of some of their opioid formulations also has created false impressions that

      12   these opioids can prevent and curb addiction and abuse. Indeed, in a 2014 survey of 1,000

      13   primary care physicians, nearly half reported that they believed abuse-deterrent formulations are

      14   inherently less addictive.

      15            203.   These abuse deterrent formulations (AD opioids) purportedly: (a) are harder to

      16   crush, chew, or grind; (b) become gelatinous when combined with a liquid, making them harder

      17   to inject; or (c) contain a counteragent such as naloxone that is activated if the tablets are

      18   tampered. Despite this, AD opioids can be defeated--often quickly and easily—by those

      19   determined to do so. The 2016 CDC Guideline states that "[n]o studies" support the notion that

      20   "abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"

      21   noting that the technologies—even when they work—do not prevent opioid abuse through oral

      22   intake, the most common route of opioid abuse, and can still be abused by non-oral routes.

      23   Moreover, they do not reduce the rate of misuse and abuse by patients who become addicted

      24   after using opioids long-term as prescribed or who escalate their use by taking more pills or

      25   higher doses. Tom Frieden, the Director of the CDC, has further reported that his staff could not

      26   find "any evidence showing the updated opioids [ADFs] actually reduce rates of addiction,

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           overdoses, or death."41

       2            204. Because of these significant limitations on AD opioids, as well as the heightened

       3   risk for misconceptions and the false belief that AD opioids can be prescribed safely, the FDA

       4   has cautioned that "[a]ny communications from the sponsor companies regarding AD properties

       5   must be truthful and not misleading (based on a product's labeling), and supported by sound

       6   science taking into consideration the totality of the data for the particular drug. Claims for AD

       7   opioid products that are false, misleading, and/or insufficiently proven do not serve the public

           health."

       9            205.   Despite this lack of evidence, the Manufacturer Defendants have made and

      10   continue to lnake misleading claims about the ability of their so-called abuse-deterrent opioid

      11   formulations to prevent or reduce abuse and addiction and the safety of these formulations.

      12            206.   For example, Endo has marketed Opana ER46 as tamper- or crush-resistant and

      13   less prone to misuse and abuse even though: (a) the FDA rejected Endo's petition to approve

      14   Orpana ER as abuse-deterrent in 2012; (b) the FDA warned in a 2013 letter that there was no

      15   evidence that Opana ER would provide a reduction in oral, intranasal or intravenous abuse; and

      16   (c) Endo's own stiidies, which it failed to disclose, showed that Opana ER could still be ground

      17   and chewed. Nonetheless, Endo's advertisements for the 2012 refonnulation of Opana ER

      18   falsely claimed that it was designed to be crush resistant, in a way that suggested it was more

      19   difficult to abuse. Since 2012, Plaintiffs are informed and believe that detailers for Endo have

      20   inforined California doctors, including doctors in Plaintiffs' communities, that Opana ER is

      21   harder to abuse and given demonstrations to nurse practitioners about Opana ER's purported

      22

      23   4s Matthew Perrone et al., Drugmakers push profitable, but unproven, opioid solution, Center for
           Public Integrity (Dec. 15, 2016), available at
      24   https://www.publicintegrity.org/2016/12/ 15/20544/drugmakers-push-profitable-unproven-opioid-
           solution (last accessed December 20, 2017).
      25   ~ cause Opana ER could be "readily prepared for injection" and was linked to outbreaks of
           HIV and a serious blood disease, in May 2017, an FDA advisory committee recommended that
      26   Opana ER be withdrawn from the market. The FDA adopted this recommendation on June 8,
           2017 and requested that Endo withdraw Opana ER from the market. Press Release, "FDA
      27   requests removal of Opana ER for risks related to abuse," June 8, 2017, available at
           https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm (last
      28   accessed December 20, 2017).
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       1   abuse deterrent properties.

       2            207. In its 2016 settlement with the NY AG, Endo agreed to no longer lnake

       3   statements in New York that Opana ER was "designed to be, or is crush resistant." The NY AG

       4   found those statements to be false and misleading because there was no difference in the ability

       5   to extract the narcotic from Opana ER. The NY AG also found that Endo failed to disclose its

       6   own knowledge of the crushability of redesigned Opana ER in its marketing to formulary

       7   committees and pharmacy benefit managers.

       8            208.   Because Orpana ER could be "readily prepared for injection" and was linked to

       9   outbreaks of HIV and a serious blood disease, an FDA advisory committee recommended that

      10   Opana ER be withdrawn from the market in May 2017. The FDA adopted this recommendation

      11   on June 8, 2017, and requested that Endo withdraw Opana ER from the market.

      12            209.   Likewise, Purdue has engaged and continues to engage in deceptive lnarketing of

      13   its AD opioids—i.e., reformulated Oxycontin and Hysingla. Before Apri12013, Purdue did not

      14   market its opioids based on their abuse deterrent properties. However, Plaintiffs are informed

      15   and believe that beginning in 2013 and continuing today, detailers from Purdue regularly uses

      16   the so-called abuse deterrent properties of Purdue's opioid products as a primary selling point to

      17   differentiate Purdue's products from its competitors. Specifically, these detailers: (a) falsely

      18   claim that Purdue's AD opioids prevent tampering and cannot be crushed or snorted; (b) falsely

      19   claim that Purdue's AD opioids prevent or reduce opioid misuse, abuse, and diversion, are less

      20   likely to yield a euphoric high, and are disfavored by opioid abusers; (c) falsely claim Purdue's

      21   AD opioids are "safer" than other opioids; and (d) fail to disclose that Purdue's AD opioids do

      22   not impact oral abuse or misuse, and that its abuse deterrent properties can be defeated.

      23            210.   These statements and omissions by Purdue are false and misleading, and conflict

      24   with or are inconsistent with the FDA-approved label for Purdue's AD opioids, which indicates

      25   that (a) abusers seek them because of their high "likability" when snorted, (b) their abuse

      26   deterrent properties can be defeated, and (c) they can be abused orally notwithstanding their

      27   abuse deterrent properties. Notably, the FDA-approved label for Purdue's AD opioids does not

      28   indicate that AD opioids prevent or reduce abuse, misuse, or diversion.
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                    211. For example, in 2014, Purdue placed three articles in The Atlantic as sponsored

       2   content, including one titled Take My Pain Away ... A Physician's Perspective of Prescription

       3   Opioids and Pain Management by Dr. Gerald Aronoff. That article calls the tamper-resistant

       4   formulations "safer alternatives" and encourages physicians to "embrace these additional

       5   choices, rather than decide to leave opioid prescribing."

       6            212. Purdue further created an unbranded marketing initiative, Opioids with Abuse

       7   Deterrent Properties, to encourage prescribers to switch to Purdue opioids. The initiative

           included a website, ads in medical journals, medical education events touting the benefits of the

       9   tamper-resistant drugs, and payments to doctors to promote Purdue opioids.

      10            213.   Purdue's deceptive marketing convinced doctors of the falsehood that Purdue

      11   drugs are less addictive. In a national survey, conducted by the Johns Hopkins Bloomberg

      12   School of Public Health, almost half of doctors believed that tamper-resistant opioids were less

      13   addictive than other opioids, when in fact they are equally addictive.

      14            214.   Purdue knew and should have known that reformulated OxyContin is not better at

      15   tamper resistance than the original OxyContin and is still regularly tampered with and abused. A

      16   2015 study also shows that many opioid addicts are abusing Purdue's AD opioids through oral

      17   intake or by defeating the abuse deterrent mechanism. Indeed, one-third of the patients in the

      18   study defeated the abuse deterrent mechanism and were able to continue inhaling or injecting the

      19   drug. And to the extent that the abuse of Purdue's AD opioids was reduced, those addicts simply

      20   shifted to other drugs such as heroin.47 Despite this, J. David Haddox—the Vice President of

      21   Health Policy for Purdue—falsely claimed in 2016 that the evidence does not show that Purdue's

      22   AD opioids are being abused in large numbers.48

      23            215.   Testimony in litigation against Purdue and other evidence indicates that Purdue

      24

      25   47 Cicero, Theodore J., and Matthew S. Ellis, "Abuse-deterrent formulations and the prescription
           opioid abuse epidemic in tlie United States: lessons learned froin Oxycontin" (2015) 72.5 JAMA
      26   Psychiatry 424-430.
           48 See Harrison Jacobs, There is a big problem with the government's plan to stop the drug-
      27   overdose epidemic, Business Insider (Mar. 14, 2016), available at
           http://www.businessinsider.com/robert-califf-abuse-deterrent-drugs-have-a-big-flaw-2016-3 (last
      28   accessed December 20, 2017).
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       1   knew and should have known that "reformulated OxyContin is not better at tamper resistance

       2   than the original OxyContin" and is still regularly tampered with and abused. Websites and

       3   message boards used by drug abusers, such as bluelight.org and reddit, also report a variety of

       4   ways to tamper with OxyContin and Hysingla, including through grinding, microwaving then

       5   freezing, or drinking soda or fruit juice in which the tablet has been dissolved. Even Purdue's

       6   own website describes a study it conducted that found continued abuse of OxyContin with so-

       7   called abuse deterrent properties. Finally, there are no studies indicating that Purdue's AD

       8   opioids are safer than any other opioid products.

       9            216.   The development, marketing, and sale of AD opioids is a continuation of the

      10   Manufacturer Defendants' strategy of using misinformation to drive profit. The Manufacturer

      11   Defendants' claims that AD opioids are safe falsely assuage doctors' concerns about the toll

      12   caused by the explosion in opioid abuse, causing doctors to prescribe more AD opioids, which

      13   are far more expensive than other opioid products even though they provide little or no

      14   additional benefit in the prevention of opioid abuse.

      15            217.   These false and misleading claims about the abuse deterrent properties of their

      16   opioids are especially troubling. First, Manufacturer Defendants are using these claims in a

      17   spurious attempt to rehabilitate their image as responsible opioid manufacturers. Plaintiffs are

      18   infoimed and believe that Purdue has conveyed to prescribers that its sale of AD opioids is

      19   "atonement" for its earlier sins (even though its true motive was to preserve the profits it

      20   otherwise would have lost when its patent for OxyContin expired). Indeed, Purdue iiitroduced its

      21   first AD opioid days before its patent for its non-AD opioid would have expired. Purdue even

      22   petitioned the FDA to withdraw its non-AD opioid as unsafe as a way to prevent generic

      23   competition. Second, these claims are falsely assuaging doctors' concerns about the toll caused

      24   by the explosion in opioid prescriptions and use, and encouraging doctors to prescribe AD

      25   opioids under the mistaken belief that these opioids are safer, even though they are not. Finally,

      26   these claims are causing doctors to prescribe more AD opioids, which are far more expensive

      27   than other opioid products even though they provide little or no additional benefit in the

      28   prevention of opioid abuse.
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       1            218.     These numerous, longstanding misrepresentations of the risks of long-term opioid

       2   use spread by Defendants successfully convinced doctors and patients to discount those risks.

       3            E.       The Manufacturer Defendants Misrepresented the Benefits of Chronic Opioid
                             Therapy
       4

       5            219.     To convince doctors and patients that opioids should be used to treat chronic pain,

       6   the Manufacturer Defendants also had to persuade them that there was significant upside to long-

       7 I term opioid use.

       8            220.     The 2016 CDC Guideline makes clear, there is "insufficient evidence to

       9   determine long-term benefits of opioid therapy for chronic pain." (Emphasis added.) In fact, the

      10    CDC found that "[n]o evidence shows a long-term benefit of opioids in pain and function versus

      11   no opioids for chronic pain with outcomes examined at least 1 year later (with most placebo-

      12   controlled randomized trials < 6 weeks in duration)" and that other treatments were more or

      13   equally beneficial and less harmful than long-term opioid use.

      14            221.     In 2013, the FDA also stated that it was "not aware of adequate and well-

      15 I controlled studies of opioids use longer than 12 weeks."

      16            222.     Despite this, the Manufacturer Defendants falsely and misleadingly touted the

      17   benefits of long-term opioid use, and falsely and misleadingly suggested that these benefits were

      18   supported by scientific evidence. Not only have the Manufacturer Defendants failed to correct

      19   these false and misleading claims, but they have continued to make them today.

      20            223.     For example, the Manufacturer Defendants falsely claimed that long-term opioid

      21   use improved patients' function and quality of life. Some illustrative examples of these deceptive

      22   claims that were made by, and are continuing to be made by Defendants are described below:

      23                     a.     On information and belief, Actavis distributed an advertisement that

      24            claimed that the use of Kadian to treat chronic pain would allow patients to return to

      25            work, relieve "stress on your body and your mental health," and help patients enjoy their
      26            lives.
      27                     b.     Endo distributed advertisements that claimed that the use of Opana ER for

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       1            chronic pain would allow patients to perforrn demanding tasks like construction work or

       2            work as a chef and portrayed seemingly healthy, unimpaired subjects.

       3                    C.      On information and belief, Janssen sponsored and edited a patient

       4            education guide entitled Finding Relief Pain Management for Older Adults (2009) —

       5            which states as "a fact" that "opioids may make it easier for people to live normally."

       6            The guide lists expected functional improvements from opioid use, including sleeping

       7            through the night, returning to work, recreation, sex, walking, and climbing stairs and

       8            states that "[u]sed properly, opioid medications can make it possible for people with

       9            chronic pain to `return to normal."'

      10                    d.      Responsible Opioid Prescribing (2007), sponsored and distributed by

      11            Endo and Purdue, tauglit that relief of pain by opioids, by itself, improved patients'

      12            function. The book remains for sale online.

      13                    e.      APF's Treatment Options: A Guide for People Living with Pain,

      14            sponsored by Teva and Purdue, counseled patients that opioids "give [pain patients] a

      15            quality of life we deserve." This publication is still available online.

      16                    f.      Endo's NIPC website painknowledge. com claimed in 2009 that with

      17            opioids, "your level of function should improve; you may find you are now able to

      18            participate in activities of daily living, such as work and hobbies, that you were not able

      19            to enjoy when your pain was worse." Elsewhere, the website touted improved quality of

      20            life (as well as "improved function") as benefits of opioid therapy. The grant request that

      21            Endo approved for this project specifically indicated NIPC's intent to make misleading

      22            claims about function, and Endo closely tracked visits to the site.

      23                    g.      Endo was the sole sponsor, through NIPC, of a series of non-credit

      24            educational programs titled Persistent Pain in the Older Patient, which claimed that

      25            chronic opioid therapy has been "shown to reduce pain and improve depressive

      26            symptoms and cognitive functioning." The CME was disseminated via webcast.

      27                   h.       On information and belief, Janssen sponsored, funded, and edited a

      28            website, Let's Talk Pain, in 2009, which featured an interview edited by Janssen claiming
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       1            that opioids allowed a patient to "continue to function." This video is still available today

       2            on YouTube.

       3                    i.      Purdue sponsored the development and distribution of APF's A

       4            Polieymaker's Guide to Understanding Pain & Its Management, which claimed that

       5            "multiple clinical studies" have shown that opioids are effective in improving daily

       6            function, psychological health, and health-related quality of life for chronic pain

       7            patients." The Policymaker's Guide was originally published in 2011 is still available

       8            online today.

       9                   j.       In a 2015 video on Forbes.com49 discussing the introduction of Hysingla

      10            ER, Purdue's Vice President of Health Policy, J. David Haddox, talked about the

      11            importance of opioids, including Purdue's opioids, to chronic pain patients' "quality of

      12            life," and complained that CDC statistics do not take into account that patients could be

      13            driven to suicide without pain relief.

      14                   k.       Purdue's, Endo's, Teva's and Janssen's sales representatives have

      15            conveyed and continue to convey to prescribers in California, including in Plaintiffs'

      16            communities, the message that opioids will improve patient function.

      17            224. The above claims find no support in the scientific literature. The FDA and other

      18   federal agencies have made this clear for years. Most recently, the 2016 CDC Guideline

      19   approved by the FDA concluded that "there is no good evidence that opioids improve pain or

      20   function with long-term use, and ... complete relief of pain is unlikely." (Emphasis added.) The

      21   CDC reinforced this conclusion throughout its 2016 Guideline, finding:

      22                   a.       "No evidence shows a long-term benefit of opioids in pain and function

      23            versus no opioids for chronic pain with outcomes examined at least 1 year later....."

      24                   b.       "Although opioids can reduce pain during short-term use, the clinical

      25            evidence review found insufficient evidence to deterinine whether pain relief is sustained

      26
           49 Matthew Harper, Why Supposedly Abuse-Proof Pills Won't Stop Opioid Overdose Deaths,
      27   Forbes (Apr. 17, 2015), available at
           httns://www.forbes.com/sites/lnatthewhemer/2015/04/17/whv-supposedlv-abuse-proof-pi lls-nill-
      28   wont-stop-opioid-overdose-deaths/#6a4e41f06ce1 (last accessed December 20, 2017).
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                    and whether function or quality of life improves with long-term opioid therapy."

       2                   C.     "[E]vidence is limited or insufficient for improved pain or function with

       3            long-term use of opioids for several chronic pain conditions for which opioids are

       4            commonly prescribed, such as low back pain, headache, and fibromyalgia."

       5            225.   The CDC also noted that the risks of addiction and death "can cause distress and

       6   inability to fulfill major role obligations." As a matter of common sense (and medical evidence),

       7   drugs that can kill patients or commit them to a life of addiction or recovery do not improve their

       8   function and quality of life.

       9            226.   The 2016 CDC Guideline was not the first time a federal agency repudiated the

      10   Manufacturer Defendants' claim that opioids improved function and quality of life. In 2010, the

      11   FDA warned Actavis that "[w]e are not aware of substantial evidence or substantial clinical

      12   experience demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating

      13   pain, taken together with any drug-related side effects patients may experience ... results in any

      14   overall positive impact on a patient's work, physical and mental functioning, daily activities, or

      15   enjoylnent of life."50 And, in 2008 the FDA sent a warning letter to an opioid manufacturer,

      16   making it publicly clear "that [the claim that] patients who are treated with the drug experience

      17   an improvement in their overall function, social function, and ability to perform daily activities .

      18   .. has not been demonstrated by substantial evidence or substantial clinical experience."

      19            227.   The Manufacturer Defendants also falsely and misleadingly emphasized or

      20   exaggerated the risks of competing products like NSAIDs, so that doctors and patients would

      21   look to opioids first for the treatment of chronic pain. For example, the Manufacturer Defendants

      22   frequently contrasted the lack of a ceiling dosage for opioids with the risks of a competing class

      23   of analgesics: over-the-counter nonsteroidal anti-inflammatories (or NSAIDs). The Manufacturer

      24   Defendants deceptively describe the risks from NSAIDs while failing to disclose the risks from

      25

      26   50 warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to
           Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), available at http://wayback.archive-
      27   it.org/7993/20170112063 027/httD://www.fda. gov/Druas/GuidanceComblianceRe eulatorvinform;
      28   Companies/ucm259240.htm (last accessed December 20, 2017).
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            opioids.51 The Manufacturer Defendants have overstated the number of deaths from NSAIDS

       ra   and have prominently featured the risks of NSAIDS, while minimizing or failing to mention the

            serious risks of opioids. Once again, these misrepresentations by the Manufacturer Defendants

       0    contravene pronouncements by and guidance from the FDA and CDC based on the scientific

            evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013 and IR opioids in 2016

            to state that opioids should only be used as a last resort "in patients for which alternative

            treatment options" like non-opioid drugs "are inadequate." And the 2016 CDC Guideline states

            that NSAIDs, not opioids, should be the first-line treatment for chronic pain, particularly arthritis

            and lower back pain.

      10             228. In addition, Purdue has misleadingly promoted OxyContin as being unique

      11    among opioids in providing 12 continuous hours of pain relief with one dose. Plaintiffs are

      12    informed and believe that Purdue's detailers have told prescribers in California within the last

      13    two years that OxyContin lasts 12 hours. In fact, OxyContin does not last for 12 hours, which is

      14    an indisputable fact that Purdue has known at all times relevant to this action. Upon information

      15    and belief, Purdue's own research shows that OxyContin wears off in under six hours in one
p     16    quarter of patients and in under 10 hours in more than half. This is because OxyContin tablets

      17    release approximately 40% of their active medicine immediately, after which release tapers. This

      18    triggers a powerful initial response, but provides little or no pain relief at the end of the dosing

      19    period, when less medicine is released. This phenomenon is known as "end of dose" failure, and

      20    the FDA found in 2008 that a"substantial proportion" of chronic pain patients taking OxyContin

      21    experience it. This not only renders Purdue's promise of 12 hours of relief false and deceptive, it

      22    also lnakes OxyContin more dangerous because the declining pain relief patients experience

      23    toward the end of each dosing period drives them to take more OxyContin before the next dosing

      24    period begins, quickly increasing the amount of drug they are taking and spurring growing

      25    dependence.

      26
            51 See, e.g., Case Challenges in Pain Management: Opioid Therapy for Chronic Pain (Endo)
      27    (describing massive gastrointestinal bleeds from long-term use of NSAIDs and recommending
            opioids), available at http://www.painmedicinenews.com/download/BtoB Opana WM.pdf (last
      28    accessed December 19, 2017).
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       1            229.   Teva deceptively marketed its opioids Actiq and Fentora for chronic pain even

       2   though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

       3   individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

       4   approved for, or has been shown to be safe or effective for, chronic pain. Indeed, the FDA

       5   expressly prohibited Teva from marketing Actiq for anything but cancer pain, and refused to

       6   approve Fentora for the treatment of chronic pain because of the potential harm.

       7            230.   Despite this, Plaintiffs are informed and believe that Teva conducted and

       8 I continues to conduct a well-funded campaign to promote Actiq and Fentora for chronic pain and

       9   other non-cancer conditions for which it was not approved, appropriate, or safe.52 As part of this

      10   campaign, Teva used CMEs, speaker programs, KOLs, journal supplements, and detailing by its

      11   sales representatives to give doctors the false impression that Actiq and Fentora are safe and

      12   effective for treating non-cancer, chronic pain.

      13            231. Teva's deceptive marketing gave doctors and patients the false impression that

      14   Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

      15   approved by the FDA for such uses. For example:

      16                   a.      Teva paid to have a CME it sponsored, Opioid-Based Management of

      17            Persistent and Breakthrough Pain, published in a supplement of Pain Medicine News in

      18            2009. The CME instructed doctors that "[c]linically, broad classification of pain

      19            syndromes as either cancer- or non-cancer-related has limited utility" and recommended

      20            Actiq and Fentora for patients with chronic pain.

      21                   b.      Upon information and belief, Teva's sales representatives set up hundreds

      22            of speaker programs for doctors, including many non-oncologists, which promoted Actiq

      23            and Fentora for the treatment of non-cancer pain.

      24                   C.      In December 2011, Teva widely disseminated a journal supplement

      25            entitled "Special Report: An Integrated Risk Evaluation and Mitigation Strategy for

      26
           52 See Press Release, U.S. Dep't of Justice, Biopharmaceutical Company, Cephalon, to Pay $425
      27   million & Enter Plea To Resolve Allegations of Off-Label MaYketing (Sept. 29, 2008), available at
           https://www justice.gov/archive/opa/pr/2008/September/08-civ-860.htm1(last accessed December
      28   21, 2017).
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       1            Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)"

       2            to Anesthesiology News, Clinical Oncology News, and Pain Medicine News — three

       3            publications that are sent to thousands of anesthesiologists and other medical

       4            professionals. The Special Report openly promotes Fentora for "multiple causes of pain"

       5            — and not just cancer pain.

       6            232.   Purdue's sales representatives have pressed doctors to prescribe its opioids in

       7   order to be rewarded with talks paid by Purdue. Plaintiffs are informed and believe that Purdue

       8   sale representatives have told doctors that in California that they will no longer be asked to give

       9   paid talks unless they increase their prescribing of Purdue's drugs.

      10            233.   Separate and apart from the obligations imposed by California common law and

      11   regulations, the U.S. Drug Enforcement Agency (DEA) has repeatedly informed Purdue about its

      12   legal "obligation to design and operate a system to disclose ... suspicious orders of controlled

      13 Isubstances" and to inform the DEA "of suspicious orders when discovered." Purdue, however,

      14   unlawfully failed to report or address illicit and unlawful prescribing of its drugs despite

      15   knowing about it for years. See 21 C.F.R. § 1301.74(b); 21 U.S.C. § 823(e).

      16            234.   For over a decade, Purdue ha§ been able to track the distribution and prescribing

      17   of its opioids down to the retail and prescriber levels. Through its extensive network of sales

      18   representatives, Purdue had and continues to have knowledge of the prescribing practices of

      19   thousands of doctors in California and could identify California doctors who displayed red flags

      20   for diversion, including doctors whose waiting rooms were overcrowded, parking lots had

      21   numerous out-of-state vehicles, and patients seemed young and healthy, or homeless. Using this

      22   information, Purdue has maintained a database since 2002 of doctors suspected of

      23   inappropriately prescribing its drugs.

      24            235.   Incredibly, rather than report these doctors to state medical boards or law

      25   enforcement authorities (as Purdue is legally obligated to do) or cease marketing to them, Purdue

      26   used the list to demonstrate the high rate of diversion of OxyContin—the same OxyContin that

      27   Purdue had promoted as less addictive—in order to persuade the FDA to bar the manufacture

      28   and sale of generic copies of the drug because the drug was too likely to be abused. In an
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       1   interview with the Los Angeles Times, Purdue's senior compliance officer acknowledged that in

       2   five years of investigating suspicious pharmacies, Purdue failed to take action, including in

       3   circumstances where Purdue employees personally witnessed the diversion of its drugs. Purdue

       4   also failed to take action with prescribers. Despite its knowledge of illegal prescribing, Purdue

       5   did not report until years after law enforcement shut down a Los Angeles clinic that prescribed

       6   more than l.l million OxyContin tablets and that Purdue's district manager described internally

       7   as "an organized drug ring." In doing so, Purdue protected its own profits at the expense of

       8   public health and safety.

       9            236.   In 2016, the NY AG found that, between January 1, 2008 and March 7, 2015,

      10   Purdue's sales representatives failed to timely report suspicious prescribing and continued to

      11   detail those prescribers even after they were placed on a"no-call" list.

      12            237.   As Dr. Mitchell Katz, director of the Los Angeles County Department of Health

      13   Services, said in a Los Angeles Times article, "Any drug company that has information about

      14   physicians potentially engaged in illegal prescribing or prescribing that is endangering people's

      15   lives has a responsibility to report it." The NY AG's settleinent with Purdue specifically cited the

      16   company for failing to adequately address suspicious prescribing. Yet, on information and belief,

      17   Purdue continues to profit from the prescriptions by such prolific prescribers.

      18            238.   Like Purdue, Endo has been cited for its failure to set up an effective system for

      19   identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the NY

      20   AG found that Endo: (a) failed to require sales representatives to report signs of abuse, diversion,

      21   and inappropriate prescribing; (b) paid bonuses to sales representatives for detailing prescribers

      22   who were subsequently arrested or convicted for illegal prescribing; and (c) failed to prevent

      23   sales representatives from visiting prescribers whose suspicious conduct had caused them to be

      24   placed on a no-call list. The NY AG also found that, in certain cases where Endo's sales

      25   representatives detailed prescribers who were convicted of illegal prescribing of opioids, those

      26   representatives could have recognized potential signs of diversion and reported those prescribers

      27   but failed to do so.

      28            239.   The Manufacturer Defendants made, promoted, and profited from their
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           misrepresentations about the risks and benefits of opioids for chronic pain even though they

       2   knew that their misrepresentations were false and misleading. The history of opioids, as well as

       3   research and clinical experience over the last 20 years, established that opioids were highly

       4   addictive and responsible for a long list of very serious adverse outcomes. The Manufacturer

       5   Defendants had access to scientific studies, detailed prescription data, and reports of adverse

       6   events, including reports of addiction, hospitalization, and deaths — all of which made clear the

       7   harms from long-term opioid use and that patients are suffering from addiction, overdoses, and

           death in alanning numbers. More recently, the FDA and CDC have issued pronouncements

       9   based on the medical evidence that conclusively expose the known falsity of the Manufacturer

      10   Defendants' misrepresentations, and Endo and Purdue have recently entered into agreements

      11   prohibiting them from making some of the same misrepresentations described in this Complaint.

      12            240.   On information and belief, the Manufacturer Defendants coordinated their

      13   messaging through national and regional sales and speaker trainings and coordinated

      14   advertisements and marketing materials.

      15            241.   Moreover, at all times relevant to this Complaint, the Manufacturer Defendants

      16   took steps to avoid detection of and to fraudulently conceal their deceptive marketing. For

      17   example, the Manufacturer Defendants disguised their own role in the deceptive marketing of

      18   chronic opioid therapy by funding and working through third parties like Front Groups and

      19   KOLs. The Manufacturer Defendants purposefully hid behind the assumed credibility of these

      20   individuals and organizations, and relied on them to vouch for the accuracy and integrity of the

      21   Manufacturer Defendants' false and misleading statements about the risks and benefits of long-

      22   term opioid use for chronic pain.

      23            242.   Manufacturer Defendants also never disclosed their role in shaping, editing, and

      24   approving the content of information and materials disseminated by these third parties.

      25   Manufacturer Defendants exerted considerable influence on these promotional and "educational"

      26   materials in emails, correspondence, and meetings with KOLs, Front Groups, and public

      27   relations companies that were not, and have not yet become, public. For example,

      28   painknowledge.org, which is run by the NIPC, did not disclose Endo's involvement. Other
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              Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

         2 I own direct role.

         3,            243. Finally, the Manufacturer Defendants manipulated their promotional materials

         4    and the scientific literature to make it appear that the information and materials disseminated by

         5    third parties were accurate, truthful, and supported by objective evidence when they were not.

         6    The Manufacturer Defendants distorted the meaning or import of studies they cited and offered

         7    them as evidence for propositions the studies did not support. The lack of support for the

              Manufacturer Defendants' deceptive messages was not apparent to medical professionals who

         9    relied upon them in making treatment decisions, nor could it have been detected by Plaintiffs.

        10             244. The Manufacturer Defendants' efforts to artificially increase the number of opioid
~
        11    prescriptions directly and predictably caused a corresponding increase in opioid abuse. In a 2016
Za      12    report, the CDC explained that "[o]pioid pain reliever prescribing has quadrupled since 1999 and
~d o
4-1~~   13    has increased in parallel with [opioid] overdoses."53 Many abusers start with legitimate
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 0      14    prescriptions. For these reasons, the CDC concluded that efforts to rein in the prescribing of
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aa~     15    opioids for chronic pain are critical "[t]o reverse the epidemic of opioid drug overdose deaths
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        16    and prevent opioid-related morbidity."54 Accordingly, the Manufacturer Defendants' false and

        17    misleading statements directly caused the current opioid epidemic. The Manufacturer

        18    Defendants' misrepresentations deceived and continue to deceive doctors and patients in

        19    California, including in Plaintiffs' coinmunities, about the risks and benefits of long-term opioid

        20    use. California doctors confirm this. Studies also reveal that many doctors and patients are not

        21    aware of or do not understand these risks and benefits. Indeed, patients often report that they

        22    were not warned they might become addicted to opioids prescribed to them. As reported in

        23    January 2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not

        24    told opioids were potentially addictive. Plaintiffs are informed and believe that California

        25

        26    53 Rose A Rudd, et al., Increases in Drug and Opioid Overdose Deaths — United States, 2000-
              2014, Morbidity and Mortality Wkly Rep. (Jan. 1, 2016), available at
        27    https://www.cdc.gov/mmwr/preview/inmwrhtml/mm6450a3.litm (last accessed December 20,
              2017).
        28    54 Id
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       1    residents were never told that they might become addicted to opioids when they started taking

       2 I them, were told that they could easily stop using opioids, or were told that the opioids they were

       3 I prescribed were less addictive than other opioids.

       4            245.   Numerous doctors and substance abuse counselors in California note that many of

       5    their patients who misuse or abuse opioids started with legitimate prescriptions, confirming the

       6    important role that doctors' prescribing habits have played in the opioid epidemic. Treatment

       7    centers in California report that they treat a significant percentage — i.e., as high as 80% — of

       8    patients for opioid addiction.

       9            246.   The Manufacturer Defendants knew and should have known that their

      10 I misrepresentations about the risks and benefits of long-term opioid use were false and

      11    misleading when they made them.

      12            247.   The Manufacturer Defendants' deceptive marketing of the abuse-deterrent

      13    properties of their opioids caused and continue to cause doctors in California, including doctors

      14    in Plaintiffs' communities, to prescribe opioids for chronic pain conditions such as back pain,

      15    headaches, arthritis, and fibromyalgia, rather than prescribing less addictive medications. Absent

      16   Manufacturers Defendants' deceptive marketing scheme, these doctors would not have

      17    prescribed as many opioids to as many patients, and there would not have been as many opioids

      18    available for misuse and abuse or as much demand for those opioids.

      19            248.   Manufacturer Defendants' deceptive marketing of the abuse-deterrent properties

      20    of their opioids have caused and continue to cause the prescribing and use of opioids to explode

      21    in California, including in Plaintiffs' communities. Opioids are the most common means of

      22    treatment for chronic pain; 20% of office visits now include the prescription of an opioid, and 4

      23    million Americans per year are prescribed a long-acting opioid.

      24            249.   In California, including in Plaintiffs' coinmunities, Manufacturer Defendants'

      25    deceptive marketing of the abuse-deterrent properties of their opioids during the past few years

      26    has been particularly effective. For example, one survey reports that pain specialists were more

      27    likely to recognize that OxyContin had abuse deterrent properties and to prescribe OxyContin

      28   specifically because of those properties. Further, prescribers who knew of OxyContin's abuse
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       1   deterrent properties were using more of it than those who did not know it was an AD opioid.

       2   Although sales of AD opioids still represent only a small fraction of opioids sold (less than 5%

       3   of all opioids sold in 2015), they represent a disproportionate share of opioid sales revenue ($2.4

       4   billion or approximately 25% in opioid sales revenue in 2015).

       5            250. The dramatic increase in opioid prescriptions and use corresponds witli the

       6   dramatic increase in Manufacturer Defendants' spending on their deceptive marketing scheme.

       7 I Manufacturer Defendants' spending on opioid marketing totaled approximately $91 inillion in

       8   2000. By 2011, that spending had tripled to $288 million.

       9            F.     All Defendants Created an Illicit Market for Opioids

      10            251.   In addition to the allegations above, all Defendants played a role in the creation of

      11   an illicit market for prescription opioids, further fueling the opioid epidemic.

      12            252.   Defendants' distribution of opioids was driven by national policies, coordination,

      13   plans, and procedures that were the same in California as they were across the rest of the United

      14   States. Defendants worked together in an illicit enterprise, engaging in conduct that was not only

      15   illegal, but in certain respects anti-competitive, with the common purpose and achievement of

      16   vastly increasing their respective profits and revenues by exponentially expanding a market that

      17   the law intended to restrict. At all relevant times, Defendants were in possession of national,

      18   regional, state, and local prescriber- and patient-level data that allowed them to track prescribing

      19   patterns over time. Defendants utilized this_ data to further their distribution scheme and to ensure

      20   the largest possible financial return.

      21            253.   Each participant in the supply chain shares the responsibility for controlling the

      22   availability of prescription opioids. Opioid "diversion" occurs whenever the supply chain of

      23   prescription opioids is broken, allowing drugs to be transferred from a legitimate channel of

      24   distribution or use to an illegitimate channel of distribution or use.

      25            254.   Diversion can occur at any point in the opioid supply chain.

      26            255.   For example, diversion can occur at the wholesale level of distribution when

      27   distributors allow opioids to be lost or stolen in transit, or when distributors fill suspicious orders

      28   of opioids from buyers, retailers, or prescribers. Suspicious orders include orders of unusually
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           1   large size, orders that are disproportionately large in comparison to the population of a

           2   community served by the pharmacy, orders that deviate from a normal pattern, and/or orders of

           3   unusual frequency.

           4            256.   Diversion can occur at pharmacies or retailers when a pharmacist fills a

           5   prescription despite having reason to believe it was not issued for a legitimate medical purpose

           6   or not in the usual course of practice. Some of the signs that a prescription may have been issued

           7   for an illegitimate medical purpose include when the patient seeks to fill lnultiple prescriptions

           8   from different doctors (known as doctor shopping), when they travel great distances between the

           9   doctor or their residence and the pharmacy to get the prescription filled, when they present

          10   multiple prescriptions for the largest dose of more than one controlled substance, or when there
P-4
          11   are other "red flags" surrounding the transaction. These red flags should trigger closer scrutiny

Za        12   of the prescriptions by the pharmacy and lead to a decision that the patient is not seeking the
      o
G cn ¢    13   medication to treat a legitimate medical condition.
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 0        14            257.   Diversion occurs through the use of stolen or forged prescriptions or the sale of
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          15   opioids without prescriptions, including patients seeking prescription opioids under false
O~
~         16   pretenses. Opioids can also be diverted when stolen by employees or others.

          17            258.   Opioid diversion occurs at an alarming rate in the United States.

          18            259.   Each participant in the supply chain, including each Defendant, has a common

          19   law duty to prevent diversion by using reasonable care under the circumstances. This includes a

          20   duty not to create a foreseeable risk of harm to others. Additionally, one who engages in

          21   affirmative conduct and thereafter realizes or should realize that such conduct has created an

          22   unreasonable risk of harm to another is under a duty to exercise reasonable care to prevent the

          23   threatened harm.

          24            260.   Defendants, and not Plaintiffs, controlled the manufacture, marketing, and

          25   distribution of prescription opioids within Plaintiffs' boundaries. As such, Defendants were in

          26   the best position to protect Plaintiffs and the public from the risk of harm of misuse of these

          27   products. Defendants owed Plaintiffs a common law duty of care in light of that foreseeable risk.

          28            261.   Manufacturer Defendants owed Plaintiffs a duty to exercise reasonable care in the
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       1   promotion of prescription opioids in and around Plaintiffs' boundaries. Defendants breached that

       2   duty in their misleading and inaccurate promotion of prescription opioids.

       3            262.   Distributor Defendants owed Plaintiffs a duty to exercise reasonable care in the

       4   sale and distribution of opioids in and around Plaintiffs' boundaries. See Cal. Civ. Code §§

       5   1714(a); Goonewardene v. ADP, LLC, 6 Cal. 5th 817, 837 (2019); Cabral v. Ralphs Grocery

       6   Co., 51 Cal. 4th 764, 771 (2011). Defendants breached that duty in their failure to prevent

       7   diversion of prescription opioids and in their refusal to report and halt suspicious orders.

       8            263.   In addition to their common law duties, Defendants possess duties under

       9   California law to develop and maintain a system to track suspicious orders of prescription

      10   opioids. Both Manufacturer and Distributor Defendants are subject to the reporting requirements

      11   of 16 CCR § 1782, and Distributor Defendants are further subject to California Business &

      12   Professions Code §§ 4164 and 4169.1.

      13            264.   California law requires Defendants to report suspicious orders of dangerous drugs

      14   subject to abuse, and to develop and maintain systems to detect and report such activity. This

      15   framework acts as a system of checks and balances from the manufacturing level through

      16   delivery of the controlled substance to the patient or ultimate user.

      17            265.   Thus, all opioid distributors are required to maintain effective controls against

      18   opioid diversion. They are required to create and use a system to identify and report to the

      19   California State Board of Pharmacy downstream suspicious orders of controlled substances, such

      20   as orders of unusually large size, orders that are disproportionate, orders that deviate from a

      21   normal pattern, and/or orders of unusual frequency. To comply with these requirements,

      22   distributors must know their customers, must conduct due diligence, must report suspicious

      23   orders, and must terminate orders if there are indications of diversion.

      24            266.   Defendants' repeated and prolific violations of these requirements show that they

      25   have failed to meet the relevant standard of conduct that society expects of them: the duty to

      26   exercise reasonable care in the promotion of prescription opioids. In doing so, they acted with

      27   willful disregard for Plaintiffs and the people therein.

      28            267.   Separately, Defendants also are subject to federal statutory requirements of the
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       1   Controlled Substances Act, 21 U.S.C. § 801 et seq. (the "CSA"), and its implementing

       2   regulations. Congress passed the CSA partly out of a concern about "the widespread diversion of

       3   [controlled substances] out of legitimate channels into the illegal market." H.R. Rep. No. 9 1 -

       4   1444, 1970 U.S.C.C.A.N. 4566, 4572.

       5            268.   Moreover, every person or entity that manufactures, distributes, or dispenses

       6   opioids must obtain a registration with the DEA. Registrants at every level of the supply chain

       7 I must fulfill their obligations under the CSA.

       8            269.   Under the CSA, anyone authorized to handle controlled substances must track

       9   shipments. The DEA's Automation of Reports and Consolidation Orders System ("ARCOS") is

      10   an automated drug reporting system that records and monitors the flow of Schedule II controlled

      11   substances from the point of manufacture through distribution to the point of sale. ARCOS

      12   accumulates data on distributors' controlled substances and transactions, which are then used to

      13   identify diversion. Each person or entity registered to distribute ARCOS reportable controlled

      14   substances, including opioids, must report each acquisition and distribution transaction to the

      15   DEA. ,See 21 U.S.C. § 827; 21 C.F.R. § 1304.33. Each registrant must also maintain a complete,

      16   accurate, and current record of each substance manufactured, imported, received, sold, delivered,

      17   exported, or otherwise disposed of.

      18            270.   Plaintiffs do not bring causes of action based on violations of federal statutes and

      19   regulations. However, the existence of these complicated regulatory schemes shows Defendants'

      20   intimate knowledge of the dangers of diversion of prescription opioids and the existence of a

      21   thriving illicit market for these drugs. Defendants breached their duties to Plaintiffs despite this

      22   knowledge and longstanding regulatory guidance of how to deter and prevent diversion of

      23   prescription opioids.

      24                   1. The Distributor Defendants Negligently Failed to Control the
                              Flow of Opioids to Plaintiffs Through Illicit Channels
      25
                    271.   The- Distributor Defendants have been and continue to be well-aware of problems
      26
           posed by their failure to combat diversion of opioids. For example, the DEA has provided
      27
           guidance to distributors on how to combat opioid diversion, and Plaintiffs are informed and
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       1   believe that the DEA has conducted one-on-one briefings with distributors regarding

       2   downstream customer sales, due diligence, and regulatory responsibilities since 2006.

       3            272.   Plaintiffs are further informed and believe that the DEA also provides distributors

       4   with data on controlled substance distribution patterns and trends, including data on the volume

       5   and frequency of oirders and the percentage of controlled versus non-controlled purchases. The

       6   distributors are also given case studies, legal findings against other registrants, and ARCOS

       7   profiles of their customers whose previous purchases may have reflected suspicious ordering

       8   patterns. The DEA even pointed out "red flags" that the Distributor Defendants should look for

       9   in order to identify potential diversion.

      10            273.   Since 2007, the DEA has hosted at least five conferences to provide registrants

      11   with updated information about diversion trends and regulatory changes that affect the drug

      12   supply chain, the distributor initiative, and suspicious order reporting. All of the major

      13   distributors, including McKesson, AmerisourceBergen, and Cardinal, attended at least one of

      14   these conferences. The conferences allowed the registrants to ask questions and raise concerns.

      15   These registrants could also request clarification on DEA policies, procedures, and

      16   interpretations of the CSA and implementing regulations.

      17            274.   Since 2008, the DEA also has participated in numerous meetings and events with

      18   the legacy Healthcare Distribution Management Association (HDMA), now known as the

      19   Healthcare Distribution Alliance (HAD), an industry trade association for wholesalers and

      20   distributors. DEA representatives have provided guidance to the association concerning

      21   suspicious order monitoring, and the association has published guidance documents for its

      22   members on suspicious order monitoring, reporting requirements, and the diversion of controlled

      23   substances. (HDMA, "Industry Compliance Guidelines: Reporting Suspicious Orders and

      24   Preventing Diversion of Controlled Substances," (2008).)

      25            275.   On September 27, 2006, and December 27, 2007, the DEA Office of Diversion

      26   Control sent letters to all registered distributors providing guidance on suspicious order

      27   monitoring and the responsibilities and obligations of registrants to prevent diversion.

      28            276.   On December 27, 2007, the Office of Diversion Control sent a follow-up letter to
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       1   DEA registrants providing guidance and reinforcing the legal requirements outlined in the

       2   September 2006 correspondence. The December 20071etter reminded registrants that suspicious

       3   orders must be reported when discovered and monthly transaction reports of excessive purchases

       4 I did not meet the regulatory criteria for suspicious order reporting. The letter also advised

       5   registrants that they must perform an independent analysis of a suspicious order prior to the sale

       6   to determine if controlled substaiices would likely be diverted, and that filing a suspicious order

       7   and then completing the sale does not absolve the registrant from legal responsibility.

       8            277. Distributor Defendants' own industry group, the Healthcare Distribution

       9   Management Association, published Industry Compliance Guidelines titled "Reporting

      10   Suspicious Orders and Preventing Diversion of Controlled Substances" emphasizing the critical

      11   role of each member of the supply chain in distributing controlled substances. These industry

      12   guidelines stated: "At the center of a sophisticated supply chain, distributors are uniquely

      13   situated to perform due diligence in order to help support the security of controlled substances

      14   they deliver to their customers."

      15            278.   Opioid distributors have admitted to the magnitude of the problem and, at least

      16   superficially, their legal responsibility to prevent diversion. They have made statements assuring

      17   the public they supposedly are undertaking a duty to curb the opioid epidemic.

      18            279.   For example, a Cardinal executive recently claimed that it uses "advanced

      19   analytics" to monitor its supply chain; Cardinal assured the public it was being "as effective and

      20   efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

      21   activity."

      22            280.   McKesson has publicly stated that it has a"best-in-class controlled substance

      23   monitoring program to help identify suspicious orders" and claimed it is "deeply passionate

      24   about curbing the opioid epidemic in our country."

      25            281.   On their face, these assurances that they would identify and eliminate criminal

      26   activity and curb the opioid epidemic, create a duty for the Distributor Defendants to take

      27   reasonable measures to do just that.

      28            282.   Despite their duties to prevent diversion, the Distributor Defendants have
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             knowingly or negligently allowed diversion. 55

       2              283. Their misconduct and negligent failure to prevent diversion is demonstrated by

             the fact that the DEA has been repeatedly forced to take action to force compliance, including (a)

       4     178 registrant actions between 2008 and 2012, (b) 76 orders to show cause issued by the Office

             of Administrative Law Judges, and (c) 41 actions involving immediate suspension orders.56 The

       rei   Distributor Defendants' wrongful conduct and inaction have resulted in numerous civil fines and

       7     other penalties, including:

       8                     a.      In a 2017 Administrative Memoranduin of Agreement between McKesson

       9              and the DEA, McKesson admitted that it "did not identify or report to [the] DEA certain

      10              orders placed by certain pharmacies which should have been detected by McKesson as

      11              suspicious based on the guidance contained in the DEA Letters." McKesson was fined

      12              $ 150,000,000;57

      13                     b.      McKesson has a history of repeatedly failing to perform its duties. In May

      14              2008, McKesson entered into a settlement with the DEA on claims that McKesson failed

      15              to maintain effective controls against diversion of controlled substances. McKesson

      16              allegedly failed to report suspicious orders from rogue Internet pharmacies around the

      17              country, resulting in millions of doses of controlled substances being diverted.

      18              McKesson's system for detecting "suspicious orders" from pharmacies was so ineffective

      19              and dysfunctional that at one of its facilities in Colorado between 2008 and 2013, it filled

      20

      21     55 Scott Higham and Lenny Bernstein, The Drug Industry's Triumph Over the DEA, Wash. Post
             (Oct. 15, 2017), available at https://www.washin _ onpost.com/graphics/2017/investigations/dea-
      22     drug-industry-congress/?utm_term=.75e86f3574d3 (last accessed December 21, 2017); Lenny
             Bernstein, David S. Fallis, and Scott Higham, How drugs intended for patients ended up in the
      23     hands of illegal users: `No one was doing their job, ' Wash. Post (Oct. 22, 2016), available at
             https://www.washin onpost.coin/investigations/how-drugs-intended-for-patients-ended-up-in-
      24     the-hands-of-illegal-users-no-one-was-doin -th~e'ir-job/2016/10/22/10e79396-30a7-11e6-8ff7-
             7b6c1998b7a0 story.html?tid=graphics-story&utmeterm=.4f439efl06a8 (last accessed
      25     December 21, 2017).
             56 Evaluation and Irispections Div., Office of the Inspector Gen., U.S. Dep't of Justice, The Drug
      26     Enforcement Administration's Adjudication of Registrant Actions 6 (2014), available at
             https://oig:'ustice.Qov/reports/2014/e1403.pdf (last accessed January 8, 2018).
      27     3TAdministrative Memorandum of Agreement between the U.S. Dep't of Justice, the Drug Enf't
             Admin., and the McKesson Corp. (Jan. 17, 2017), available at https://www.justice.gov/opa/press-
      28     release/file/928476/download (last accessed December 21, 2017).
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            1          more than 1.6 million orders, for tens of millions of controlled substances, but it reported

            2          just 16 orders as suspicious, all from a single consumer;

            3                  C.     On November 28, 2007, the DEA issued an Order to Show Cause and

            4          Immediate Suspension Order against a Cardinal Health facility in Auburn, Washington,

            5          for failure to maintain effective controls against diversion;

            6                  d.     On December 5, 2007, the DEA issued an Order to Show Cause and

            7          Immediate Suspension Order against a Cardinal Health facility in Lakeland, Florida, for

            8          failure to maintain effective controls against diversion;

            9                  e.     On December 7, 2007, the DEA issued an Order to Show Cause and

           10          Immediate Suspension Order against a Cardinal Health facility in Swedesboro, New
~
~          11          Jersey, for failure to maintain effective controls against diversion;
,-7 3
           12                  f.     On January 30, 2008, the DEA issued an Order to Show Cause and
~Ha
P-j cn ¢   13          Immediate Suspension Order against a Cardinal Health facility in Stafford, Texas, for
~WW

  0        14          failure to maintain effective controls against diversion;
  H
           15                  g.     In 2008, Cardinal paid a$34 million penalty to settle allegations about
O~
P4         16          opioid diversion taking place at seven of its warehouses in the United States;58

           17                  h.     On February 2, 2012, the DEA issued another Order to Show Cause and

           18          Immediate Suspension Order against a Cardinal Health facility in Lakeland, Florida, for

           19          failure to maintain effective controls against diversion;

           20                  i:     In 2012, Cardinal reached an administrative settlement with the DEA

           21          relating to opioid diversion between 2009 and 2012 in multiple states;

           22                  j.     In December 2016, the Department of Justice announced a multi-million

           23          dollar settlement with Cardinal for violations of the Controlled Substances Act;s9

           24
                58 Lenny Bernstein and Scott Higham, Cardinal Health fined $44 million for opioid reporting
           25   violations, Wash. Post (Jan. 11, 2017), available at
                https://www.washingtonpost.coin/national/health-science/cardinal-health-fined-44-milli6ri-for-
                                        t
           26   opioid-reporting-violations/2017/O 1 /11 /4fZ 17c44-d82c-11 e6-9a36-
                1d296534b31e story.html?utm term=.Oc8e17245e66 (last accessed December 21, 2017).
           27   3 Press Release, United States Dep't of Justice, Cardinal Health Agrees to $44 Million
                Settlement for Alleged Violations of Controlled Substances Act, Dec. 23, 2016, available at
           28   https://www. j ustice. gov/u sao-md/pr/cardinal-health-agrees-44-million-settlement-alleged-
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       1                    k.      On information and belief, in connection with the investigations of

       2             Cardinal, the DEA uncovered evidence that Cardinal's own investigator warned Cardinal

       3             against selling opioids to a particular pharmacy in Wisconsin that was suspected of

       4             opioid diversion. Cardinal did nothing to notify the DEA or cut off the supply of drugs to

       5             the suspect pharmacy. Cardinal did just the opposite, pumping up opioid shipments to the

       6             pharmacy to almost 2,000,000 doses of oxycodone in one year, while other comparable

       7             pharmacies were receiving approximately 69,000 doses/year;

       8                    1.      In 2007, AmerisourceBergen lost its license to send controlled substances

       9             from a distribution center amid allegations that it was not controlling shipments of

      10             prescription opioids to Internet pharmacies; and

      11                    M.      In 2012, AmerisourceBergen was implicated for failing to protect against

      12             diversion of controlled substances into non-inedically necessary channels.

      13             284. Although distributors have been penalized by law enforcement authorities, these

      14    penalties have not changed their conduct. They pay fines as a cost of doing business in an

      15    industry that generates billions of dollars in revenue and profit.

      16             285. The Distributor Defendants' failure to prevent the foreseeable injuries from

      17    opioid diversion created an enormous black inarket for prescription opioids, which market

      18    extended to Plaintiffs and their residents. Each Distributor Defendant knew or should have

      19    known that the opioids reaching Plaintiffs' communities were not being consumed for medical

      20    purposes and that the amount of opioids flowing to Plaintiffs was far in excess of what could be

      21    consumed for medically necessary purposes.

      22             286. The Distributor Defendants negligently or intentionally failed to adequately

      23    control their supply lines to prevent diversion. A reasonably-prudent distributor of Schedule II

      24    controlled substances would have anticipated the danger of opioid diversion and protected

      25    against it by, for example: (a) taking greater care in hiring, training, and supervising employees;

      26    (b) providing greater oversight, security, and control of supply channels; (c) looking more

      27

      28 II violations-controlled-substances-act (last accessed December 21, 2017).
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       1   closely at the pharmacists and doctors who were purchasing large quantities of commonly-

       2   abused opioids in amounts greater than the populations in those areas would warrant; (d)

       3   investigating demographic or epidemiological facts concerning the increasing demand for

       4   narcotic painkillers in and around Plaintiffs' communities; (e) providing information to

       5 I pharmacies and retailers about opioid diversion; and (f) in general, simply following applicable

       6 I common law, statutes, regulations, professional standards, and guidance from government

       7 I agencies and using a little bit of common sense.

       8            287. On information and belief, the Distributor Defendants made little to no effort to

       9 I visit the pharmacies servicing the areas around Plaintiffs to perform due diligence inspections to

      10   ensure that the controlled substances the Distributor Defendants had furnished were not being

      11   diverted to illegal uses.

      12            288.   On information and belief, the compensation the Distributor Defendants provided

      13   to certain of their employees was affected, in part, by the volume of their sales of opioids to

      14   pharmacies and other facilities servicing the areas around Plaintiffs, thus improperly creating

      15   incentives that contributed to and exacerbated opioid diversion and the resulting epidemic of

      16   opioid abuse.

      17            289.   It was reasonably foreseeable to the Distributor Defendants that their conduct in

      18   flooding the market in and around Plaintiffs with highly addictive opioids would allow opioids to

      19   fall into the hands of children, addicts, criminals, and other unintended users.

      20            290.   It was reasonably foreseeable to the Distributor Defendants that, when unintended

      21   users gain access to opioids, tragic preventable injuries will result, including addiction,

      22   overdoses, and death. It was also reasonably foreseeable that many of these injuries would be

      23   suffered by Plaintiffs' residents, and that the costs of these injuries would be borne by Plaintiffs.

      24            291.   The Distributor Defendants knew or should have known that the opioids being

      25   diverted from their supply chains would contribute to the opioid epidemic faced by Plaintiffs,

      26   and would create access to opioids by unauthorized users, which, in turn, perpetuates the cycle of

      27   addiction, demand, illegal transactions, economic ruin, and human tragedy.

      28            292.   The Distributor Defendants were aware of widespread prescription opioid abuse
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       1 I in and around Plaintiffs' communities, but, on information and belief, they nevertheless persisted

       2   in a pattern of distributing commonly abused and diverted opioids in geographic areas, in such

       3   quantities, and with such frequency that they knew or should have known these commonly

       4   abused controlled substances were not being prescribed and consumed for legitimate Inedical

       5 I purposes.

       6            293. The use of opioids by Plaintiffs' residents who were addicted or who did not have

       7   a medically necessary purpose could not have occurred without the knowing cooperation,

       8   assistance, or negligent failure to act of and by the Distributor Defendants. If the Distributor

       9   Defendants adhered to effective controls to guard against diversion, Plaintiffs and their residents

      10   would have avoided significant injury.

      11            294.   The Distributor Defendants made substantial profits over the years based on the

      12   diversion of opioids into Plaintiffs' communities. The Distributor Defendants knew that

      13   Plaintiffs would be unjustly forced to bear the costs of these injuries and damages.

      14            295.   The Distributor Defendants' intentional distribution of excessive amounts of

      15   prescription opioids showed an intentional or reckless disregard for the safety of Plaintiffs and

      16   their residents. Their conduct poses a continuing threat to the health, safety, and welfare of

      17   Plaintiffs' residents.

      18            296.   The state laws at issue here are public safety laws.

      19            297.   The Distributor Defendants' violations constitute prima facie evidence of

      20 I negligence under state law.

      21                   2. The Manufacturer Defendants Negligently Failed to Control the
                              Flow of Opioids to Plaintiffs Through Illicit Channels
      22

      23            298.   The same legal duties to prevent diversion, and to monitor, report, and prevent

      24   suspicious orders of prescriptions opioids that were incumbent upon the Distributor Defendants

      25   were also legally required of the Manufacturer Defendants under California law.

      26            299.   In addition to a common law duty to exercise reasonable care in the promotion

      27   and marketing of opioids, the Manufacturer Defendants also are required to report all sales of

      28   dangerous drugs subject to abuse as designated by the California Board of Pharmacy in excess of
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       1 I amounts determined by the Board. See 16 CCR 1782.

       2            300.   On information and belief, for over a decade the Manufacturer Defendants have

       3 I been able to track the distribution and prescribing of their opioids down to the retail and

       4   prescriber level. Thus, the Manufacturer Defendants had actual knowledge of the prescribing

       5   practices of doctors, including red flags indicating diversion. The Manufacturer Defendants did

       6   not report those red flags, nor did they cease marketing to those doctors. Like the Distributor

       7   Defendants, the Manufacturer Defendants breached their duties under state law.

       8            301.   The Manufacturer Defendants had access to and possession of the information

       9   necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

      10   Manufacturer Defendants engaged in the practice of paying "chargebacks" to opioid distributors.

      11   A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

      12   manufacturer's product at a price below a specified rate. After a distributor sells a

      13   manufacturer's product to a pharmacy, for example, the distributor requests a chargeback from

      14   the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

      15   the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

      16   Defendants knew the volume, frequency, and pattern of opioid orders being placed and filled.

      17   The Manufacturer Defendants built receipt of this information into the payment structure for the

      18   opioids provided to the opioid distributors.

      19            302.   The Manufacturer Defendants' actions and omission in failing to effectively

      20   prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

      21   unlawful diversion of opioids into Plaintiffs' communities.

      22            G.     The Defendants Knowingly Profited from an Interstate Opioid Crisis

      23            303.   As the demand for prescription opioids grew, fueled by their potency and purity,

      24   interstate commerce flourished: opioids moved froin areas of high supply to areas of high

      25   demand, traveling aciross state, city, and county lines in a variety of ways.

      26            304.   First, prescriptions written in one state would, under some circumstances, be

      27   filled in a different state. But even more significantly, individuals transported opioids from one

      28   jurisdiction specifically to sell them in another.
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                    305.   When authorities in one state cracked down on opioid suppliers, out-of-state

       2   suppliers filled the gaps. Florida in particular assumed a prominent role because its lack of

       3   regulatory oversight created a fertile ground for pill mills. Residents of many states would

       4   simply drive to Florida, stock up on pills from a pill mill, and transport them back to home to

       5   sell. The practice became so common that authorities dubbed these individuals "prescription

       6   tourists."

       7            306.   The facts surrounding numerous criminal prosecutions illustrate this common

           practice. For example, in May 2018 a mother son crime duo based out of New Jersey was caught

       9   flying to California in attempts to obtain additional sources of supply for their drug operation

      10   which consisted of trafficking counterfeit prescription pills, other opiates, cocaine and

      11   marijuana. 6o

      12            307.   In another example, a man from Warren County, Ohio, who was sentenced to four

      13   years for transporting prescription opioids from Florida to Ohio, explained that he could get a

      14   prescription for 180 pills from a quick appointment in West Palm Beach, and then sell them back

      15   home in Ohio for as much as $100 a pill—ten times the pharmacy price.61 In Columbus, Ohio, a

      16   DEA investigation led to the 2011 prosecution of sixteen individuals involved in the "oxycodone

      17   pipeline between Ohio and Florida."62 When officers searched the Ohio home of the alleged

      18   leader of the group, they found thousands of prescriptions pills, including oxycodone and

      19   hydrocodone, and $80,000 in cash. In 2015, another Columbus man was sentenced for the same

      20   conduct paying couriers to travel to Florida and bring back thousands of prescription opioids,

      21   and, in the words of U.S. District Judge Michael Watson, contributing to a"pipeline of death."63

      22
           60 United States ofAmerica v. Candace Gottlieb, Case No. 18-1015 (AMD), (D.N.J. May 30,
      23   2018).
           61 Andrew Welsh-Huggins, Associated Press, `Prescription Tourists' Thwart States' Crackdown
      24   on Illegal Sale of Painkillers, NBC News, available at
           http://www.nbcnews.com/id/48111639/ns/us news-crime and courts/t/prescription-tourists-
      25   thwart-states-crackdown-illegal-sale-painkillers/#.Wtd,yKE2Wy71 (last updated July 8, 2012,
           12:28 PM).
      26   62 16 Charged in `Pill Mill' Pipeline, Columbus Dispatch (June 7, 2011), available at
           http://www.dispatch.com/content/stories/local/2011/06/07/16-char e~pill-mill-pipeline.html
      27
           gast accessed July 25, 2018).
              Associated Press, Leader of Ohio Pill-Mill Trafficking Scheme Sentenced, Star Beacon (July
      28   16, 2015), available at http://www.starbeacon.com/news/leader-of-ohio-pill-lnill-traffickin&
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                      308. Outside of Atlanta, Georgia, four individuals pled guilty in 2015 to operating a

       2     pill mill; the U.S. attorney's office found that most of the pain clinic's customers came from

             other states.64 Another investigation in Atlanta led to the 2017 conviction of two pharmacists

       4     who dispensed opioids to customers of a pill mill across from the pharmacy. Again, many of

             those customers were from other states.65

       roi            309. In yet another case, defendants who operated a pill mill in south Florida within

       7     Broward County were tried in eastern Kentucky based on evidence that large numbers of

       8     customers transported oxycodone back to the area for both use and distribution by local drug

       9     trafficking organizations. As explained by the Sixth Circuit in its decision upholding the venue

      10     decision, "[d]uring its existence, the clinic generated over $10 million in profits. To earn this

      11     sum required more business than the local market alone could provide. Indeed, only about half of

      12     the [Pain Center of Broward]'s customers came from Florida. Instead, the clinic grew prosperous

      13     on a flow of out-of-state traffic, with prospective patients traveling to the clinic from locations

      14     far outside Ft. Lauderdale, including from Ohio, Georgia, and Massachusetts."66 The court

      15     further noted that the pill mill "gained massive financial benefits by taking advantage of the

      16     demand for oxycodone by Kentucky residents."67

      17              310. The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was so

      18 I well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

      19     Roxicodone pills manufactured by Mallinckrodt.68 Eventually, as police began to stop vehicles

      20     with certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They

      21
             scheme-sentenced/article 5fb058f5-deb8-5963-b936-d71c279ef17c.html(last accessed July 25,
      22     2018).
             64 Press Release, U.S. Dep't of Just., U.S. Atty's Off., Northern District of Ga., Four Defendants
      23     Plead Guilty to Operating a"Pill Mill" in Lilburn, Georgia (May 14, 2015), available at
             littps://www.iustice.gov/usao-ndga/pr/four-defendants-plead-g_  u 'ilty-operating-pill-mill-lilburn-
      24     aeor ia (last accessed July 25, 2018).
                Press Release, U.S. Dep't of Just., U.S. Atty's Off., Northern District of Ga., Two Pharmacists
      25     Convicted for Illegally Dispensing to Patients of a Pill Mill (Mar. 29, 2017), available at
             https://~dna.georgia.gov/press-releases/2017=03-30/two-pharmacists-convicted-illegally-
      26     dispensing=patients-pill-mill (last accessed July 25, 2018).
             ~United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
      27     67
                Id. at 861.
             68 John Temple, American Pain, How a Young Felon and His Ring of Doctors Unleashed
      28     America's Deadliest Drug Epidemic 171 (2016).
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           rented cars just over the Georgia state line to avoid the telltale out-of-state tag.69 If they were

       2   visiting multiple pill mills on one trip, they would stop at FedEx between clinics to mail the pills

       3   home and avoid the risk of being caught with multiple prescriptions if pulled over.70 Or they

       4   avoided the roads altogether: Allegiant Air, which offered several flights between Appalachia

       5   and Florida, was so popular with drug couriers that it was nicknamed the "Oxy Express."71

       6            311. While the I-75 corridor was well utilized, prescription tourists also came from

       7   other states. The director of the Georgia drugs and narcotics agency observed that visitors to

       8   Georgia pill lnills come from as far away as Arizona and Nebraska. 72

       9            312.   Similar pipelines developed in other regions of the country. For example, the I-95

      10   corridor was another transport route for prescription pills. As the director of the Maine Drug

      11   Enforcement Agency explained, the oxycodone in Maine was coming up extensively from

      12   Florida, Georgia and California.73 And, according to the FBI, Michigan plays an important role

      13   in the opioid epidemic in other states; opioids prescribed in Michigan are often trafficked down

      14   to West Virginia, Ohio, and Kentucky.

      15            313.   Along the west coast, over a million pills were transported froln the Lake Medical

      16   pain clinic in Los Angeles and cooperating pharmacies to the City of Everett, Washington. 74

      17   Couriers drove up I-5 through California and Oregon, or flew from Los Angeles to Seatt1e.75 The

      18   Everett-based dealer who received the pills from southern California wore a diamond necklace in

      19   the shape of the West Coast states with a trail of green gemstones—the color of 80-milligram

      20

      21   69 Id. at 172
           70 Id. at 171
      22   71 Id.
           72 Andrew Welsh-Huggins, Associated Press, `Prescription Tourists' Thwart States' Crackdown
      23   on Illegal Sale of Painkillers, NBC News, available at
      24   states-crackdown-illegal-sale-painkillers/#.WtdyKE2Wy71 (last accessed July 25, 2018).
           73 Nok-Noi  Ricker, Slaying of Florida firefighter in Maine Puts Focus on Interstate 95 Drug
      25   Running, Bangor Daily News (March 9, 2012), available at
           http://ban ordailynews.com/2012/03/09/news/state/slaying-of-florida-firefighter-in-maine-puts-
      26   focus-on-interstate-95-dru -running (last accessed July 25, 2018)
              Harriet Ryan et al., How Black-Market OxyContin Spurred a Town's Descent into Crime,
      27   Addiction and Heartbreak, Los Angeles Times (July 10, 2016), available at
           http://www.latilnes.com/projects/la-me-oxycontin-everett/ (last accessed July 25, 2018)
      28   73 id.
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       1   OxyContin—connecting Los Angeles and Washington state.

       2            314. Defendants certainly were aware, or should have been aware, that pill mills from

       3   around the country were pushing its products. Defendants purchased nationwide, regional, state,

       4   and local prescriber- and patient-level data from data vendors that allowed them to track

       5   prescribing trends, identify suspicious orders, identify patients who were doctor shopping,

       6   identify pill mills, etc. The data vendors' infoimation purchased by the Defendants allowed them

       7   to view, analyze, compute, and track their competitors' sales, and to compare and analyze market

       8   share infoi-mation.

       9            315.   Similarly, Wolters Kluwer, an entity that eventually owned data mining

      10   companies that were created by McKesson (Source) and Cardinal Health (ArcLight), provided

      11   the Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

      12   organized by territory, regarding competing drugs, and analyzed the market share of those drugs.

      13            316.   Not only were Defendants aware of the pill mills, but Defendants' sales

      14   incentives rewarded sales representatives who happened to have pill mills within their territories,

      15   enticing those representatives to look the other way even when their in-person visits to such

      16   clinics should have raised numerous red flags. In one example, a pain clinic in South Carolina

      17   was diverting massive quantities of OxyContin. People traveled to the clinic from towns as far as

      18   100 miles away to get prescriptions, the DEA's diversion unit raided the clinic, and prosecutors

      19   eventually filed criminal charges against the doctors. But Purdue's sales representative for that

      20   territory, Eric Wilson, continued to promote OxyContin sales at the clinic. He reportedly told

      21   another local physician that this clinic accounted for 40% of the OxyContin sales in his territory.

      22   At that time, Wilson was Purdue's top-ranked sales representative. In response to news stories

      23   about this clinic, Purdue issued a statement, declaring that "if a doctor is intent on prescribing

      24   our medication inappropriately, such activity would continue regardless of whether we contacted

      25   the doctor or not. 76

      26            317.   In another example, a Purdue sales manager informed her supervisors in 2009

      27
           76 Barry Meier, Pain Killer: A"Wonder" Drug's Trail ofAddiction and Death 204, 289-399
      28   (Rodale 2003).
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           about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

       2   with her sales representative "it was packed with a line out the door, with people who looked like

           gang members," and that she felt "very certain that this an organized drug ring[.]"77 She wrote,

       4   "This is clearly diversion. Shouldn't the DEA be contacted about this?" But her supervisor at

       5   Purdue responded that while they were "considering all angles," it was "really up to [the

       6   wholesaler] to make the report."78 This pill mill was the source of 1.1 million pills trafficked to

       7   Everett, Washington, a city of around 100,000 people. Purdue waited until after the clinic was

           shut down in 2010 to inform the authorities.

       9            318.   Abundant evidence therefore establishes that prescription opioids migrated

      10   between states, counties, and cities, and Defendants were aware of it. As a result, Defendants'

      11   public nuisance is not limited to the local or state level, but is national in scope. Additionally,

      12   prescription data from any particular jurisdiction does not capture the full scope of the misuse,

      13   oversupply and diversion problem in that specific area. As the criminal prosecutions referenced

      14   above show, if prescription opioid pills were hard to get in one area, they migrated from another.

      15   The manufacturers and distributors were fully aware of this phenomenon and profited from it.

      16            319.   Defendants each knew or should have known that opioid diversion and abuse was

      17   occurring on a nationwide scale, and Defendants each profited from disregarding the nationwide

      18   illicit prescription opioid trade. In search of even greater profits, the Defendants facilitated and

      19   allowed to continue the unlawful diversion of opioids into Plaintiffs' communities.

      20            H.     Defendants' Unlawful Conduct and Breaches of Legal Duties Caused the
                           Harm Alleged Herein and Substantial Damages
      21

      22            320.   As the Manufacturer Defendants' efforts to expand the market for opioids
      23   increased, so have the rates of prescription and the sale of their products, as well as the rates of
      24   opioid-related substance abuse, hospitalization, and death among Plaintiffs' residents and across
      25   the nation. Meanwhile; the Distributor Defendants have continued to unlawfully ship massive
      26
           77 Harriet Ryan et al., More Than I Million OxyContin Pills Ended Up in the Hands of Criminals
      27   and Addicts. What the Drugmaker Knew, Los Angeles Time (July 10, 2016),
           http://www.latiines.com/projects/la-me-oxycontin-part2/. (last accessed July 30, 2018)
      28      Id.
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            1    quantities of opioids into communities like Plaintiffs', fueling the epidemic.

            2             321.   There is a"parallel relationship between the availability of prescription opioid

            3    analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

            4    associated adverse outcomes."79

            5             322.   Opioids are widely diverted and improperly used, and the widespread use of the

            6    drugs has resulted in a national epidelnic of opioid overdose deaths and addictions.80

            7             323.   The epidemic is "directly related to the increasingly widespread misuse of

            8    powerful opioid pain medications."81

            9             324.   The increased abuse of prescription opioids—along with growing sales—has

           10    contributed to a large number of overdoses and deaths.
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           11             325.   As shown above, the opioid epidemic has escalated in Plaintiffs' communities
Za         12    with devastating effects. Substantial opiate-related substance abuse, hospitalization, and death
~Ha
~l~ o
P-4 cn Q   13    mirror Defendants' increased distribution of opioids.
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Cl)~~      14             326.   Because of the well-established relationship between the use of prescription
   H
w¢         15    opioids and the use of non-prescription opioids, such as heroin, the massive distribution of
O
P4         16    opioids to Plaintiffs' communities and areas from which opioids are being diverted to Plaintiffs'

           17    communities, has caused the opioid epidemic to include heroin addiction, abuse, and death.

           18             327.   Prescription opioid abuse, addiction, morbidity, and mortality are hazards to

           19    public health and safety in Plaintiffs' communities.

           20             328.   Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

           21 I safety in Plaintiffs' cominunities.

           22             329.   Defendants repeatedly and purposefully breached their duties under state law, and

           23 I such breaches are direct and proximate causes of, and/or substantial factors leading to, the

           24    widespread diversion of prescription opioids for nonmedical purposes in Plaintiffs' communities.

           25             330.   The unlawful diversion of prescription opioids is a direct and proximate cause of,

           26
                 79 See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United
           27    States, 372 N. Eng. J. Med. 241 (2015).
                 80 Volkow & McLellan,      supra note 1.
           28    81 Califf, supra note 2.

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       1    and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

       2    morbidity, and morality in Plaintiffs' communities. This diversion and the resulting epidelnic are

       3 I direct causes of foreseeable harms incurred by Plaintiffs and their residents.

       4             331.   Defendants' intentional and unlawful conduct resulted in direct and foreseeable,

       5    past and continuing, economic damages for which Plaintiffs seek relief, as alleged herein.

       6    Plaintiffs also seek the means to abate the epidemic created by the Defendants.

       7             332.   Plaintiffs seek economic damages from the Defendants as reimbursement for the

       8    costs associated with past efforts to eliminate the hazards to public health and safety.

       9             333.   Plaintiffs seek economic darnages from the Defendants to pay for the costs to

      10    permanently eliminate the hazards to public health and safety and abate the public nuisance.

                     334.   Plaintiffs seek economic damages from the Defendants to pay for the reduction to

            tax revenues caused by the epidemic created by the Defendants.

                     335.   To eliminate the hazard to public health and safety, and abate the public nuisance,

            a"multifaceted, collaborative public health and law enforcement approach is urgently needed."82

                     336.   A comprehensive response to this crisis must focus on preventing new cases of

            opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

      17 1 opioid addiction treatment while safely meeting the need of patients experiencing pain.83

      18             337.   The community-based problems require community-based solutions that have

      19 I been limited by budgetary constraints.

      20             338.   Having profited enormously through the aggressive sale, misleading promotion,

      21 I and irresponsible distribution of opioids, Defendants should be required to take responsibility for

      22    the financial burdens their conduct has inflicted upon Plaintiffs' colnmunities.

      23             339.   The opioid epidemic still rages because the fines and suspensions imposed by the

      24    DEA do not change the conduct of the industry. The Defendants pay fines as a cost of doing

      25
             Rudd, supra note 53.
            82
      26     See Johns Hopkins Bloomberg School of Public Health, The PYescription Opioid Epidemic: An
            83
           Evidence-Based Approach (G. Caleb Alexander et al., eds., 2015), available at
      27 httns://www. ihsnh.edu/researcll/centers-and-institutes/center-for-dru a-safetv-and-
           effectiveness/researcli/nrescrintion-onioids/JHSPH OPIOID EPIDEMIC REPORT.ndf (last
      28 I accessed January 8, 2018).
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          1 I business in an industry that generates billions of dollars in annual revenue. They hold multiple

          2 I DEA registration numbers and when one facility is suspended, they simply ship from another

          3 I facility.

          4            340.   The Defendants have abandoned their duties imposed by the law, taken advantage

          5 I of a lack of DEA enforcement, and abused the privilege of distributing controlled substances in

          6 I Plaintiffs' communities.

          7            341.   In the course of conduct described in this Complaint, Defendants have acted with

          8 I oppression, fraud, and malice, both actual and presumed.

          9            I.     The Impact of Opioid Abuse on Plaintiffs and their Residents

         10            342.   Defendants' creation, through false and misleading advertising and a failure to
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         11   prevent diversion, of a virtually limitless opioid market has significantly harmed Plaintiffs and
z~J      12   resulted in an abundance of drugs available for non-medical and criminal use and fueled a new
dN;
~d o
G cn ¢   13   wave of addiction and injury. It has been estimated that approximately 60% of the opioids that
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   0     14   are abused come, directly or indirectly, through doctors' prescriptions.
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         15            343.   As the FDA observed in 2016, the opioid epidemic is getting worse, not better.
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P4       16   For example, the California Department of Public Health (CDPH) issued a Drug Overdose

         17   Health Alert on April 8, 2016 entitled "Fentanyl-Contaminated Street Norco." This alert

         18   described the report of 48 overdoses and at least 10 deaths over a 10-day period in Sacramento

         19    County that appear to be associated with the consumption of a counterfeit version of the

         20   prescription drug Norco (acetaminophen and hydrocodone) contaminated with fentanyl. In Los

         21   Angeles County, there has been a concerning increase in reported fentanyl-related deaths. While

         22   there were on average 40 fentanyl-related deaths reported each year from 2011-2013, there were

         23    62 reported deaths in 2014. The Los Angeles County Department of Public Health (LAC DPH)

         24   is concerned about a further increase in deaths due to the lethality of fentanyl and reports that it

         25   is being found in street drugs and in counterfeit prescription drugs. The deaths in Sacramento

         26   County further enhanced this concern.

         27            344.   Opioid deaths represent the tip of the iceberg. Hospital admissions and einergency

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                room visits have also skyrocketed.84 For every opioid overdose death, there are 10 treatlnent

           2    admissions for abuse, 32 emergency room visits, 130 people who are addicted to opioids, and

           3    825 nonmedical users of opioids.85 And as reported in May 2016, in California, opioid

           4    overdoses resulting in hospital visits increased by 25% (accounting for population growth) from

            5   2011 to 2014.

            6            345.   Even Plaintiffs' youngest residents bear the consequences of the opioid abuse

            7   epidemic fueled by Defendants' conduct. In 1992, only 2 percent of women admitted for drug

                treatment services during pregnancy abused opioids. By 2012, opioids were the most cominonly

                abused substance by pregnant women, accounting for 38 percent of all drug treatment

           10   admissions.86 Many women in Plaintiffs' communities have become addicted to prescription
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           11   opioids and have used these drugs during their pregnancies. As a result, many infants in
,-7 3
43         12   Plaintiffs' communities suffer from opioid withdrawal and Neonatal Abstinence Syndrome
::~ F' a
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~WW        13   ("NAS"). 87

~~~        14            346.   The impact of NAS can be life-long. Most NAS infants are immediately
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           15   transferred to a neonatal intensive care unit for a period of days, weeks, or even months. NAS
O~
P4         16   can also require an emergency evacuation for care to save the infant's life. Such emergency

           17   transportation can cost thousands of dollars for each occurrence.

           18            347.   Many NAS infants have short-term and long-term developmental issues that

           19
                84 Lisa Girion and Karen Kaplan, Opioids prescribed by doctors led to 92, 000 overdoses in ERs
           20   in one year, LA Times (Oct. 27, 2014), available at http://beta.latimes.coln/nation/la-sci-sn-
                opioid-overdose -prescription-hospital-er-20141026-story.html (last accessed December 21,
           21   2017).
                85 Jennifer DuPuis, Associate Dir., Human Servs. Div., Fond du Lac Band of Lake Superior
           22   Chippewa, The Opioid Crisis in Indian Country, at 37, available at
                https•//www nihb.org/docs/06162016/Opioid%20Crisis%20Part%20in%20Indian%20Country.pd
           23   f(last accessed December 21, 2017); Gery P. Guy, Jr., et al., Emergency Department Visits
                Involving Opioid Overdoses, US., 2010-2014, Am. J. of Preventive Medicine (Jan. 2018),
           24   available at http://www.aj_pmonline.org/article/S0749-3797(17)30494-4/fulltext (last accessed
                December 21, 2017).
           25   86 Naana Afua Jumah, Rural, Pregnant and Opioid Dependent: A Systematic Review, National
                Institutes of Health, available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4915786/ (last
           26   accessed December 21, 2017).
                87 Jean Y, Ko et al., CDC Grand Rounds, Public Health Strategies to Prevent Neonatal
           27   Abstinence Syndrome, U.S. C.D.C. Morbidity and Mortality Weekly Report, available at
                https://www.cdc.gov/mmwr/volumes/66/wr/pdfs/mm6609a2.pdf (last accessed December 21,
           28   2017).
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       1   prevent them from meeting basic cognitive and motor-skills milestones. Many will suffer from

       2   vision and digestive issues; some are unable to attend full days of school. These disabilities

       3   follow these children through elementary school and beyond.

       4            348.   Many of the parents of these children continue to relapse into prescription opioid

       5   use and abuse. As a result, many of these children are placed in foster care or adopted.

       6            349.   Opioid addiction is now the primary reason that Californians seek substance

       7 I abuse treatment, and admissions to drug treatment facilities in California lnore than doubled

       8   from 2006/2007 to 2010/2011. Addiction treatment centers indicate that many of their patients —

       9   for one facility in northern California, up to 90% — started on legal opioid prescriptions.

      10            350.   The explosion in opioid prescriptions and use caused by Defendants has led to a

      11   public health crisis in California. California faces skyrocketing opioid addiction and opioid-

      12   related overdoses and deaths as well as devastating social and economic consequences. This

      13   public health crisis is a public nuisance because it "is injurious to health" and interferes "with the

      14   comfortable enjoyment of life and property" (Civ. Code, § 3479) and because it affects "entire

      15   communit[ies]" and "neighborhood [s] " and "any considerable number of persons" (id., § 3480).

      16   The effects of each Defendant's deceptive marketing and distribution scheme are catastrophic

      17   and are only getting worse.

      18            351.   There is little doubt that each Defendant's deceptive marketing and distribution

      19   scheme has precipitated this public health crisis in California, including in Plaintiffs'

      20   communities, by dramatically increasing opioid prescriptions and use. An oversupply of

      21   prescription opioids has provided a source for illicit use or sale of opioids (the supply), while the

      22   widespread use of opioids has created a population of patients physically and psychologically

      23   dependent on them (the demand). And when those patients can no longer afford or legitimately

      24   obtain opioids, they often turn to the street to buy prescription opioids or even heroin.

      25            352.   The effects of Defendants' deceptive marketing and distribution scheme has

      26   further impacted Plaintiffs in a foreseeable way such that Plaintiffs must devote increased

      27   resources to the burden of the addicted homeless who commit drug and property crimes, to feed

      28   their addiction. For example, tax dollars are required to maintain public safety of places where
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       1   the addicted hoineless atteinpt to congregate, including parks, schools and public lands. Tax

       2   dollars are required to fight the infectious diseases frequently carried by addicts, and particularly

       3   the addicted homeless. Hepatitis B and C, HIV, sexually transmitted disease and methicillin-

       4   resistant Staphylococcus aureus (1VIRSA) are spread by opioid abuse.

       5           353.    Unscrupulous opioid rehabilitation businesses, including certain DOE

       6   Defendants, have recruited addicts nationally with false and misleading promises of the

       7   medically supervised rehabilitation to help addicts overcome their addiction. The promotion

       8   claimed that there was effective rehabilitation available in beautiful California communities.

       9   These for-profit rehabilitation businesses failed to provide proper rehabilitation facilities.

      10   Investigations revealed that many have provided substandard care including use of physicians

      11   who have had their license revoked, operating staffs which do not actually supervise patients,

      12   and facilities that do not operate programs for addicts. Instead these facilities bring addicts to

      13   California, provide substandard care as long as there are third parry payments available, and then

      14   throw them out of the facilities to be homeless. These addicts brought to California by the

      15   substandard rehab industry, have further contributed to the public's burden by discharging

      16   addicted homeless into the community who require further care and rehabilitation at the public's

      17   expense, and who commit crimes in California in order to further feed their addiction. The

      18   manufacturer and distributor Defendants were aware at all relevant times when they deceptively

      19   marketed their products as non-addictive that such addiction would be highly difficult to

      20   overcome. Defendants knew or should have known that municipalities, including in Plaintiffs'

      21   communities, would bear the burden of costs associated with rehabilitation business of all types.

      22          354.    The role of Defendants' deceptive marketing and distribution scheme in causing

      23   this public health crisis has been well established. In her May 2014 testimony to the Senate

      24   Caucus on International Narcotics Control on behalf of the National Institutes of Health (NIH),

      25   Dr. Nora Volkow explained that "aggressive marketing by pharmaceutical companies" is "likely

      26   to have contributed to the severity of the current prescription drug abuse problem." And in

      27   August 2016, the former U.S. Surgeon General expressly connected the "urgent health crisis" to

      28   "heavy inarketing of opioids to doctors ... [m]any of [whom] were even taught — incorrectly —
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        1   that opioids are not addictive when prescribed for legitimate pain." California doctors, addiction

       2    treatment specialists, and law enforcement and public health officials confirm that prescription

        3   opioids lawfully prescribed by doctors have fueled this epidemic.

        4          355. Absent each Defendant's deceptive marketing scheme and improper distribution,

        5   opioid prescribing, use, misuse, abuse, and addiction would not have become so widespread, and

        6   the opioid epidemic that now exists would have been averted or much less severe.

        7          356.     By falsely downplaying the risks and grossly exaggerating the benefits of long-

        8   term opioid use through their deceptive marketing claims despite their knowledge of the falsity

        9   of those claims, and by improperly distributing prescription opioids as set forth herein,

       10   Defendants have not only engaged in false advertising, they have also created or assisted in the

       11   creation of a public nuisance. Every act of malfeasance committed by each Defendant since the

       12   late 1990s to the present is part of its deceptive marketing and distribution scheme and subjects

       13   that Defendant to liability for public nuisance because there is no statute of limitations for a

       14   public nuisance claim. See Cal. Civ. Code § 3490 ("No lapse of time can legalize a public

       15   nuisance, amounting to an actual obstruction of public right"); Wade v. Campbell, (1962) 200

       16   Ca1.App.2d 54, 61 ("the maintenance of a public nuisance may not be defended on the ground of

       17   laches or the statute of limitations").

       18           357.    Accordingly, Defendants' conduct, both individually and collectively, has

       19   violated and continues to violate the False Advertising Law, Cal. Bus. & Prof. Code, §§ 17500 et

      20    seq., and the Public Nuisance Law, Cal. Civ. Code, §§ 3479 and 3480. Plaintiffs do not seek to

      21    limit the ability of doctors in California to prescribe opioids. Plaintiffs do not ask this Court to

      22    weigh the risks and benefits of long-term opioid use. Instead, Plaintiffs seek an order requiring

      23    Defendants to cease their unlawful promotion and distribution of opioids, to correct their

      24    misrepresentations, and to abate the public nuisance they have created. To redress and punish

      25    Defendants' previous and current violations of law that cause and continue to cause harm to

      26    Plaintiffs and their residents, Plaintiffs seek a judgment requiring Defendants to pay civil

      27    penalties, and any fees or costs pennitted under law.

      28           358.     By this action, Plaintiffs further seek to recoup tax dollars spent already for the


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           consequences of Defendants' wrongful conduct in causing the opioid epideinic and crisis and its

       2   impact on this county and its communities, and to abate the opioid nuisance so Plaintiffs will not

       3   be required to spend further taxpayer dollars on the epidemic and crisis wrought by Defendants'

       4   wrongful conduct as alleged herein.

       5            359.   The rise in opioid addiction caused by Defendants' deceptive marketing scheme

       6   has also resulted in an explosion in heroin use. Almost 80% of those who used heroin in the past

       7   year previously abused prescription opioids. And as reported in May 2016, heroin overdose

       8   deaths in California spiked by 34% from 2011 to 2013.

       9            360.   Opioid abuse also contributes to a range of social problems including physical

      10   and mental consequences, crime, delinquency, and inortality. Other adverse social outcomes

      11   include child abuse and neglect, family dysfunction, criminal behavior, poverty, property

      12   damage, unemployment, and despair. More and more of Plaintiffs' resources are needed to

      13   combat these problems. Plaintiffs face a growing employment staffing problem, as critical

      14   services such as social services and victims' assistance programs have experienced high rates of

      15   employee turnover due to the opioid-related nature of the work. The prescription opioid crisis

      16   also diminishes Plaintiffs' available workforce, decreases productivity, increases poverty, and

      17   requires greater governmental expenditures by Plaintiffs.

      18            361.   The prescription opioid crisis has directly financially injured Plaintiffs. The crisis

      19   has led to an increased demand for, inter alia, security services (such as police, EMS, detention),

      20   child protective services, health services, clean-up services, and legal services. Plaintiffs have

      21   also had to hire additional staff and expend additional resources to manage the demand.

      22            362.   Plaintiffs' medical services have seen an increase in opioid-related health

      23   problems among Plaintiffs' residents, including, but not limited to, infants born with opioid-

      24   related medical conditions. This has resulted in increased demand, difficulty retaining staff, and

      25   increased expenses.

      26            363.   Plaintiffs have also suffered substantial financial damages in the form of lost

      27   productivity of Plaintiffs' employees and residents, lost economic activity, lost reputation and

      28   good will, and the lost opportunity for growth. These damages have been suffered and continue
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            1   to be suffered directly by Plaintiffs.

            2            364.   Many patients who become addicted to opioids will lose their jobs. Some will

            3   lose their homes and their families. Some will get treatment and fewer will successfully

            4   complete it; many of those patients will relapse, returning to opioids or some other drug. Of

            5   those who continue to take opioids, some will overdose — some fatally, some not. Others will die

            6   prematurely from related causes — falling or getting into traffic accidents due to opioid-induced

            7   somnolence; dying in their sleep from opioid-induced respiratory depression; suffering assaults

            8   while engaging in illicit drug transactions; or dying from opioid-induced heart or neurological

            9   disease.

           10            365.   Plaintiffs also have suffered substantial financial damages in the form of lost
~
           11   taxes paid by its residents and businesses as a result of lost earnings and productivity.
~3
           12            366.   While the use of opioids has taken an enormous toll on Plaintiffs and their
~d o
P-4 u, ¢   13   residents, Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11
~WW


    0      14   billion in revenue for drug companies like the Defendants. Indeed, on information and belief,
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r
           15   each Defendant experienced a lnaterial increase in sales, revenue, and profits from the unlawful
O~
P4         16   conduct described above.

           17            J.     The Statutes of Limitations Are Tolled and Defendants Are Estopped from
                                Asserting Statutes of Limitations As Defenses
           18

           19            367.   Defendants' conduct has continued from the early 1990s through today and

           20   remains ongoing. The continued tortious and unlawful conduct by the Defendants has caused a

           21   repeated or continuous injury. The damages have not occurred all at once but have continued to

           22   occur and have increased as time progresses. The tort is not completed nor have all the damages

           23   been incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants
           24   has not ceased. The public nuisance remains unabated.
           25            368.   Defendants are equitably estopped from relying upon a statute of limitations
           26   defense because they undertook efforts to purposefully conceal their unlawful conduct and
           27   fraudulently assure the public that they were undertaking efforts to comply with their obligations
           28
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            under the controlled substances laws, all with the goal of continuing to generate profits.

        2            369. For example, a Cardinal Health executive claimed that it uses "advanced

        3   analytics" to monitor its supply chain, and assured the public it was being "as effective and

        4   efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

        5   activity."88

        6            370. Similarly, McKesson publicly stated that it has a"best-in-class controlled

        7   substance monitoring program to help identify suspicious orders," and claimed it is "deeply

            passionate about curbing the opioid epidemic in our country."89

        9            371.   Defendants, through their trade associations, filed an amicus brief that represented

       10   that Defendants took their duties seriously, complied with their statutory and regulatory

       11   responsibilities, and monitored suspicious orders using advanced technology. 90

       12            372.   Defendants purposely concealed their wrongful conduct, including by assuring

       13   the public and governmental authorities that they were complying with their obligations and

       14   were acting to prevent diversion and drug abuse. Defendants also misrepresented the impact of

       15   their behavior by providing the public with false information about opioids and have continued

       16   to use Front Groups and third parties to minimize the risks of Defendants' conduct. Defendants'

       17   conduct is continuing to this day.

       18            373.   Defendants have also concealed and prevented discovery of information,

       19   including until recently data from the ARCOS database, which will confirm their identities and

      20    the extent of their wrongful and illegal activities.

      21
      22    88Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal
            Users: "No One Was Doing Their Job, " Wash. Post (Oct. 22, 2016), available at
      23    https://www.washin onpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-
            the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11 e6-8ff7-
      24    7b6c1998b7a0_stor, .~ (last accessed December 21, 2017)
               Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency
      25    Tried to Curb Opioid Abuse, Wash. Post, (Dec. 22, 2016), available at
            https://www.washin onpost.com/investigations/key-officials-switch-sides-from=dea-to-
      26    pharmaceutical-industry/2016/12/22/55d2e938-c07b-1 le6-b527-949c5893595e story.htinl (last
            accessed December 21, 2017).
      27    90 Br. for Healthcare Distribution Mgmt. Ass'n and Nat'1 Ass'n of Chain Drug Stores as Amici
            Curiae in Support of Neither Party, Case No. 15-1335, 2016 WL 1321983, at *3-4, *25 (filed in
      28    the 2d Cir. Apr. 4, 2016).
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        1            374.   Defendants also lobbied Congress and actively attempted to halt DEA

        2   investigations and enforcement actions and to subvert the ability of agencies to regulate their

        3   conduct.91 As a result, there was a sharp drop in enforcement actions and the standard for the

        4   DEA to revoke a distributor's license was raised.

        5            375.   In addition, the Defendants fraudulently attempted to convince the public that

        6   they were complying with their legal obligations and working to curb the opioid epidemic.

        7            376.   Because the Defendants concealed the facts surrounding the opioid epidemic,

        8   Plaintiffs did not know if the existence or scope of the Defendants' misconduct, and could not

        9   have acquired such knowledge earlier through the exercise of reasonable diligence.

       10            377.   Defendants intended that their false statements and omissions be relied upon,

       11   including by Plaintiffs and their residents.

       12            378.   Defendants knew of their wrongful acts and had material information pertinent to

       13   their discovery, but concealed that information from the public, including Plaintiffs and their

       14   residents. Only Defendants knew of their widespread misinformation campaign and of their

       15   repeated, intentional failures to prevent opioid diversion.

       16            379.   Defendants cannot claim prejudice due to a late filing because this suit was filed

       17   upon discovering the facts essential to the claim. Indeed, the existence, extent, and damage of the

       18   opioid crisis have only recently come to light.

       19            380.   Defendants had actual knowledge that their conduct was deceptive, and they

      20    intended it to be deceptive.

      21             381.   Plaintiffs were unable to obtain vital information regarding these claims absent

      22    any fault or lack of diligence on Plaintiffs' part.

      23    V.       FACTS PERTAINING TO DEFEI+IDANTS' COleISPIRACY

      24             A.     The 10'Iarketing Scheme

      25             382.   Knowing that their opioids were highly addictive, ineffective, and unsafe for the

      26    treatment of long-term, chronic pain, non-acute, and non-cancer pain, Manufacturer Defendants

      27

       28 II 91 See Higham and Bernstein, supra note 55.
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        1   conspired with the Front Groups and KOLs described above to engage in a scheme to increase

        2   their profits and sales unlawfully, and grow their share of the prescription painkiller market,

        3   through repeated and systematic misrepresentations about the safety and efficacy of opioids for

        4   treating long-term, chronic pain. Through their personal relationships, the members of this

        5   marketing scheme had the opportunity to form and take actions in furtherance of their common

        6   purpose. The Manufacturer Defendants' substantial financial contribution to the marketing

        7   scheme, and the advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.

        8            383.   The Manufacturer Defendants, through their marketing scheme, concealed the

        9   true risks and dangers of opioids from the medical community and the public, including

       10   Plaintiffs, and made misleading statements and misrepresentations about opioids that

       11   downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading

       12   statements included, among others, that: (a) addiction is rare among patients taking opioids for

       13   pain; (b) addiction risk can be effectively managed; (c) symptoms of addiction exhibited by

       14   opioid patients are actually symptoms of an invented condition the Manufacturer Defendants

       15   named "pseudoaddiction"; (d) withdrawal is easily managed; (e) increased dosing presents no

       16   significant risks; (f) long-term use of opioids improves function; (g) the risks of alternative forms

       17   of pain treatment are greater than the adverse effects of opioids; (h) use of time-released dosing

       18   prevents addiction; and (i) abuse-deterrent formulations provide a solution to opioid abuse.

       19            384.   The marketing scheme devised, implemented and conducted by the Manufacturer

      20    Defendants was designed to ensure that they unlawfully increased their sales and profits through

      21    concealment and misrepresentations about the addictive nature and effective use of their drugs.

      22    The Manufacturer Defendants, the Front Groups, and the KOLs acted together for a common

      23    purpose and perpetuated the marketing scheme, including through the unbranded promotion and

      24    marketing network as described above.

      25             385.   There was regular communication between the Manufacturer Defendants, Front

      26    Groups and KOLs, in which information was shared, misrepresentations coordinated, and

      27    payments exchanged. Typically, the coordination, communication and payment occurred, and

      28    continues to occur, through the repeated and continuing use of the wires and mail in which the
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       1   Manufacturer Defendants, Front Groups, and KOLs share information regarding overcoming

       2   objections and resistance to the use of opioids for chronic pain. The Manufacturer Defendants,

       3   Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the

       4   marketing schelne, and each agreed and took actions to hide the scheme and continue its

       5   existence.

       6            386.   At all relevant times, the Front Groups were aware of the Manufacturer

       7' Defendants' conduct, were knowing and willing participants in and beneficiaries of that conduct.

       8   Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in

       9   the same marketing scheme, to the detriment of consumers, prescribers, and Plaintiffs. But for

      10   the Manufacturer Defendants, Front Groups and KOLs' unlawful fraud, the Front Groups would

      11   have had incentive to disclose the deceit by the Manufacturer Defendants and the marketing

      12   scheme to their members and constituents. By failing to disclose this information, Front Groups

      13   perpetuated the marketing scheme, and reaped substantial benefits.

      14            387.   At all relevant times, the KOLs were aware of the Manufacturer Defendants'

      15   conduct, were knowing and willing participants in that conduct, and reaped benefits from that

      16   conduct. The Manufacturer Defendants selected KOLs solely because they favored the

      17   aggressive treatment of chronic pain with opioids. The Manufacturer Defendants' support helped

      18   the KOLs become respected industry experts. And, as they rose to prominence, the KOLs falsely

      19   touted the benefits of using opioids to treat chronic pain, repaying the Manufacturer Defendants

      20   by advancing their marketing goals. The KOLs also knew, but did not disclose, that the other

      21   KOLs and Front Groups were engaged in the same marketing scheme, to the detriment of

      22   consumers, prescribers, and Plaintiffs. But for the Manufacturer Defendants, Front Groups and

      23   KOLs' unlawful conduct, the KOLs would have had incentive to disclose the deceit by the

      24   Manufacturer Defendants and the marketing scheme, and to protect their patients and the patients

      25   of other physicians. By failing to disclose this information, KOLs furthered the marketing

      26   scheme, and reaped substantial benefits.

      27            388.   As public scrutiny and media coverage focused on how opioids ravaged

      28   cominunities in California and throughout the United States, the Front Groups and KOLS did not
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       1   challenge the Manufacturer Defendants' misrepresentations, seek to correct their previous

       2   misrepresentations, terminate their role in the marketing scheme, nor disclose publicly the risks

       3   of using opioids for chronic pain.

       4            389. The Manufacturer Defendants, Front Groups and KOLs engaged in certain

       5   discrete categories of activities in furtherance of the marketing scheme. As described herein, the

       6 I Manufacturer Defendants, Front Groups and KOLs' conduct in furtherance of the common

       7   purpose of the marketing scheme involved: (a) misrepresentations regarding the risk of addiction

       8   and safe use of prescription opioids for long-term chronic pain (described in detail above); (b)

       9   lobbying to defeat measures to restrict over-prescription; (c) efforts to criticize or undermine

      10   CDC guidelines; and (d) efforts to limit prescriber accountability.

      11            390.   In addition to disseminating misrepresentations about the risks and benefits of

      12   opioids, Manufacturer Defendants, Front Groups and KOLs also furthered their common

      13   purpose by criticizing or undermining CDC guidelines. Manufacturer Defendants, Front Groups

      14   and KOLs criticized or undermined the CDC Guidelines which represented "an important step —

      15   and perhaps the first major step from the federal government - toward limiting opioid

      16   prescriptions for chronic pain."

      17            391.   Several Front Groups, including the U.S. Pain Foundation and the AAPM,

      18   criticized the draft guidelines in 2015, arguing that the "CDC slides presented on Wednesday

      19   were not transparent relative to process and failed to disclose the names, affiliation, and conflicts

      20   of interest of the individuals who participated in the construction of these guidelines."

      21            392.   The AAPM criticized the prescribing guidelines in 2016, through its immediate

      22   past president, stating "that the CDC guideline makes disproportionately strong

      23   recommendations based upon a narrowly selected portion of the available clinical evidence."

      24            393.   The Manufacturer Defendants alone could not have accomplished the purpose of

      25   the marketing scheme without the assistance of the Front Groups and KOLs, who were perceived

      26   as "neutral" and more "scientific" than the Manufacturer Defendants themselves. Without the

      27   work of the Front Groups and KOLs in spreading misrepresentations about opioids, the

      28   marketing scheme could not have achieved its common purpose.
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        1            394.   The impact of the marketing scheme remains in place—i.e., the opioids continue

        2   to be prescribed and used for chronic pain throughout Plaintiffs' communities, and the epidemic

        3 I continues to injure Plaintiffs, and consume the resources of Plaintiffs' health care and law

        4 I enforcement systems.

        5            395.   As a result, it is clear that the Manufacturer Defendants, the Front Groups, and the

        6 I KOLs were each willing participants in the marketing scheme, had a common purpose and

        7 I interest in the object of the scheme, and functioned within a structure designed to effectuate the

        8   scheme's purpose.

        9            B.     The Distribution Scheme

       10            396.   Faced with the reality that they will now be held accountable for the

       11   consequences of the opioid epidemic they created, members of the industry resort to "a

       12   categorical denial of any criminal behavior or intent."92 Defendants' actions went far beyond

       13   what could be considered ordinary business conduct. For more than a decade, the Distributor

       14   Defendants worked together in an illicit enterprise, engaging in conduct that was not only illegal,

       15   but in certain respects anti-competitive, with the common purpose and achievement of vastly

       16   increasing their respective profits and revenues by exponentially expanding a market that the law

       17   intended to restrict.

       18            397.   Knowing that dangerous drugs have a limited place in our society, and that their

       19   dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

       20   abuse and addiction causes to individuals, society and governments, California enacted

       21   California Business and Professions Code §§ 4164 and 4169.1, and adopted 16 CCR § 1782,

       22   which require Defendants to report suspicious orders of dangerous drugs subject to abuse and to

       23   maintain systems to detect and report such activity.

       24            398.   If morality and the law did not suffice, competition dictates that the Distributor

       25   Defendants would turn in their rivals when they had reason to suspect suspicious activity.

       26
       27   92 McKesson Responds to Recent 60 Minutes Story About January 2017 Settlement With the
            Federal Government, McKesson, available at http://www.mckesson.com/about-
       28   lnckesson/fighting-opioid-abuse/60-lninutes-response (last visited Apr. 21, 2018).
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       1    Indeed, if a manufacturer or distributor could gain market share by reporting a competitor's

       2    illegal behavior (causing it to lose a license to operate, or othei-wise inhibit its activity), ordinary

       3 I business conduct dictates that it would do so.

       4             399. The Distributor Defendants' scheme required the participation of all. If any one

       5    member broke rank, its compliance activities would highlight deficiencies of the others, and the

       6    artificially high quotas they maintained through their scheme would crumble. But, if all the

       7    members of the enterprise conducted themselves in the same manner, it would be difficult for

        8   California authorities or the DEA to go after any one of them. Accordingly, through the

       9    connections they made as a result of their participation in the Healthcare Distribution Alliance

       10   ("HDA"), the Distributor Defendants chose to flout the closed systeln designed to protect the

      11    citizens. Publicly, in 2008, they announced their formulation of "Industry Compliance

      12    Guidelines: Reporting Suspicious Orders and Prevention Diversion of Controlled Substances."

      13    But, privately, the Distributor Defendants refused to act. Indeed, despite the issuance of these

      14    Industry Compliance Guidelines, which recognize these Defendants' duties under the law, as

      15    illustrated by the subsequent industry-wide enforcement actions and consent orders issued after

      16    that time, none of them complied. John Gray, President and CEO of the HDA said to Congress in

      17    2014, it is "difficult to find the right balance between proactive anti-diversion efforts while not

       18   inadvertently limiting access to appropriately prescribed and dispensed medications." Yet, the

      19    Distributor Defendants apparently all found the same profit-maximizing balance — intentionally

      20    remaining silent to ensure the largest possible financial return.

      21             400.   As described above, at all relevant times, the Distributor Defendants conspired

      22    together for the purpose of unlawfully increasing sales, revenues and profits. In support of this

      23    common purpose and fraudulent scheme, the Distributor Defendants jointly agreed to disregard

      24    their common law and statutory duties to identify, investigate, halt and report suspicious orders

      25    of opioids and diversion of their drugs' into the illicit market so that those orders would not result

      26    in a decrease, or prevent an increase in, the necessaly quotas.

      27             401.   At all relevant times, as described above, the Distributor Defendants exerted

      28    control over, conducted and/or participated in distribution scheme by fraudulently claiming that
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                they were complying with their duties under California law to report suspicious orders and to

            2   maintain systems to detect and report such activity.

                         402.   While participating in their distribution scheme, Distributor Defendants applied

            4   political pressure at the state and federal level to limit regulators' ability to quickly and

            5   effectively police suspicious drug shipments. As part of these efforts, the Distributor Defendants

            6   lobbied Congress to pass the "Ensuring Patient Access and Effective Drug Enforcement Act."93

            7            403.   The Distributor Defendants knowingly and intentionally furnished false or

                fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

            9   material information from reports, records and other document required to be filed with the

           10   California Board of Pharmacy and the DEA including the Manufacturer Defendants'
~
           11   applications for production quotas. Specifically, the Distributor Defendants were aware of
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~Ha
           12   suspicious orders of prescription opioids and the diversion of their prescription opioids into the
P-~ cn ¢   13   illicit market, and failed to report this information to the California Board of Pharmacy and the
~WW

   0       14   DEA in their mandatory reports.
   H
           15   VI.      THE SACKLER DEFENDANTS
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P4         16            A.     The Sackler Family Integrated Advertising and Medicine

           17            404.   Given the history of opioid abuse in the United States and the medical

           18   profession's resulting wariness, the commercial success of Defendants' prescription opioids

           19
                        93 HDMA is Now the Healthcare Distribution Alliance, Pharmaceutical Commerce,
           20   available at http://phailnaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-
                distribution-alliance/ (last updated July 6, 2016); Lenny Bernstein & Scott Higham, Investigation:
           21   The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post (Oct.
           22   22, 2016), available at https://www.washingtonpost. com/investiaations/the-dea-slowed-
                enforcement-while-the- opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-1 le6-
           23   8d13- d7c704ef9fd9 story.html (last accessed December 21, 2017); Lenny Bernstein & Scott
                Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid
           24   Opioid Crisis, Wash. Post (Mar. 6, 2017), available at
                https://www.washin onpost.com/investigations/us-senator-calls-for-investigation-of-dea-
           25
                enforcelnent-slowdown/2017/03/06/5846ee60-028b-11e7-ble9-a05d3c21f7cf story.html (last
           26   accessed December 21, 2017); Eric Eyre, DEAAgent.• "We Had no Leadership" in WVAmid
                Flood of Pain Pills, Charleston Gazette-Mail (Feb. 18, 2017), available at
           27   http://www.wvaazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-
                flood-of-pain-pills- (last accessed December 21, 2017).
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        1   would not have been possible without a fundamental shift in prescribers' perception of the risks

        2   and benefits of opioid use.

        3            405. As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

        4   thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole owner of

        5   Purdue and one of the wealthiest families in America, with a net worth of $13 billion as of 2016.

        6   All of the company's profits go to Sackler family trusts and entities. David Armstrong, The Man

        7   at the Center of the Secret OxyContin Files, STAT News (May 12, 2016),

        8   https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/. Yet the Sacklers

        9   have avoided publicly associating themselves with Purdue, letting others serve as the

       10   spokespeople for the company.

       11            406.   The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

       12   patent-medicine company called The Purdue Frederick Company, Inc. in 1952. It was Arthur

       13   Sackler who created the pharmaceutical advertising industry as we know it, laying the

       14   groundwork for the OxyContin promotion that would make the Sacklers billionaires.

       15            407.   Arthur Sackler was both a psychiatrist and a marketing executive. He pioneered

       16   both print advertising in medical journals and promotion through physician "education" in the

       17   form of seminars and continuing medical education courses. He also understood the persuasive

       18   power of recommendations from fellow physicians, and did not hesitate to manipulate

       19   information when necessary. For example, one promotional brochure produced by his firm for

      20    Pfizer showed business cards of physicians from various cities as if they were testimonials for

      21    the drug, but when a journalist tried to contact these doctors, he discovered that they did not

      22    exist. Barry Meier, Pain Killer: A"Wonder" Drug's TYail ofAddiction and Death (Rodale

      23    2003) (hereinafter "Meier"), at 204.

      24             408.   It was Arthur Sackler who, in the 1960s, made Valium into the first $100-million

      25    drug, so popular it became known as "Mother's Little Helper." When Arthur's client, Roche,

      26    developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the market

      27    for treatment of anxiety. So Arthur invented a condition he called "psychic tension"—essentially

      28    stress—and pitched Valium as the solution. Id. at 202; see also One Family Reaped Billions
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       1    From Opioids, WBUR On Point (Oct. 23, 2017), http://www.wbur.org/onpoint/2017/10/23/one-
       2   family-reaped-billions-from-opioids. The campaign, for which Arthur was compensated based

       3   on volulne of pills sold, was a remarkable success. Meier, supra, at 201-203.

       4            409. Arthur Sackler created not only the advertising for his clients but also the vehicle

       5   to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune,

       6   which was distributed for free to doctors nationwide. Arthur also conceived a company now

       7    called IMS Health Holdings Inc., which monitors prescribing practices of every doctor in the

       8    United States and sells this valuable data to pharmaceutical companies like Marketing

       9   Defendants, who utilize it to target and tailor their sales pitches to individual physicians.

      10            B.     Purdue and the Development of OayContin

      11            410.   After the Sackler brothers acquired The Purdue Frederick Company, Inc. in 1952,

      12    Purdue sold products ranging from earwax remover to antiseptic, and it became a profitable

      13    business. As an advertising executive, Arthur Sackler was not involved, on paper at least, in

      14    running Purdue, which would have been a conflict of interest. Raymond Sackler became

      15    Purdue's head executive, while Mortimer Sackler ran Purdue's UK affiliate.

      16            411.   In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

      17   that had developed a sustained-release technology suitable for morphine. Purdue marketed this

      18    extended-release morphine as MS Contin, and it quickly became Purdue's bestseller. As the

      19   patent expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that

      20   time, Raymond's oldest son, Richard Sackler, who was also a trained physician, became more

      21    involved in the management of the company. Richard Sackler had grand ambitions for the

      22    company, and according to a long-time Purdue sales representative, "Richard really wanted

      23   Purdue to be big—I mean really big."94 Richard Sackler believed Purdue should develop another

      24    use for its "Contin" timed release system.

      25            412.   Iri 1990, Plaintiffs are informed and believe that Purdue's vice president of

      26 I clinical research, Robert Kaiko, sent a memo to Richard Sackler and other executives
      27
           94 Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
      28   (Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sacklerfamily- oxycontin%.
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            1   recommending that the company work on a pill containing oxycodone. At the time, oxycodone

            2   was perceived as less potent than morphine, largely because it was most commonly prescribed as

            3   Percocet, a relatively weak oxycodone-acetaminophen combination pill. MS Contin was not only

            4   approaching patent expiration but had always been limited by the stigma associated with

            5   morphine. Oxycodone did not have that problem, and what's more, it was sometimes mistakenly

            6   called "oxycodeine," which also contributed to the perception of relatively lower potency,

            7   because codeine is weaker than morphine. Purdue acknowledged using this to its advantage

            8   when it later pled guilty to criminal charges of "misbranding" in 2007, admitting that it was

            9   "well aware of the incorrect view held by many physicians that oxycodone was weaker than

           10   morphine" and "did not want to do anything `to make physicians think that oxycodone was
~
           11   stronger or equal to morphine' or to `take any steps ... that would affect the unique position that
,a-13
z~         12   OxyContin"' held among physicians.
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P-4 u, Q   13            C.     'The Sackler Family and the Purdue Board
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Cf)~~      14            413.   Plaintiffs are informed and believe that eight members of a single family made
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           15   many of the choices that caused much of the opioid epidemic: Richard Sackler, Jonathan D.
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P4         16   Sackler, Ilene Sackler Lefcourt, Kathe Sackler, Beverly Sackler, Mortimer D.A. Sackler, Theresa

           17   Sackler, and David Sackler. The Sacklers were, in the words of one long-time company

           18   executive, the "de facto CEO" of Purdue. As members of the Purdue Board and the boards of

           19   various Purdue entities, the Sacklers oversaw all aspects of Purdue's marketing and promotion of

           20   opioid products. As board members who were personally active in overseeing and directing

           21   Purdue's operations, the Sackler Defendants knew, or should have known, of Purdue's deceptive

           22   marketing tactics for its opioid products. Moreover, an ordinarily prudent person, knowing what

           23   the Sackler Defendants knew during their time on the Purdue Board and the boards of other

           24   Purdue entities, would not have acted similarly under the circumstances. See Frances T. v. Vill.

           25   Green OwnersAss'n., 42 Cal. 3d 490, 508-09 (1986).

           26            414.   Since at least 1999, Plaintiffs are informed and believe that the Sackler

           27   Defendants were aware of potential liability for Purdue, as well as those acting in concert with

           28   Purdue, because of the addictive nature of Oxycontin. Intending to shield the proceeds of their
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        1   wrongdoing from creditors, the Sackler Defendants have stripped Purdue each and every year of

        2   hundreds of millions of dollars of profits from the sale of Oxycontin and other opioid-containing

        3   medications. All such transfers were and are fraudulent and all such transferred funds should be

        4   clawed back from the Sackler Defendants in order to satisfy the opioid related liabilities of the

        5   companies from which they were transferred.

        6            415.   Plaintiffs are inforined and believe that the Sackler Defendants'

        7   microlnanagement of Purdue was so intrusive that Purdue staff begged for relief. As one officer

        8   wrote to the CEO: "Anything you can do to reduce the direct contact of Richard into the

        9   organization is appreciated." To convince the Sackler Defendants to make him CEO, Craig

       10   Landau wrote a business plan in May 2017 that he titled: "SACKLER PIIARMA

       11   ENTERPRISE," which admitted that the Sacklers in fact controlled Purdue "with the Board of

       12   Directors serving as the `de-facto' CEO." Several months later, the Sacklers made Mr. Landau

       13   CEO. The Sackler Defendants concealed their ongoing, extensive involvement with Purdue and

       14   its sales and marketing practices

       15            416.   As reports of overdoses and deaths flowed into the company, Plaintiffs are

       16   informed and believe that the Sacklers sought to protect their profits by blaming addicts and

       17   doubling down on Purdue's aggressive marketing tactics. Once the opioid epidemic had

       18   undeniably materialized and opioid prescribing began to decline, the Sacklers planned to replace

       19   lost revenue by moving into new product ventures: drugs to treat opioid overdose and opioid

      20    addiction. This expansion was characterized as the logical coverage of a"spectrum" in which

      21    Purdue could be the "end-to-end pain provider."

      22             417.   Plaintiffs are informed and believe that the Sackler Defendants also were aware of

      23    specific examples of deceptive marketing through receipt of call note reviews in their capacities

      24    as members of the Purdue Board and the boards of other Purdue entities. On information and

      25    belief, the Sacklers received reports of opioid overdoses and reports of misuse and abuse in their

      26    capacities as board members. Adverse event reports circulated to the Sacklers included reports of

      27    abuse, addiction, withdrawal, overdoses, and deaths from OxyContin.

      28             418.   Plaintiffs are informed and believe that the Sackler Defendants were personally
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       1   aware that: (1) OxyContin was being prescribed without proper care; (2) OxyContin was widely

       2   abused, including orally, and not just through snorting or injecting; (3) Purdue failed to

       3   adequately disclose the risks of abuse and diversion; and (4) OxyContin was wrongly, and

       4   dangerously, perceived as safer than morphine.

       5            419.   In the mid-2000s, federal and state law enforcement began investigating Purdue

       6   for deceptively marketing and misbranding OxyContin. During the time period covered by the

       7   investigation, at least three Sackler board members were among the highest executives inside the

       8   company: Richard Sackler was Chief Executive Officer, and Jonathan and Kathe Sackler were

       9   Vice Presidents. As explained below, they and their family members were intimately involved in

      10   the launch of OxyContin and the marketing campaigns that led to the explosion of

      11   overprescribing.

      12            420.   By 2006, prosecutors at the United States Department of Justice found damning

      13   evidence that Purdue intentionally deceived doctors and patients about its opioids. The Sackler

      14   Defendants voted that Defendant The Purdue Frederick Company, Inc. should plead guilty to a

      15   felony for misbranding OxyContin as less addictive, less subject to abuse and diversion, and less

      16   likely to cause adverse events and side effects than other pain medications.

      17            421.   After the 2007 Purdue Judgment, Plaintiffs are informed and believe that the

      18   Sacklers directed and approved the hiring of a large sales force. They were deeply involved in

      19   guiding the strategy behind the marketing plans that directed these representatives. The Sacklers

      20   met regularly as members of the Purdue Board and received detailed briefings from the staff not

      21   just on the company's finances, but on the size, distribution, daily activities, tactics, and

      22   compensation of the sales force. The Sacklers approved routine increases in the number of sales

      23   representatives and increases to their compensation, all while receiving detailed briefings on the

      24   contents of representatives' sales pitches and delivering unequivocal orders to meet the family's

      25   strategic imperatives: visit prescribers more frequently, and convince them to write more opioid

      26   prescriptions, over longer periods of therapy, at increasingly high doses.

      27            422.   As members of the family that owns Purdue, the Sackler Defendants personally

      28   benefitted from the success of OxyContin. At various points, as directors, they approved the
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        1   distribution of funds from Purdue to shareholders, including themselves and their extended

        2   family.

        3             423.   Plaintiffs are informed and believe that due to the billions of dollars in profits that

        4   have been distributed to the Sackler Defendants since the 1980's, Purdue lacks sufficient assets

        5   to satisfy its liabilities to Plaintiffs and to the multitude of other plaintiffs that have commenced

        6   litigation against Purdue nationwide for its role in creating the opioid epidemic. Accordingly, the

        7   Sackler Defendants have knowingly participated in the wrongdoing of Purdue, as well as

        8   knowingly profited and received the benefits of that wrongdoing.

        9             424.   Even today, at the height of the opioid epidemic, Plaintiffs are informed and

       10   believe that the Sacklers seek to obscure their culpability for this crisis. The Sacklers have

       11   attempted to distance themselves from their company, and have directed Purdue to distance itself

       12   from its past misconduct. The Sacklers approved corporate messaging intended to portray

       13   Purdue as a responsible corporate citizen by depicting the opioid epidemic as principally a

       14   problem of illicit drug diversion and abuse, not overprescribing and addiction; falsely promoting

       15   the safety of Purdue's abuse-deterrent formulations; and touting Purdue's efforts to rein in

       16   diversion, even as the company failed to meaningfully investigate or report suspicious

       17   prescribing. The Sacklers received regular updates on just how many reports of suspicious

       18   prescribing-"Reports of Concern"-were coming into the company, but stood by as Purdue failed

       19   to report nearly all of these to authorities. And the Sacklers hid behind the perception that they

      20    were a normal board, one that was not steeped in the details of Purdue's marketing but merely

      21    approved budgets and broad strategies.

      22              425.   In reality, the Sacklers were the architects and drivers of Purdue's promotional

      23    efforts. Plaintiffs are informed and believe that the Sacklers' communications were not limited to

      24    quarterly meetings of the Purdue Board. They were in touch with Purdue marketing employees

      25    throughout the year, at some points daily and on weekends-to the point that Purdue executives

      26    and staff felt harassed. The Sacklers' personal involvement in the running of the company was so

      27    long- and well-established that an implausible effort, in 2017, to issue a press statement denying

      28    the family's involvement in the company's affairs was abandoned. The initial draft statement-
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            "Sackler family lnembers hold no leadership roles in the companies owned by the family trust"-

        2   was watered down to "Sackler family members hold no management positions."

                     426.   Plaintiffs are informed and believe that the Sacklers knowingly and intentionally

       s    sent sales representatives to promote opioids to prescribers hundreds of thousands of times. The

            Sacklers knew and intended that the sales representatives would deceptively and misleadingly

        6   promote opioid sales, including by overstating the benefits and understating the risks. The

        7   Sacklers knew and intended that prescribers, pharmacists, and patients in would rely on Purdue's

        8   deceptive sales campaign to prescribe, dispense, and take Purdue opioids; securing that reliance

        9   was the purpose of the sales campaign. And the Sacklers knowingly and intentionally took

       10   money from Purdue's deceptive business, distributing billions of dollars in Purdue profits to

       11   themselves and other family members over the years.

       12            427.   Incredibly, the Sacklers are poised to profit from the public health crisis that they

       13   created. Richard Sackler was awarded a patent in January 2018 for a new formulation of

       14   buprenorphine-one of the most effective drugs used to treat opioid addiction. In his patent

       15   application, Dr. Richard Sackler described the background of his new invention:

       16                   Over the last decades, prejudices in the medical community as to
                            the use of strong opioids for treating chronic pain in patients has
       17
                            significantly decreased. Many of these prejudices were due to
       18                   some of the characteristics being inherent to opioids. While
                            opioids have always been known to be useful in pain treatment,
       19                   they also display an addictive potential in view of their
                            euphorigenic activity. Thus, if opioids are taken by healthy
      20                    human subjects with a drug seeking behavior, they may lead to
                            psychological as well as physical dependence.
      21

      22             428.   The application goes on to link addiction to crime before presenting his invention-
      23    in an echo of OxyContin marketing-as less prone to diversion and abuse than other treatment
      24    drugs. Buprenorphine sales in the United States topped $2.6 billion in 2017, and are expected to
      25    rise as the infrastructure and funding for addiction treatment expands to meet current and
      26    projected needs.
      27
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        1   VII. MISCELLANEOUS FACTUALALLEGATIONS

       2             429. FDA approval of opioids for certain uses did not give Defendants license to

        3   misrepresent the risks and benefits of opioids. Indeed, Defendants' misrepresentations were

       4    directly contrary to pronouncements by and guidance from the FDA based on the medical

        5 I evidence and their own labels.

        6            430.   Defendants' causal role in the opioid epidemic was not broken by the

        7   involvement of doctors. Defendants' marketing efforts were ubiquitous and highly persuasive.

        8   Their deceptive messages tainted virtually every source doctors could rely on for information

        9   and prevented them from making informed treatment decisions. Defendants also were able to

       10   harness and hijack what doctors wanted to believe — namely, that opioids represented a means of

       11   relieving their patients' suffering and of practicing medicine more compassionately.

       12            431.   Each Defendant's conduct and role in creating or assisting in the creation of the

       13   public health crisis now plaguing California is directly relevant to the amount of the civil

       14   penalties to be awarded under California Business & Professions Code § 17536.

       15   VIII. CAUSES OF ACTION

       16                                FIRST CAUSE OF ACTION
                 (Public Nuisance — Cal. Civ. Code §§ 3479-3480 —Against A11 Defendants)
       17

       18            432.   Plaintiffs reallege and incorporate herein by reference each and every allegation

       19   in paragraphs 1 through 431 above as if set forth fully herein.

      20             433.   California Civil Code § 3479 provides that "anything which is injurious to health

      21    ... or is indecent or offensive to the senses, or an obstruction to the free use of property, so as to
      22    interfere with the comfortable enjoyment of life or property ... is a nuisance."
      23             434.   California Civil Code § 3480 defines a"public nuisance" as "one which affects at
      24    the same time an entire community or neighborhood, or any considerable number of persons,
      25    although the extent of the annoyance or damage inflicted upon individuals may be unequal."
      26             435.   California Civil Code § 3490 states that "no lapse of time can legalize a public
      27    nuisance, amounting to an actual obstruction of public right."
      28
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        1              436. Pursuant to § 731 of the California Code of Civil Procedure, this action is brought

        2 I by Plaintiffs to abate the public nuisance created by the Defendants.

        3              437. Each Defendant, acting individually and in concert, has created or assisted in the

        4 I creation of a condition that is injurious to the health and interferes with the comfortable

        5     enjoyment of life and property of entire communities or neighborhoods or of any considerable

        6     number of persons in Plaintiffs in violation of California Civil Code §§ 3479 and 3480.

        7              438. The public nuisance is substantial and unreasonable. Defendants' actions caused

        8     and continue to cause the public health epidemic described above in Plaintiffs' communities, and

        9     that harm outweighs any offsetting benefit.

       10              439. Defendants knew and should have known that their promotion and distribution of

       11     opioids was false and misleading and that their deceptive marketing scheme would create or

       12     assist in the creation of the public nuisance—i.e., the opioid epidemic.

       13              440. Defendants' actions were, at the very least, a substantial factor in opioids

       14     becoming widely available and widely used. Defendants' actions were, at the very least, a

       15     substantial factor in deceiving doctors and patients about the risks and benefits of opioids for the

       16     treatment of chronic pain. Without Defendants' actions, opioid use, misuse, abuse, and addiction

       17     would not have become so widespread, and the opioid epidemic that now exists would have been

       18     averted or much less severe.

       19              441. The public nuisance—i.e., the opioid epidemic---created, perpetuated, and

      20      maintained by Defendants can be abated and further recurrence of such harm and inconvenience

      21      can be abated.

      22               442. Each Defendant is liable for public nuisance because its conduct at issue is

      23      intentional, unreasonable, and unlawful, and has created an epidemic which annoys, injures or

      24      endangers the safety, health, morals, comfort, or repose of a considerable number of people in

      25      Plaintiffs' communities. Defendants' conduct is also indecent or offensive to the senses, and

      26      constitutes an obstruction to the free use of property sufficient to constitute an interference with

      27      the Plaintiffs' residents' comfortable enjoyment of life or property.

      28 II            443. As more fully alleged in the preceding paragraphs of this Complaint, Defendants'
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       1   intentional and deliberately deceptive marketing strategy to expand opioid use, together with

       2   their equally deliberate efforts to evade restrictions on opioid distribution has caused substantial

       3   and unreasonable interference with Plaintiffs and their residents' public rights, including, but not

       4   limited to, the public's right to health, safety, welfare, peace, comfort, convenience, and ability

       5   to be free from disturbance and reasonable apprehension of danger to person or property.

       6           444.    Specifically, Manufacturer Defendants intentionally, unlawfully, and

       7   unreasonably interfered with Plaintiffs and their residents' public rights by, inter alia, engaging

       8   in a promotion and marketing scheme that pushed the use of opioids for indications not federally

       9   approved, and by circulating false and misleading information concerning their risks, benefits,

      10   and superiority, and/or downplaying or omitting the risk of addiction arising from their use. In so

      11   doing, Manufacturer Defendants failed to comply with federal law.

      12           445.    Defendants have also unlawfully and intentionally distributed opioids or caused

      13   opioids to be distributed within and without Plaintiffs' communities absent effective controls

      14   against diversion. Such conduct was illegal, and proscribed by statute and regulation.

      15   Defendants' failures to maintain effective controls against diversion include Defendants' failure

      16   to effectively monitor for suspicious orders, report suspicious orders, and/or stop shipment of

      17   suspicious orders.

      18           446.    Defendant's unreasonable interference with Plaintiffs' residents' public rights

      19   include, but are not limited to, the effects of addiction, abuse, elevated crime, deaths, and

      20   increased expenditures to combat and address these harms. Plaintiffs have also made payments

      21   for opioid addiction treatment. These damages have been suffered and continue to be suffered

      22   directly by Plaintiffs and their residents.

      23           447.    Defendants' actions have also created a palpable climate of fear, distress,

      24   dysfunction and chaos among Plaintiffs' residents where opioid diversion, abuse, and addiction

      25   are prevalent and where diverted opioids are used frequently. Specifically, Defendants conduct

      26   has caused, among other things, (a) routine separation of children from their parents who have

      27   fallen victim to easy access to opioids and/or related crime; (b) children to have easy access and

      28   to become addicted to opioids; (c) residents to endure both the emotional and financial costs of
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       1    caring for loved ones addicted to or injured by opioids; (d) increased crime and/or destruction of

       2    public spaces and property; (e) property crimes throughout Plaintiffs' communities; (f)

       3    employers to lose the value of productive and healthy employees; (g) increased public health and

       4    safety costs; (h) a decrease in property values within Plaintiffs' communities; and (g) a decrease

       5 I in tax revenues for Plaintiffs' communities.

       6             448.   The impact of Defendants' conduct on Plaintiffs and their residents is of a

       7 I continuing nature. Defendants' conduct will undoubtedly continue to cause long-lasting effects

       8    on their public rights.

       9             449.   Defendants knew or should have known that their actions would lead to the

      10    national opioid epidemic and to the resulting injuries to the public rights of Plaintiffs' residents.

      11             450.   Plaintiffs have sustained a special and peculiar injury because its damages

      12    include, inter alia, health service expenditures, public safety expenditures, payment of opioid

      13    addiction treatment, decreased tax revenues and property values, and other costs related to opioid

      14    addiction treatment and overdose prevention.

      15             451.   The externalized risks associated with Defendants' nuisance-creating conduct as

      16 I described herein greatly exceed the internalized benefits.

      17             452.   Defendants' actions are a direct and proximate contributing cause of the opioid

      18 I epidemic and the injuries to the public rights of Plaintiffs and their residents.

      19             453.   Defendants, individually and collectively, are at the very least, a substantial factor

      20    in causing the national opioid epidemic and of the injuries to Plaintiffs and their residents.

      21             454.   The injuries to the public rights of Plaintiffs and their residents are indivisible

      22    injuries.

      23             455.   Defendants' manufacture, marketing, distribution, and sale of prescription

      24 , opioids, if unabated, will continue to cause an unreasonable interference with public rights of

      25    Plaintiffs and their residents.

      26             456.   Defendants' conduct is ongoing and persistent, and Plaintiffs seek all damages

      27 ' flowing from Defendants' conduct. Plaintiffs seek econolnic losses (direct, incidental, and/or

      28    consequential pecuniary losses) resulting from Defendants' illegal and wrongful conduct
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       1 I described above. Plaintiffs do not seek damages for the wrongful death, physical personal injury,

       2     or emotional distress caused by Defendants' actions.

       3              457.   Pursuant to Code of Civil Procedure § 731, Plaintiffs request an order providing

       4     for abatement of the public nuisance that Defendants created or assisted in the creation of, and

       5     enjoining Defendants from future violations of Civil Code §§ 3479 and 3480.

       6                                      SECOND CAUSE OF ACTION
                                           (Fraud —Against All Defendants)
       7

       8              458.   Plaintiffs reallege and incorporate herein by reference each and every allegation

       9     in paragraphs 1 through 457 above as if set forth fully herein.

      10 i            459.   The Defendants made fraudulent misrepresentations and omissions of material

      11     fact. Defendants' knowing deceptions during the relevant period, more fully described in this

      12     Complaint, were intended to induce reliance.

      13              460.   Those misrepresentations and omissions were known to be untrue by the

      14 I Defendants, or were recklessly made.

      15              461.   As alleged herein, the Manufacturer Defendants engaged in false representations

      16     and concealments of material fact regarding the use of opioids to treat chronic non-cancer pain,

      17     the dangers of abuse, and the risks of addiction.

      18              462.   As alleged herein, Defendants made false statements and/or omissions regarding

      19     their compliance with state law regarding their duties to prevent diversion, their duties to

      20     monitor, report and halt suspicious orders, and/or concealed their noncompliance with these

      21     requirements. Defendants also failed to disclose the prevalence of diversion of controlled

      22     substances, including opioids, within Plaintiffs' communities.

      23              463.   Defendants made those misrepresentations and omissions in an intentional effort

      24     to deceive Plaintiffs and their residents, despite the Defendants' knowledge of the dangers of

      25     such use of prescription opioids.

      26              464.   In addition and independently, Defendants had a duty not to deceive Plaintiffs

      27     because Defendants had in their possession unique material knowledge that was unknown, and

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        11 not knowable, to Plaintiffs, Plaintiffs' agents, physicians, and the public.
       21            465.   The Defendants continued making those misrepresentations, and failed to correct

        3   those material omissions, despite repeated regulatory settlements and publications demonstrating

        4   the false and misleading nature of the Defendants' omissions and/or claims.

        5            466.   While Defendants had a duty to disclose the above-referenced material facts, they

        6 I nevertheless concealed them. These false representations and concealed facts were material to

        7 I the conduct and actions at issue. Defendants made these false representations and concealed facts

        8   with knowledge of the falsity of their representations and did so with the intent of misleading

        9   Plaintiffs, their residents, the public, and persons on whom these entities relied.

       10            467.   Defendants intended and had reason to expect under the operative circumstances

       11   that Plaintiffs, Plaintiffs' agents, physicians, the public, and persons on whom Plaintiffs and its

       12   agents relied would be deceived by Defendants' statements, concealments, and conduct as

       13   alleged herein and that these entities would act or fail to act in reasonable reliance thereon.

       14            468.   Plaintiffs, their residents, and others, did in fact rightfully, reasonably, and

       15   justifiably rely on Defendants' representations and/or concealments, both directly and indirectly.

       16            469.   For instance, doctors, including those serving Plaintiffs and their residents, relied

       17   on the Defendants' misrepresentations and omissions in prescribing opioids for chronic pain

       18   relief. Patients, including Plaintiffs' residents, relied on the Defendants' misrepresentations and

       19   omissions in taking prescription opioids for chronic pain relief.

      20             470.   Also, as a result of these representations and/or omissions, Plaintiffs proceeded

      21    under the misapprehension that the opioid crisis was simply a result of conduct by persons other

      22    than Defendants. As a consequence, these Defendants prevented Plaintiffs from a more timely
                                ti
      23    and effective response to the opioid crisis.

      24             471.   Defendants' misconduct alleged in this case is ongoing and persistent.

      25             472.   Plaintiffs have experienced an unprecedented opioid addiction and overdose

      26    epidemic leading to increased costs for, inter alia, emergency services, treatment services,

      27    security services, and lost productivity to Plaintiffs' workforce.

      28         - 473. The injuries alleged by Plaintiffs herein were sustained as a direct and proximate
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       1 I result of Defendants' fraudulent conduct.

       2            474.   As a direct and foreseeable consequence of Defendants' fraud, Plaintiffs have

       3   incurred and continues to incur damages in an amount to be proved at trial consisting of costs for

       4   opioid addiction treatment and its secondary consequences in excess of those Plaintiffs would

       5 I have otherwise incurred.

       6            475.   As alleged herein, Defendants' fraud was willful, malicious, oppressive, and

       7   fraudulent, entitling Plaintiffs to punitive damages.

       8                                     THIRD CAUSE OF ACTION
                                      (Negligence —Against All Defendants)
       9

      10            476.   Plaintiffs reallege and incorporate herein by reference each and every allegation

      11   in paragraphs 1 through 475 above as if set forth fully herein.

      12            477.   To establish actionable negligence in California, Plaintiffs must show a duty, a

      13   breach of that duty, and injury resulting proximately therefrom.

      14            478.   Defendants have a duty to exercise reasonable care under the circumstances, in

      15   light of the risks. This includes a duty not to cause foreseeable harm to others. In addition, these

      16   Defendants, having engaged in conduct that created an unreasonable risk of harm to others, had,

      17   and still have, a duty to exercise reasonable care to prevent the threatened harm.

      18            479.   In addition, Defendants had a duty not to breach the standard of care established

      19   under California law, including 16 CCR § 1782 and California Business and Professions Code

      20   §§ 4164 and 4169.1, which require Defendants to report suspicious orders of dangerous drugs

      21   subject to abuse, and to develop and maintain systems to detect and report such activity.

      22            480.   Defendants voluntarily undertook a legal duty to prevent the diversion of

      23   prescription opioids by engaging in the distribution of prescription opioids and by making public

      24   promises to prevent the diversion of prescription opioids.

      25            481.   Defendants knew of the serious problem posed by prescription opioid diversion

      26   and were under a legal obligation to take reasonable steps to prevent diversion.

      27            482.   Defendants knew of the highly addictive nature of prescription opioids and of the

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             high likelihood of foreseeable harm to patients and communities, including Plaintiffs'

         2   communities, from prescription opioid diversion.

         3            483. Defendants had a legal duty to exercise reasonable and ordinary care and skill and

         4   in accordance with applicable standards of conduct in advertising, marketing, selling, and

         5   distributing opioid products in a safe manner to minimize the risk of addiction in patients and

         6   resultant harm to those patients, their families and their communities, and to taxpayers and

         7   municipal government such as Plaintiffs, which must incur enormous expenditures for

             prevention, treatment, emergency response and law enforcement costs and other foreseeable

             costs related to the need to address the consequences of a large number of residents that become

        10   addicted to opioids as a result of Defendants' conduct.
PL_q
        11            484.   As described throughout the Complaint, Defendants breached their duties to
F~-13
z,3     12   exercise due care in the business of wholesale distribution of dangerous opioids by failing to
a~ o
~WW     13   monitor for, failing to report, and filling highly suspicious orders time and again.

u~P4~
  0     14            485.   As described throughout the Complaint, in language expressly incorporated
 H
~H
        15   herein, Defendants misrepresented their compliance with their duties under the law and
O~
P4
        16   concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiffs'

        17   communities and destinations from which they knew opioids were likely to be diverted into

        18   Plaintiffs' communities, in addition to other misrepresentations alleged and incorporated herein.

        19            486.   The Manufacturer Defendants breached their duty to Plaintiffs by deceptively

        20   marketing opioids, including minimizing the risks of addiction and overdose and exaggerating

        21   the purported benefits of long-term use of opioids for the treatment of chronic pain.

        22            487.   Manufacturer Defendants knew or should have known, that their affirmative

        23   misconduct in engaging in an aggressive, widespread, and misleading campaign in marketing

        24   narcotic drugs created an unreasonable risk of harm. The Defendants' sales data, reports from

        25   sales representatives, and internal documents, should have put them on notice that such harm

        26   was not only foreseeable, but was actually occurring. Defendants nevertheless chose to

        27   deceptively withhold or downplay information about the dangers of opioids from Plaintiffs,

        28   physicians, patients, and the public.
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        1            488.    Defendants' breaches were intentional and/or unlawful, and Defendants' conduct
        2   was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.
        3            489.    Defendants' misconduct alleged in this case is ongoing and persistent.
        4            490.    Defendants acted with actual malice in repeatedly breaching their duties—i.e.,
        5   they acted with a conscious disregard for the rights and safety of other persons, and said actions
        6   had a great probability of causing substantial harm.

        7            491.    As is described throughout this Complaint, Defendants acted without even slight

        8   diligence or scant care, and with indifference, and were negligent in a very high degree,

        9   disregarding the rights and safety of other persons, and said actions have a great probability of

       10   causing substantial harm.

       11            492.    Defendants' misconduct further meets the criteria set forth in Rowland v.

       12   Christian (1968) 69 Ca1.2d 108, 113, for imposing on Defendants a duty to exercise ordinary

       13   care and skill in the in advertising, marketing, selling and distributing opioid products in a safe
       14   manner to minimize the risk of addiction in patients and resultant harm to those patients, their

       15   families and their communities, and to taxpayers and municipal government such as Plaintiffs,

       16   including, but not limited to, the following:

       17                    a.      Foreseeability of harm to Plaintiffs: Defendants were aware or reasonably

       18            should have been aware of the risk of addiction of a large number of patients in places

       19            such as Plaintiffs, and need for their care and treatment and in handling other

      20             consequences of their addiction and that such costs would be borne by local governments

      21             such as Plaintiffs;

      22                    b.      Degree of certainty Plaintiffs suffered harm: Plaintiffs have suffered
      23             enormous harm and costs in addressing treatment of addicted patients, including but not
      24             limited to expenditures for prevention, treatment, emergency response and law
      25             enforcement costs and other foreseeable costs related to the need to address the
      26             consequences of a large number of residents that become addicted to opioids as a result
      27             of Defendants' conduct;
      28                    C.      Closeness of connection between Plaintiffs' harm: The explosion of
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        1            opioid addiction and the presence of opioid addicted patients in Plaintiffs' communities

        2            as a result of Defendants' conduct has resulted in expenditures directly for prevention,

        3            treatment, emergency response and law enforcement costs and other foreseeable costs

        4            related to the need to address the consequences;

        5                   d.      Moral blame attached to Defendants' conduct: Defendants' knew or

        6            should have known that their wrongful conduct, actions and omissions would result in an

        7            explosion of patients who would become addicted to opioids, and that a vast opioid

        8            epidemic would result from the prescription of opioids to tens of millions of patients

        9            nationwide, including within Plaintiffs' communities, and that the costs would be borne

       10            by the state, county and lnunicipal local governments, while Defendants profited tens of

       11            billions of dollars collectively from the widespread use of prescription opioid products;

       12                   e.      Policy of preventing future harm: As a direct and foreseeable result of

       13            Defendants' wrongful conduct, the opioid epidemic and crisis has and continues to occur

       14            on a vast scale both nationally and locally in places such as Plaintiffs resulting in

       15            tremendous harm and cost to the patients, their families and the communities in dealing

       16            with this epidemic and crisis, and there is a need to ensure that the costs of such wrongful

       17            conduct is borne by Defendants so that parties contemplating such or similar conduct in

       18            the future know they will be held responsible for such harm;

       19                   f.      Extent of burden to Defendants: There is no burden to Defendants in that

      20             state and other law precludes them from engaging in the conduct alleged herein, and

      21             there is no burden from precluding Defendants from profiting from their wrongful

      22             conduct and operating within the confines of the law in advertising, marketing, selling

      23             and distributing opioid products in a safe manner to minimize the risk of addiction in

      24             patients and resultant harm to those patients, their families and their communities, and to

      25             taxpayers and municipal government such as Plaintiffs; and

      26                    g.      Consequences to the community of imposing a duty to exercise care with

      27             resulting liability for breach: Imposing a duty to not engage in Defendants' wrongful

      28             conduct of advertising, marketing, selling and distributing opioid products in an unsafe
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        1            manner would minimize the risk of addiction in patients, and liability for a breach of this

        2            duty would benefit communities such as Plaintiffs' in that they would not have to incur

        3            the foreseeable costs of the opioid epidemic gripping the country and the nation.

        4            493.   Plaintiffs are not asserting a cause of action under the CSA or other federal

        5 I controlled substances laws cited above.

        6            494.   As a direct and proximate result of Defendants' negligence, Plaintiffs have

        7 I suffered and will continue to suffer economic damages including, but not limited to, significant

        8   expenses for security services, emergency, health, prosecution, corrections, and rehabilitation

        9   services, as well as the cost of opioid addiction treatment paid by Plaintiffs.

       10            495.   As a direct and proximate result of Defendants' negligence, Plaintiffs have

       11   suffered and will continue to suffer stigma damage, non-physical property damage, and damage

       12   to its proprietary interests.

       13            496.   Defendants' breaches of their duty of care foreseeably and proximately caused

       14 I damage to Plaintiffs and their residents.
       15            497.   Manufacturer Defendants are guilty of negligence per se in that the Defendants

       16   violated applicable California laws, statutes, and regulations, in the manner in which they

      17    advertised, marketed, sold and distributed opioid products.

       18            498.   Distributor Defendants are guilty of negligence per se in that the Defendants

      19    violated California laws, statutes, and regulations designed to protect Plaintiffs from the harms

      20    they have suffered including but not limited to the following:

      21                    a.      Defendants falsely advertised opioids in violation of the Sherman Food,

      22             Drug, and Cosmetic Laws, California Health & Safety Code § 110390;

      23                    b.      Defendants manufactured, sold, delivered, held, or offered for sale opioids

      24             that had been falsely advertised in violation of the Sherman Food, Drug, and Cosmetic

      25             Laws, California Health & Safety Code § 110395;

      26                    C.      Defendants received in commerce opioids that were falsely advertised or

      27             delivered or proffered for delivery opioids that were falsely advertised in violation of the

      28             Sherman Food, Drug, and Cosmetic Laws, California Health & Safety Code § 110400;
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        1                   d.      Defendants failed to report all sales of dangerous drugs subject to abuse in

        2            excess of the amounts set by the California State Board of Pharmacy in violation of 16

        3            C.C.R.§1782;

        4                   e.      Defendants failed to track and report all purchases that exceeded prior

        5            purchases by long-term care facilities or similar customers by a factor of 20 percent in

        6            violation of California Business & Professions Code § 4164; and

        7                   f.      Defendants failed to report all suspicious orders placed by California

        8            pharmacies or wholesalers after January 1, 2018 as required by California Business &

        9            Professions Code § 4169.1.

       10            499.   As a direct and proximate consequence of Defendants' negligent acts, omissions,

       11    misrepresentations and otherwise culpable acts, there is now a national opioid addiction

       12 I epidemic, including in Plaintiffs' communities. Plaintiffs, as a further direct and proximate

       13 I consequence and result thereof, sustained injuries and damages, including, but not limited, to tax

       14    dollars spent and costs for treatment of opioid addicted patients, emergency response costs, law

       15    and regulatory enforcement costs, and measures for prevention of further opioid abuse and

       16   addiction.

       17            500.   As alleged herein, Defendants' negligence was willful, malicious, oppressive, and

       18    fraudulent, entitling Plaintiffs to punitive damages.

       19                                   FOURTH CAUSE OF ACTION
                                   (Unjust Enrichment —Against All Defendants)
      20

      21             501.   Plaintiffs reallege and incorporate herein by reference each and every allegation
      22     in paragraphs 1 through 500 above as if set forth fully herein.
      23             502.   As an expected and intended result of their conscious wrongdoing as set forth in
      24    this Complaint, Defendants have profited and benefited from the increase in the distribution and
      25    purchase of opioids within Plaintiffs' communities, including from opioids foreseeably and
      26    deliberately diverted within and into Plaintiffs' communities.
      27             503.   Plaintiffs have expended substantial amounts of money in an effort to remedy or
      28

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        1     mitigate the societal harms caused by Defendants' conduct.

        2              504.   These expenditures include, but are not limited to, the provision of healthcare

        3     services and treatment services to people who use opioids. Plaintiffs have also made payments

        4     for opioid addiction treatment.

        5              505.   These expenditures have helped sustain Defendants' businesses.

        6              506.   Plaintiffs have conferred a benefit upon Defendants by paying for Defendants'

        7     externalities: the cost of the harms caused by Defendants' improper distribution practices.

        8              507.   Defendants were aware of these obvious benefits, and their retention of the

        9     benefit is unjust.

       10              508.   Plaintiffs have paid for the cost of Defendants' externalities and Defendants have

       11     benefited from those payments because they allowed them to continue providing customers with

       12     a high volume of opioid products. Because of their deceptive marketing of prescription opioids,

       13     Defendants obtained enrichment they would not otherwise have obtained. Because of their

       14     conscious failure to exercise due diligence in preventing diversion, Defendants obtained

       15     enrichment they would not otherwise have obtained. The enrichment was without justification

       16     and Plaintiffs lack a remedy provided by law.

       17              509.   Defendants' misconduct alleged in this case is ongoing and persistent.

       18              510.   Defendants have unjustly retained benefits to the detriment of Plaintiffs, and

       19     Defendants' retention of such benefits violates the fundamental principles of justice, equity, and

      20      good conscience.

      21               511.   Plaintiffs are entitled to restitution and disgorgement from Defendants in an

      22      amount to be determined at trial.

      23                                          FIFTII CAUSE OFACTION
                                     (Civil Conspiracy —Against A11 Defendants)
      24
      25               512.   Plaintiffs reallege and incorporate herein by reference each and every allegation

      26      in paragraphs 1 through 511 above as if set forth fully herein.

      27               513.   Defendants engaged in a civil conspiracy in their unlawful marketing of opioids

       28 I

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        1 I and/or distribution of opioids into California and Plaintiffs' communities.

        2             514.   Defendants engaged in a civil conspiracy to commit fraud and misrepresentation

        3   in conjunction with their unlawful marketing of opioids and/or distribution of opioids into

        4 I California and Plaintiffs' communities.

        5             515.   Defendants unlawfully failed to act to prevent diversion and failed to monitor for,

        6   report, and prevent suspicious orders of opioids.

        7             516.   The Manufacturing Defendants further unlawfully coordinated in furtherance of

        8   the conspiracy by increasing the volume of opioid sales in the United States through creating a

        9   inarket for non-medical use of opioids of epidemic proportions.

       10             517.   Many of the Manufacturing Defendants are members, participants, and/or

       11   sponsors of the Healthcare Distribution Alliance ("HDA"), and have been since at least 2006,

       12   and utilized the HDA to give further assistance to the conspiracy.

       13             518.   The Manufacturing Defendants hid from the general public and suppressed and/or

       14   ignored warnings from third parties, whistleblowers, and governmental entities about the reality

       15   of the suspicious orders that the Manufacturing Defendants were filling on a daily basis, which

       16   lead to the diversion of hundreds of millions of doses of prescription opioids into the illicit

       17   market.

       18            519.    The Manufacturing Defendants, with knowledge and intent, agreed to the overall

       19 I objective of their fraudulent scheme and participated in a coordinated, common course of

       20   conduct to commit acts of fraud.

       21            520.    Indeed, for the Defendants' fraudulent scheme to work, each of the Defendants

       22   had to agree to implement similar tactics.

       23            521.    By intentionally refusing to report and halt suspicious orders of their prescription

       24   opioids, Defendants engaged in a fraudulent scheme.

      25             522.    Nevertheless, in order to increase sales of their opioid products in furtherance of

      26    the conspiracy, the Defendants engaged in a scheme of deception by refusing to identify or

      27    report suspicious orders of prescription opioids that they knew were highly addictive, subject to

      28    abuse, and were actually being diverted into the market of non-medical use.
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        1            523.   Defendants further unlawfully marketed opioids in California and Plaintiffs'

        2   communities in furtherance of that conspiracy to increase profits and sales through the knowing

        3   and intentional dissemination of false and misleading information about the safety and efficacy

        4   of long-term opioid use through, among other things: (a) the use of "Front Groups" that appeared

        5   to be independent of the Defendants; (b) the dissemination of publications that supported the

        6   Defendants conspiracy; (c) continuing medical education ("CME") programs controlled and/or

        7   funded by the Defendants; (d) hiring and deploying so-called "key opinion leaders" or "KOLs"

        8   who were paid by the Defendants to promote their message; and (e) the "detailing" activities of

        9   the Defendants' sales forces, which directed deceptive marketing materials and pitches directly

       10   at physicians and, in particular, at physicians lacking the expertise of pain care specialists.

       11            524.   Each of the Front Groups helped disguise the role of Defendants by purporting to

       12   be unbiased, independent patient-advocacy and professional organizations in order to

       13   disseminate patient education materials, a body of biased and unsupported scientific "literature,"

       14   and "treatment guidelines" that promoted the Defendants' false messages.

       15            525.   Each of the KOLs were physicians chosen and paid by each of the Defendants to

       16   influence prescribers' habits by promoting the Defendants' false message through, among other

       17   things, writing favorable journal articles and delivering supportive CMEs as if they were

       18   independent medical professionals, thereby further obscuring the Defendants' role in the

       19   conspiracy.

      20             526.   Further, each of the Defendants, KOLs, and Front Groups had systematic links to

      21    and personal relationships with each other through (a) joint participation in lobbying groups, (b)

      22    trade industry organizations, (c) contractual relationships, and (d) continuing coordination of

      23    activities. Specifically, each of the Defendants coordinated their efforts through the same KOLs

      24    and Front Groups, based on their agreement and understanding that the Front Groups and KOLs

      25    were industry-friendly and would work together with the Defendants to advance the conspiracy.

      26             527.   Defendants' conspiracy and acts in furtherance thereof are alleged in detail in this

      27    Complaint, including, without limitation, in Plaintiffs' Counts for violations of California

      28    Statutes. Such allegations are specifically incorporated herein.
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       1            528.   Defendants acted with a common understanding or design to commit unlawful

       2   acts, as alleged herein, and acted purposely, without a reasonable or lawful excuse, which

       3   directly and proximately caused the injuries alleged herein.

       4            529.   Defendants acted with malice, purposely, intentionally, unlawfully, and without a

       5 I reasonable or lawful excuse.

       6            530.   Defendants conduct in furtherance of the conspiracy described herein was not

       7   mere parallel conduct because each Defendant acted directly against their commercial interests

       8   in not reporting the unlawful distribution practices of their competitors to the authorities, which

       9   they had a legal duty to do. Each Defendant acted against their coinmercial interests in this

      10   regard due to an actual or tacit agreement between the Defendants that they would not report

      11   each other to the authorities so they could all continue engaging in their unlawful conduct.

      12            531.   Defendants' conspiracy, and Defendants' actions and omissions in furtherance

      13   thereof, caused the direct and foreseeable losses alleged herein.

      14            532.   Defendants' misconduct alleged in this case is ongoing and persistent.

      15            533.   As a result of Defendants' conspiracy, Plaintiffs are entitled to compensatory

      16   damages in an amount to be proved at trial.

      17            534.   As alleged herein, Defendants' conspiracy was willful, malicious, oppressive, and

      18   fraudulent, entitling Plaintiffs to punitive damages.

      19                                     SIXTH CAUSE OF ACTION
             (False Advertising — Cal. Bus. & Prof. Code § 17500 —Against All Defendants)
      20

      21            535.   Plaintiffs reallege and incorporate herein by reference each and every allegation

      22   in paragraphs 1 through 534 above as if set forth fully herein.

      23            536.   California Business & Professions Code § 17500 makes it unlawful for a business

      24   to make, disseminate, or cause to be made or disseminated to the public "any statement,

      25   concerning ... real or personal property ... which is untrue or misleading, and which is known, or

      26   which by the exercise of reasonable care should be known, to be untrue or misleading."

      27            537.   As alleged herein, the Manufacturer Defendants engaged in a systematic

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        1   campaign designed to disseminate false or misleading statements designed to promote the belief

        2   that opioid drugs could safely be used in a non-addictive manner.

        3            538.   By way of example, Actavis's predecessor created a patient brochure for Kadian

        4   in 2007 that deceptively stated that needing to up one's dose to achieve the same treatment

        5 I outcome was not a sign of addiction. Purdue sponsored publications that expressed similar

        6 I sentiments.

        7            539.   Actavis's predecessor caused a patient education brochure, Managing Chronic

        8   Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction is possible, but

        9   falsely claimed that it is "less likely if you have never had an addiction problem."

       10            540.   Teva and Purdue sponsored research and publications that falsely and deceptively

       11   stated opioids did not have "ceiling dose."

       12            541.   Purdue created websites, available to the public that instructed patients to seek

       13   new medical providers out if their current provider would not increase their dose.

       14            542.   Defendants' false and deceptive advertising practices resulted in increased opioid

       15   dosages being prescribed to Plaintiffs' residents, increasing the incidence of opioid addiction and

       16   overdose in Plaintiffs' communities.

       17            543.   Distributor Defendants also repeatedly omitted material information and/or

       18   falsely represented that they were effectively preventing diversion and were monitoring,

       19   reporting, and preventing suspicious orders.

       20            544.   As alleged above, Defendants' statements about the risks associated with opioid

       21   use were not supported by or were contrary to the scientific evidence.

       22            545.   As alleged above, each Defendant's conduct, separately and collectively, was

       23   likely to deceive California payors who purchased or covered the purchase of opioids.

       24            546.   Plaintiffs seek restitution and injunctive relief under California Business &

       25   Professions Code § 17535.

       26            547.   Plaintiffs also seek an order assessing a civil penalty of two thousand five

       27   hundred dollars ($2,500) against Defendants for each violation of California's False Advertising

      28    Law pursuant to California Business & Professions Code § 17536.
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        1                                  SEVENTH CAUSE OF ACTION
        2                 (Negligent Failure to Warn—Against Manufacturer Defendants)

        3             548.   Plaintiffs reallege and incorporate herein by reference each and every allegation
        4    in paragraphs 1 through 547 above as if set forth fully herein.
        5             549.   At all relevant times, the Manufacturer Defendants had a duty to exercise
        6    reasonable and ordinary care and skill, as well as in accordance with applicable standards of
        7    conduct in adequately warning the medical profession about the risk of addiction from the use of
        8    opioid products, and not to overpromote and over-market opioid products in a manner so as to
        9    nullify, cancel out, and render meaningless any written warnings given about the risk of
       10    addiction from the use of opioid products.
       11             550.   Defendants breached their duty to exercise reasonable and ordinary care by
       12    failing to adequately warn the medical profession about the risk of addiction from the use of
       13    opioid products, including by overpromoting and over-marketing opioid products in a manner so
       14    as to nullify, cancel out and render meaningless any warnings in the labels about any addiction
       15    risk. Defendants' marketing, sales and promotional efforts were designed to stimulate the use of
       16    opioid products in situations and for patients who should not have been using those drugs or
       17    should have used them only as a last resort before other means were used or other less addictive
       18    and dangerous drugs were prescribed.
       19             551.   As a direct and proximate consequence of Defendants' negligent failure to warn,
       20    and overpromoting and over-marketing the use of prescription opioid products, there is now a
       21    national opioid addiction epidemic, including in Plaintiffs' communities. The People, as a further
      22     direct and proximate consequence and result thereof, sustained injuries and damages including
       23 ' but not limited to tax dollars spent and costs for treatment of opioid addicted patients, emergency

       24 ' response costs, law and regulatory enforcement costs, opioid disposal programs, and measures

      25     for prevention of further opioid abuse and addiction.
      26              552.   As alleged herein, Defendants' negligence was willful, malicious, oppressive, and
      27     fraudulent, entitling Plaintiffs to punitive damages.
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        1                                             PRAYER FOR RELIEF
        2                WHEREFORE, Plaintiffs respectfully request judgment in their favor granting the
        3   following relief:
        4            a) Entering Judgrnent in favor of Plaintiffs in a final order against each of the
        5                   Defendants;
        6            b) An award of actual and consequential damages in an amount to be determined at trial;
        7                c) An order obligating Defendants to disgorge all revenues and profits derived from their
        8                   scheme;
       9,            d) An order declaring that Defendants have made, disseminated as part of a plan or
       10                   scheme, or aided and abetted the dissemination of false and misleading statements in
       11                   violation of the False Advertising Law;
       12            e) Enjoin Defendants from performing or proposing to perform any further false or
       13                   misleading statements in violation of the False Advertising Law. Any injunctive relief
       14                   Plaintiffs obtain against Purdue in this action shall not be duplicative of any injunctive
       15                   terms that remain in place from the Final Judgment;
       16            f) An order requiring Defendants to pay civil penalties for each act of false and
       17                   misleading advertising, pursuant to California Business & Professions Code §§ 17500
       18                   and 17536;
       19            g) An order requiring Defendants to pay restitution pursuant to California Business &
      20                    Professions Code § 17535;
      21             h) An order requiring Defendants to pay treble the amount of all relief awarded by the
      22                    Court, pursuant to California Civil Code § 3345;
      23             i) An order declaring that Defendants have created a public nuisance in violation of
      24                    California Civil Code §§ 3479 and 3480;
      25             j) An order enjoining Defendants from performing any further acts in violation of
      26                    California Civil Code §§ 3479 and 3480;
      27
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        1              k) An order requiring Defendants to abate the public nuisance that thcy created in

        ?                  violation of California Civil Code S S 3479 and 3480.

        3              1) An order requiring that Defendants compensate Plaintiffs for past and future costs to

        4                  abate the onaoing public nuisance caused by the opioid epidemic;

        5              ni) An order requiring Del'endants to fund an "abatenient lund" for thc purposes of

        6                  abatin(li the public nuisance;

        7I,            n) An order awardinb the damages caused by the opioid epidemic, including, i»ter alia,

        s                  (a) costs for providing medical care, additional therapeutic and prescription drug

        9                  purcliases, and other treatments for patients suffering from opioid-related addiction or

       r                   disease, includin- overdoses and deaths; (b) costs for providinb treatnient, counseling,
P-~
                           and rehabilitation sei•vices; (c) costs for providing treatnient of infants born with

                           opioid-related niedical conditions; (d) costs for providin~~ care for cliildren whose

                           parents suffer froni opioid-related disability or incapacitation; (e) costs associated witli

                           public safety and security services relating to the opioid epidernic; (t) costs for cleanup

                           of public areas;

                       o) An award of punitive damages;

       17              p) Injunctive relief prohibiting Defendants from continuing their wronglul conduct;

       18              q) As award of Plaintiffs' costs, includina reasonable attorneys' fees, pursuant to

       19                  California Code of Civil Procedtn•e S 1021.5;

       20              r) Pre- and post judgment interest as allowed by law; and

       21              s) Any otlier relief deemed just; proper, and/or equitable.



       23              PLAINTIFFS DEMAND A JURY TRIAL ON ALL CLAIMS SO TRIABLE.

      ?4            Dated: October 4, 2019                  ROBINS KAPLAN LLP

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                                       Office of County Counsel for Alameda County
                                       Donna Ziegler, Bar No. (142415)
    2                                  donna.ziegler@acgov.org
                                       1221 Oak Street # 450
    3                                  Oakland, CA 94612
                                       Telephone: 510 272 6700
    4                                  Facsimile:   510 272 5020

    5                                  Office of the City Attorney for Costa Mesa
                                       Kimberly Hall Barlow, Bar No. (149902)
    6                                  kimberly.barlow@costamesaca.gov
                                       3777 North Harbor Blvd.
    7                                  Fullerton, CA 92835
                                       Telephone: 714 446 1400
                                       Facsimile:    714 446 1448

    9                                  Office of the City Attorney for Anaheim
                                       Robert Fabela (SBN 148098)
   10                                  RFabela@anaheim.net
                                       200 S. Anaheim Blvd., Suite 356
   11                                  Anaheim, CA 92805
                                       Telephone: 714 765 5169
   12                                  Facsimile:    714 765 5123

   13                                  Office of the City Attorney for Santa Ana
                                       Sonia R. Carvalho, Bar No. (162700)
   14                                  Sonia.Carvalho@bbklaw.com
                                       John Funk, Bar No. (204605)
   15                                  jfunk@santa-ana.org
                                       18101 Von Karman Ave, Suite 1000
   16                                  Irvine, CA 92612
                                       Telephone: 949 263 2603
   17                                  Facsimile:    949 260 0972

   18                                  Office of the City Attorney for San Clemente
                                       Scott C. Smith, Bar No. (120736)
   19                                  scott.smith@bbklaw.com
                                       18101 Von Karman Ave, Suite 1000
   20                                  Irvine, CA 92612
                                       Telephone: 949 263 6561
   21                                  Facsimile:    949 260 0972

   22                                  Office of the City Attorney for Encinitas
                                       Leslie Devaney, Bar No. (154163)
   23                                  ldevaney@dpmclaw.com
                                       Devaney Pate Morris & Cameron, LLP
   24                                  402 W Broadway, Ste 1300
                                       San Diego, CA 92101-8508
   25                                  Phone Number: (619) 354-5030
                                       Fax Number: (619) 354-5035
   26
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    1                                  Office of the City Attorney for La Habra
                                       Richard D. Jones, Bar No. (61649)
    2                                  rdj@jones-mayer.com
                                       3777 North Harbor Blvd.
    3                                  Fullerton, CA 92835
                                       Telephone: 714 446 1400
    4                                  Facsimile:    714 446 1448

    5                                  Office of the City Attorney for La Mesa
                                       Glenn Sabine, Bar No. (154163)
    6                                  gsabine@cityoflamesa.us
                                       Sabine and Morrison
    7                                  110 Juniper St
                                       San Diego, CA 92101
    8                                  Phone Number: (619) 234-2864
                                       Fax Number: (619) 656-0633
    9
                                       Office of the City Attorney for Oxnard
   10                                  Stephen Fischer, Bar No. (174221)
                                       305 W 3rd St., Ste 100E
   11                                  Oxnard, CA 93030
                                       stephen.fscher@oxnard.org
   12                                  Phone Number: (805) 385-7483
                                       Fax Number: (805) 385-7423
   13
                                       Office of the City Attorney for Placentia
   14                                  Christian Bettenhausen, Bar No. (200961)
                                       clb@jones-mayer.com
   15                                  3777 North Harbor Blvd.
                                       Fullerton, CA 92835
   16                                  Telephone: 714 446 1400
                                       Facsimile:    714 446 1448
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